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12   MARY ELIZABETH KNOX;
     RACHEL PIERSIG; ALISON
13   CHANDLER; MARY BLUMBERG;
     JILL HENDERSON
14
15                               UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA
17                                     OAKLAND DIVISION
18
     MARY ELIZABETH KNOX; RACHEL                          Case No.: 3:20-cv-01449
19   PIERSIG; ALISON CHANDLER; MARY
     BLUMBERG; JILL HENDERSON,
20                                                        SECOND AMENDED COMPLAINT
                                        Plaintiffs,
21                                                        DEMAND FOR JURY TRIAL
22   v.

23   THE COUNTY OF CONTRA COSTA; THE
     CONTRA COSTA COUNTY DISTRICT
24   ATTORNEY’S OFFICE; and does 1
     through 10, inclusive;
25
                                      Defendants.
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27
28
                                   SECOND AMENDED COMPLAINT
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 1     PLAINTIFFS MARY ELIZABETH KNOX; RACHEL PIERSIG; ALISON CHANDLER; MARY
     BLUMBERG and JILL HENDERSON complain and allege as follows:
 2
                                              I.      INTRODUCTION
 3
            1.      Plaintiffs Mary Elizabeth Knox (“Knox”), Rachel Piersig (“Piersig”), Alison Chandler
 4
     (“Chandler”), Mary Blumberg (“Blumberg”) and Jill Henderson (“Henderson”) (collectively
 5
     “Plaintiffs”) bring this Complaint alleging that Contra Costa County District Attorney’s Office (“DA’s
 6
     office”) has engaged in, and continues to engage in, ongoing gender and age discrimination. Plaintiffs
 7
     are currently employed as Deputy District Attorneys in the County of Contra Costa. Plaintiffs seek lost
 8
     wages, emotional distress damages, equitable and injunctive relief, as well as attorney’s fees and costs.
 9
            2.      Diana Becton is the elected District Attorney of Contra Costa County. Ms. Becton has
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     served as District Attorney since her appointment by the Contra Costa County Board of Supervisors in
11
     September 2017 and her election in June 2018. In this position, as head of the Contra Costa County
12
     District Attorney’s Office, Ms. Becton is Plaintiffs’ supervisor.
13
            3.      After Plaintiffs protested Ms. Becton’s gender and age discrimination, Ms. Becton
14
     retaliated against each Plaintiff, further exasperating the gender and age discrimination within the
15
     District Attorney’s Office.
16
                                      II.      JURISDICTION AND VENUE
17
            4.      This Court has subject matter jurisdiction over Plaintiffs’ complaint pursuant to 28
18
     U.S.C. sections 1331 and 1343. This Court has jurisdiction over Plaintiffs’ state law claims pursuant to
19
     the Court’s power of pendant jurisdiction over related state law claims.
20
            5.      Venue is proper in the U.S. District Court for the Northern District of California pursuant
21
     to 28 U.S.C. section 1391, in that the events giving rise to Plaintiffs’ complaint occurred within Contra
22
     Costa County, Defendants are located in Contra Costa County, and Plaintiffs are citizens and residents
23
     of Contra Costa County, California, all of which are within this judicial district.
24
                                                   III.   PARTIES
25
            6.      Plaintiff Mary Elizabeth Knox has been employed as a prosecutor in the Contra Costa
26
     County District Attorney’s office for over thirty-four years, from December 1985 to the present.
27
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 1          7.      Plaintiff Rachel Piersig has been employed as a prosecutor in the Contra Costa County

 2   District Attorney’s office for over twenty years, from February 1999 to the present.

 3          8.      Plaintiff Alison Chandler has been employed as a prosecutor in the Contra Costa County

 4   District Attorney’s office for over fifteen years, from December 2004 to the present.

 5          9.      Plaintiff Mary Blumberg has been employed as a prosecutor in the Contra Costa County

 6   District Attorney’s office for over thirteen years, from December 2006 to the present.

 7          10.     Plaintiff Jill Henderson has been employed as a prosecutor in the Contra Costa County

 8   District Attorney’s office for over twenty-two years, from February 1998 to the present.

 9          11.     Defendant County of Contra Costa and Defendant Contra Costa County District

10   Attorney’s Office are governmental entities located in Contra Costa County, California.

11          12.     Plaintiffs do not know the true names and capacities of defendants sued as Does I through

12   10. Plaintiffs will amend the complaint to show the true names of each such defendant when their

13   identities have been ascertained. Each of the Doe defendants encouraged, participated, ratified and

14   approved the conduct complained of herein. Each Doe defendant was at all relevant times the agent,

15   employee, or representative of the named Defendants and/or the other Doe defendants, and was acting

16   within the course and scope of such relationship.

17                       IV.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

18          13.     On September 4, 2019, Ms. Knox filed a complaint with the California Department of

19   Fair Employment and Housing. She received a right to sue notice on September 4, 2019.

20          14.     On August 23, 2019, Ms. Piersig filed a complaint with the California Department of Fair

21   Employment and Housing. She received a right to sue notice on August 23, 2019.

22          15.     On September 11, 2019, Ms. Chandler filed a complaint with the California Department

23   of Fair Employment and Housing. She received a right to sue notice on September 11, 2019.

24          16.     On November 21, 2019, Ms. Blumberg filed a complaint with the California Department

25   of Fair Employment and Housing. She received a right to sue notice on November 21, 2019.

26          17.     On May 14, 2020, Ms. Henderson filed a complaint with the California Department of

27   Fair Employment and Housing. She received a right to sue notice on May 14, 2020.

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 1                                              V.      PLAINTIFFS

 2             18.   Each Plaintiff is a seasoned, career prosecutor with a history of accomplishments in the

 3   District Attorney’s office. Over the years, the DA’s office rewarded Plaintiffs’ individual

 4   accomplishments with promotions, special assignments, and committee assignments. All of that changed

 5   when Ms. Becton assumed the role of district attorney. Each Plaintiffs’ career highlights are detailed

 6   below.

 7
 8
               19.   Mary Elizabeth Knox has been employed as a Prosecutor in Contra Costa County for
 9
     thirty-four (34) years, working for four District Attorneys, each with different management styles and
10
     objectives.
11
               20.   Ms. Knox’s career has been impressive and exemplifies her dedication to the DA’s office
12
     and to the citizens of Contra Costa County. She was promoted to executive management as a Senior
13
     Deputy District Attorney in July 2013 and served for five years with excellent reviews until she was
14
     unceremoniously demoted without warning in October 2018 by Ms. Becton.
15
               21.   Prior to her promotion to Senior Deputy District Attorney in 2013, Ms. Knox was the
16
     Homicide Unit Supervisor and had spent approximately six years in the Homicide and Gang Homicide
17
     Units. She has been assigned to every criminal unit in the office and has tried approximately thirty
18
     (30) misdemeanor trials and ninety (90) felony trials. Her work has resulted in multiple murder
19
     convictions, the conviction of notorious sex traffickers and the conviction of “legal counsel” for the
20
     local Aryan Brotherhood who represented himself and cross-examined his eighth rape victim. She has
21
     been recognized locally, regionally and state-wide for her excellent legal skills, leadership ability and
22
     ethics.
23
               22.   Ms. Knox was the creator of the Community Violence Reduction Unit (“CVRU”), which
24
     functions as the prosecutorial arm of the District Attorney/FBI Safe Streets Task Force, handling wiretap
25
     investigations and gang-related gun violence and homicides.
26
               23.   To address an epidemic of gang-related shootings on Hwy 80 and Hwy 4, Ms. Knox
27
     organized nine state and local law enforcement agencies into the Allied Freeway Shooting Agencies.
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 1          24.     Ms. Knox successfully obtained $3.5 million in funding from the California State

 2   Transportation Agency for the Freeway Security Network, a system of integrated ShotSpotter, pan-tilt

 3   zoom cameras and license plate readers, to overcome the investigative challenges of the freeway

 4   shootings.

 5          25.     In addition to conceiving of, creating, and supervising the CVRU, Ms. Knox supervised

 6   the Juvenile Unit and the Drug Unit, developed and oversaw the annual week-long New

 7   Prosecutor training and MCLE training, was the District Attorney representative on the steering

 8   committee of the Youth Justice Initiative grant, and managed the remodeling of the office at 900 Ward

 9   Street. As a Senior Deputy District Attorney, Ms. Knox’s management responsibilities included input on

10   hiring decisions regarding the contract and permanent attorneys, transfers of the attorneys, evaluations

11   of the attorneys and clerical staff, the organization of management training and input on office-wide

12   policy and procedure. In addition to these responsibilities, Ms. Knox continued to take homicides, gang

13   homicides and human trafficking cases to jury trial.

14          26.     Ms. Knox has a long history of supervisory experience. As the Misdemeanor Team

15   Supervisor in Richmond in the early 1990s, she directly supervised five attorneys. While she was the

16   Misdemeanor Team Supervisor at 10 Douglas, Ms. Knox directly supervised eleven attorneys. As the

17   Homicide Unit Supervisor, she supervised four attorneys. As the Senior DDA over the Juvenile and

18   Drug Units, she supervised a Unit Supervisor with five attorneys under her and directly supervised four

19   attorneys in the Juvenile Unit. As the Senior DDA over CVRU, she supervised seven attorneys, an asset

20   forfeiture law clerk and an accountant.

21          B.      Plaintiff Rachel Piersig

22          27.     Ms. Piersig is employed as a prosecutor of Contra Costa County. In her more than 20

23   years with the DA’s Office she has personified what it means to work for the County by serving its most

24   vulnerable and she has been recognized for her close relationships and strong advocacy for vulnerable

25   victims. Ms. Piersig has worked and tried cases in almost every unit in the office. In 2011, she was

26   promoted to supervise the Domestic Violence and Elder Abuse Units. She headed the Domestic

27   Violence Unit for four (4) years transforming into an effective and powerful unit with better trainings,

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 1   support for victims and procedures ensuring better conviction rates. During this same time period, she

 2   headed the Elder Abuse Unit, mending elder agency relationships that predecessors had broken and

 3   building the prestige of the Unit. After this remarkable leadership, she spent three years in the Homicide

 4   Unit, trying more than double the cases typical for that timeframe. She has proven effective in her

 5   leadership style and advocacy, devoted in her commitment to her cases, and is a trusted colleague and

 6   supervisor.

 7          28.     Despite her qualifications and experience, Ms. Becton put Ms. Piersig in a role beneath

 8   her experience and skill set. She has been overlooked for promotions that have gone to younger less

 9   qualified males. Ms. Piersig is 48 years old.

10          29.     Since October 2018, Ms. Piersig has supervised the felony preliminary hearing team as a

11   Felony Expeditor. Ms. Piersig’s responsibilities include evaluating and making plea offers on felony

12   cases, training inexperienced attorneys in felony cases so they can move to the trial team, and

13   supervising the felony preliminary hearings. Although, this is a supervisory role, it is considered an

14   entry Level supervisory role and beneath Ms. Piersig’s prior experience and success. In this role, she is

15   not given the opportunity to utilize her experience and skill set. Instead, less experienced male attorneys

16   are being promoted into the desirable roles in the office. The rate of advancement for males is

17   significantly faster than it is for equally or more qualified female prosecutors.

18          30.     Prior to her transfer into the Felony Expeditor position, Ms. Piersig was in the Homicide

19   Unit for over three years. Her performance in the Unit was exemplary. Typically, attorneys try only

20   three to six cases in a three-year period in the Homicide Unit; Ms. Piersig tried nine.

21          31.     Prior to her successful time in the Homicide Unit, Ms. Piersig was the Unit Supervisor

22   for the Felony Domestic Violence Unit for over four years. As the Unit Supervisor, she made filing

23   determinations for felony domestic violence cases submitted to the office, trained and supervised

24   attorneys at varying levels of experience, oversaw the litigation of all cases, implemented group and

25   individual goals to encourage collaboration within the office, was ultimately responsible for all case

26   dispositions, sat on advisory boards and made budgetary decisions for the Family Justice Center. She

27   also handled her own caseload of complex domestic violence cases.

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 1          32.        When Ms. Piersig took over the Domestic Violence Unit, it was severely understaffed,

 2   poorly managed, and an undesirable unit in which to work. She restructured the unit, designing new

 3   standards and procedures. By the end of her four years leading the Unit, it was a desirable assignment

 4   with attorneys requesting to be transferred to the unit as they knew they would get the support,

 5   leadership, and training needed to be successful.

 6          33.        Ms. Piersig’s work restructuring the Domestic Violence Unit included creating a system

 7   that allowed the unit to determine the success rate of defendants on probation. The new system enabled

 8   the office to track new offenses committed and admitted by offenders on probation which assisted the

 9   attorneys in prosecuting new cases.

10          34.        Ms. Piersig established guidelines for the Domestic Violence Unit that required that all

11   filed cases have corroborating evidence so that the case could be proven without the necessity of the

12   victim’s testimony at trial, which lessened the unfair burden on victims to prove the case. She trained all

13   county police on these new standards, as well as all county misdemeanor and domestic violence filers, in

14   order to ensure standardization across the office. As a result, the domestic violence felony conviction

15   rate increased.

16          35.        Other accomplishments in the Domestic Violence Unit included implementing a domestic

17   violence offender database available to the entire DA’s office, partnering with the Children’s Interview

18   Center to work with children exposed to domestic violence situations and partnering with the county

19   probation office in order to keep track of probation violations. This meant that the DA’s office could

20   determine whether a sentence for a probation violation would be sufficient and achieve a just result,

21   without the need and expense of filing a new criminal charge against the offender.

22          36.        During this time of incredible accomplishment in the Domestic Violence Unit, from 2011

23   to 2015, Ms. Piersig was astonishingly also the supervisor of the Elder Abuse Unit. This unit was also

24   severely understaffed when Ms. Piersig began leading it, with just one part-time attorney position

25   assigned to the Unit. Ms. Piersig was able to increase that to a full-time position, allowing the attorney

26   to take two significant Elder Abuse cases to trial within a year and obtain convictions in both. This

27   reestablished necessary relationships between the DA’s office and elder partner agencies.

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 1           37.     Ms. Piersig has been assigned to over a dozen different Units and has tried nearly sixty

 2   criminal trials, including twenty-five (25) misdemeanor trials and thirty-four (34) felony trials. She has

 3   conducted well over five hundred (500) preliminary hearings. Her work has resulted in multiple violent

 4   felony convictions, including murder, gang cases, domestic violence, sexual assault, and elder abuse.

 5   She has also secured guilty verdicts for drug felonies and complex financial cases, such as welfare fraud.

 6   She has been recognized for her excellent legal skills, leadership ability and ethics.

 7           38.     After Ms. Piersig’s impressive time as supervisor of the Domestic Violence and Elder

 8   Abuse Unit, Ms. Piersig was assigned to the Homicide Unit in September 2015. Chris Walpole was

 9   assigned to the Homicide Unit in May 2016 and Derek Butts became the Homicide Supervisor at the

10   same time. Alison Chandler was assigned to the Homicide Unit in September 2016. For the next two

11   years, these four attorneys comprised the Homicide team.

12           39.     Despite being the senior member of the homicide team and uniquely qualified for certain

13   homicide cases, especially domestic violence related cases given her experience in the Domestic

14   Violence Unit, Ms. Piersig was often passed over for these cases. Instead, the cases were assigned to a

15   junior member of the homicide team, Mr. Walpole. While Ms. Piersig had more relevant experience for

16   these challenging and impactful cases, they were given to Mr. Walpole to raise his status, presence, and

17   prestige in the office.

18           40.     While Mr. Walpole was assigned prominent cases to raise his status, presence, and

19   prestige, Ms. Piersig was often assigned problematic cases. Some examples of these cases are:

20             i. A case in which Ms. Piersig was tasked with getting a voluntary manslaughter at trial. Even

21                 though the case could have been settled for a plea of voluntary manslaughter, she was

22                 forbidden from accepting a plea and told it must go to trial. After a hung jury came back,

23                 Ms. Piersig again reiterated that this case should not have been tried. Her supervisor

24                 responded that she was, “the only one who complains,” characterizing legitimate

25                 prosecutorial concerns expressed by Ms. Piersig as whining, a gendered insult.

26             ii. Ms. Piersig had ethical concerns prosecuting another case in which she believed a key

27                 witness was lying. Ms. Piersig voiced concerns that a conviction would be based upon

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 1                   perjured testimony. During a meeting with her superiors, she was mocked as not being

 2                   tough enough and for not having done a tour in the gang unit where witnesses lied out of

 3                   fear. Ms. Piersig pointed out that the case in question was not a gang case, and it would be

 4                   unethical to base a conviction on perjured testimony. Ultimately, the Assistant District

 5                   Attorney agreed and offered a plea deal to the defendants.

 6           iii. In a murder case, there were issues with identifying the defendant as the gun shooter

 7                   making it a very risky case to try. Ms. Piersig was not allowed to offer a plea deal. She

 8                   brought this specific issue to the attention of Ms. Johnson. Ms. Johnson seemed to agree

 9                   with Ms. Piersig but ultimately insisted that Ms. Piersig try the case. The jury acquitted the

10                   defendant after only 45 minutes of deliberation.

11          C.        Plaintiff Alison Chandler

12          41.       Ms. Chandler is employed as a Prosecutor in Contra Costa County. In her over fifteen

13   (15) years with the DA’s Office she has proven that she is dedicated to her role and invested in the

14   County. She has been a member of the Felony Trial Team, Juvenile Prosecution Unit (2 times),

15   Domestic Violence Unit, Special Operations, Sexual Assault Unit, Felony Filer (2 times), and the

16   Homicide Unit. She has prosecuted all types of cases including large financial fraud, gang crimes,

17   homicide, sexual assault, child abuse and domestic violence.

18          42.        Prior to her transfer into her current position, Felony Filer in Richmond, Ms. Chandler

19   was in the Homicide Unit for almost three years. Her performance in the Unit was excellent. She

20   handled complex cases in sexual assault and insurance fraud. Two of her cases led to published

21   decisions, one that is used statewide to charge and convict sexual predators. She put in place policies in

22   the office still used today. Ms. Chandler worked passionately to build a strong, professional working

23   relationship between the DA’s office and the US Attorney’s Office to assist with prosecuting child

24   exploitation.

25          43.       Ms. Chandler took over fifteen sexual assault cases to jury verdict, many of which

26   resulted in life sentences for the most violent offenders. She received justice for the most vulnerable

27   victims and quickly became known for her skill and passion in the area of sexual assault.

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 1          44.     When Ms. Chandler was in the Special Operations Unit from December 2009 through

 2   July 2012, she took on the unglamorous task of grant writing and secured over $2.1 million in grant

 3   money for the District Attorney’s office. With Ms. Chandler’s efforts to expand the Insurance Fraud

 4   Unit, the DA’s office was awarded the 2012 Organized Auto Insurance Fraud, a competitive three-year

 5   grant that allowed the office to hire multiple investigators in Special Operations and grow its financial

 6   crimes investigation and prosecution. Only ten counties may participate in this award and up until Ms.

 7   Chandler applied on behalf of Contra Costa County, only ten counties had ever applied. Ms. Chandler’s

 8   application was the first time Contra Costa County had applied for the grant. Her application made the

 9   grant competitive and she was successful. The County still benefits from the award of this grant and

10   Ms. Chandler’s efforts. This achievement is evidence of Ms. Chandler’s tenacity, ability to collaborate

11   and lead through innovation. Ms. Chandler also worked on other grants that were awarded for the first

12   time to the Contra Costa County District Attorney’s Office while she was in the insurance fraud unit.

13   Her grant templates are used as frameworks for attorneys in the units today.

14          45.     Ms. Chandler worked to expand the Auto Insurance Fraud Unit by beginning the process

15   to create an Auto Theft Task Force. She wrote the Contra Costa County “CoCoRATT” agreement and

16   met with agencies across Contra Costa County to obtain support and commitment for the Task Force.

17          46.     At the same time, Ms. Chandler worked with CONFIRE a multi-agency Fire, Rescue and

18   Emergency Medical Services Dispatch Center to investigate and prosecute arson cases. Ms. Chandler

19   became an expert in arson investigation and prosecution and used this knowledge to strengthen the DA’s

20   relationship with the Fire Department. Ms. Chandler published an article on Arson Prosecution for

21   prosecutors to use across the state of California. Additionally, she taught arson investigation and

22   prosecution around the state.

23          47.     Ms. Chandler has traveled over the state and regularly trains on topics including the

24   investigation and prosecution of complex, large-scale insurance fraud rings. She has trained at the

25   National Sexual Assault Conference on Victim Centered Prosecution and she is the attorney coordinator

26   for the Detective Symposiums in Contra Costa County. In addition to her work in the DA’s Office, Ms.

27   Chandler is a professor at JFK School of Law where she taught Evidence for three years, currently

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 1   teaches Trial Advocacy and the Moot Court Program, and is assisting in the development of online

 2   curriculum for the law school as a subject matter expert. Ms. Chandler also has taught for close to ten

 3   (10) years at the Contra Costa County Sheriff’s Office Law Enforcement Training Center.

 4          48.     Ms. Chandler is published in the California Sexual Assault Training Manual for

 5   prosecutors published by the California District Attorneys Association. She also sits on the California

 6   Office of Emergency Services Sexual Assault Advisory Committee to the Governor.

 7          49.     During her tenure with the DA’s Office, Ms. Chandler has consistently proven herself to

 8   be a team player, willing to go above and beyond her stated duties and sought out opportunities to gain

 9   valuable supervisory experience. She filled in as the Richmond Misdemeanor Team Leader position for

10   an extended period. She expedited in the Pittsburg office on numerous occasions when asked. She

11   assisted in supervising in misdemeanors at 10 Douglas when asked to fill in, and willingly assisted

12   supervisors in her Units with tasks when they were away. While Ms. Chandler worked in the Insurance

13   Fraud Unit, she volunteered her time to the sexual assault unit to gain experience in a gang rape case

14   involving seven co-defendants. While assigned to Special Operations, in the Auto Insurance Fraud Unit,

15   Ms. Chandler also ran the Unit. She was responsible for filing, disposition, and grant writing for the

16   Unit. This Unit now has a supervisor and multiple attorneys because she successfully wrote a

17   supplemental grant that created a second position in the Unit. Her efforts provided funding to hire

18   multiple investigators and paralegals. Although not given the role, title, or prestige of supervisor, she

19   was doing the work of a supervisor and she was responsible for making all the offers on cases. Ms.

20   Chandler has proven herself capable, willing, and able to take on a supervisory role in the office, yet she

21   is consistently passed over for important roles with those roles going to younger, less qualified and less

22   experienced males.

23          D.      Plaintiff Mary Blumberg

24          50.      Mary Blumberg has been employed as a prosecutor for thirteen (13) years with the DA’s

25   Office. She currently works countless hours in the homicide unit, and has contributed to the mission of

26   the DA’s Office with her heart, passion, and commitment as a supervisor of the misdemeanor team, in

27   the Sexual Assault Unit, supervising the Real Estate Fraud Unit, in Auto Insurance Fraud Unit and as a

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 1   trial lawyer. She mentors both through a formal mentorship program and informally through providing

 2   advice, guidance and assistance to new attorneys and colleagues in general.

 3          51.     Mary Blumberg is one of a very small group of prosecutors who has tried sixteen sexual

 4   assault jury trials, many of which resulted in verdicts of life and life without possibility of parole. She

 5   has specialized in Child Victim Crimes and managed a Child Abuse Grant protecting the most

 6   vulnerable victims. For the past seven years, Ms. Blumberg has taught at the Advanced Sexual Assault

 7   School for Detectives statewide; she is published in the California District Attorney’s Office Training

 8   Guide for Child Victim Crimes and Sexual Assault; she mentors young attorneys in sexual assault cases,

 9   and serves as a resource to the County Child Interview Center.

10          52.     Mary Blumberg shined in the Special Operations Unit while working in Auto Insurance

11   Fraud and Real Estate Fraud. As a supervisor, Ms. Blumberg transformed the Real Estate Unit with her

12   commitment and focus on the victims. She collected over three quarters of a million dollars in paid

13   restitution for victims of real estate fraud. She lectured at countywide real-estate forums aimed at

14   ensuring citizens, brokers and title companies understood the trends in real estate crimes, and she trained

15   other attorneys statewide at the California District Attorney’s Association’s (CDAA) annual fraud

16   symposium. Under Ms. Blumberg, the Unit was expanded from one investigator to three investigators

17   and a paralegal. With additional resources, the Unit investigated and prosecuted more complicated

18   cases, including an extremely complex $11 million embezzlement case. Ms. Blumberg prosecuted

19   complex, multiple defendant insurance fraud rings that staged collisions and endangered countless

20   citizens on the roads of Contra Costa County. She was one of the first prosecutors in Contra Costa to

21   begin undercover investigations in collaboration with statewide agencies and other counties to eradicate

22   consumer fraud in auto body shops.

23          53.     Mary Blumberg worked as the Misdemeanor Team Leader in Central Eastern Operations

24   for one year with the largest staff of young lawyers. As part of her duties, she mentored young lawyers,

25   attended policy meetings regularly, assisted in hiring decisions, and wrote formative evaluations for

26   these lawyers. Ms. Blumberg provided an energetic, supportive environment for young lawyers,

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 1   nurtured their growth and earned a strong reputation as a leader and a successful manager. The

 2   attorneys continue to ask her for advice.

 3          54.     Mary Blumberg has taught for over ten years at Community Academies across the

 4   county, where Ms. Blumberg developed a bilingual presentation for Spanish speaking participants. Ms.

 5   Blumberg developed a Community Academy curriculum for the District Attorney’s Office that is the

 6   framework for the course taught currently. Ms. Blumberg is a certified instructor for the Law

 7   Enforcement Training Center, and teaches prospective officers at the Police Academy. She actively

 8   participates in training and mentoring of law students that attend the “Prosecutor Academy,” a one week

 9   “camp” for future prosecutors. She also privately mentors countless attorneys in the office daily when

10   they seek advice.

11
            E.      Plaintiff Jill Henderson
12
            55.      In her more than twenty-two (22) years with the DA’s Office, Jill Henderson has proven
13
     herself to be a fierce litigator, handling more than 100 trials ranging from misdemeanor petty theft to
14
     gang murders, with a 99% success rate. Her meticulous preparation, keen grasp of legal issues and
15
     superb oral advocacy skills make her a valuable attorney and respected advisor.
16
            56.     Ms. Henderson has been the supervisor of Elder Abuse Unit Supervisor since 2014. The
17
     litigation she has engaged in while in the Elder Abuse Unit is unprecedented. She conducted the first
18
     duty of care murder trial, first dementia rape and first duty of care homicide trials in the county. She is a
19
     recognized expert in elder abuse prosecution statewide and has conducted over 20 public speaking
20
     engagements on the topic. Other district attorneys from all over the state consult with Ms. Henderson on
21
     elder abuse prosecution methods. Prior to 2014, she spent three years in the Homicide Unit and
22
     prevailed in every trial. She has worked in nearly every unit in the DA’s office. Ms. Henderson has
23
     worked tirelessly to improve methods for victim restitution, earning recognition by the victim witness
24
     advocates for her work. She also developed a special community prosecution program in collaboration
25
     with the Concord Police Department and the California Department of Justice to address issues in the
26
     Monument Boulevard corridor in the City of Concord, by collaborating with residents to tackle low
27
     level, chronic quality of life crime.
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 1          57.      An email from Ms. Becton herself in 2018 stated, “Jill completed a tour in the homicide

 2   unit where she successfully prosecuted murders and gang murders, including special circumstances

 3   cases. Jill continues to serve Contra Costa County as the Elder Abuse Prosecutor and Unit Supervisor

 4   where she engages in novel and aggressive prosecution to hold those accountable who abuse and neglect

 5   our elders and dependents. She has shared her expertise by conducting trainings with partnership

 6   agencies, representing the District Attorney’s office on the multidisciplinary team, and engaging in

 7   community outreach to educate the public on how best to protect out most vulnerable citizens. She is

 8   also the resident expert on Mental Health trial issues. Thank you, Jill for your high quality of work

 9   performed during your 20-year career!”

10
                                              CAUSES OF ACTION
11
                                           FIRST CAUSE OF ACTION
12
                     Gender Discrimination in Violation of FEHA, Cal. Gov’t Code §12940.
13
                           (All PLAINTIFFS against all DEFENDANTS and DOES 1-20)
14
            58.      Plaintiffs repeat and reincorporate herein all preceding paragraphs of this Complaint as
15
     though set forth full herein.
16
            59.      Plaintiffs were and are employees of Defendants within the meaning of the Fair
17
     Employment and Housing Act, California Government Code section 12940 et seq.
18
            60.      Defendants Contra Costa County and Office of the District Attorney of Contra Costa
19
     County are employers within the meaning of the Fair Employment and Housing Act, Government Code
20
     Sections 12926 and 12940.
21
            61.      The Contra Costa District Attorney’s Office has a long and pervasive culture of systemic
22
     gender discrimination. Here are a few examples of the systemic discrimination:
23
               i. Women have historically been passed over for promotion in favor of less qualified men.
24
              ii.   Females had to typically gain “more experience” before being given high profile
25
                    assignments like being assigned to the Homicide Unit.
26
              iii. Females typically had to work 12-14 years prior to being assigned to the Homicide Unit
27
                    whereas males were considered and assigned typically at the 8-10 year mark.
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 1             iv. The culture encouraged and allowed openly disparaging comments against women and

 2                 sexualized conversations in the lunchroom. The sexualized conversations were well

 3                 documented in several news articles after a young female DA alleged that she was sexually

 4                 assaulted by an older male attorney.

 5          62.     In 2012, a lawsuit was brought against the DA’s office alleging gender discrimination.

 6   The County settled this lawsuit and the District Attorney’s office implemented changes to rectify these

 7   wrongs.

 8          63.     When Ms. Becton became District Attorney, she was formally made aware of this gender

 9   discrimination history. A group of senior female prosecutors from the office met with Ms. Becton and

10   shared with her the history of gender discrimination and she pledged she would fix the problems.

11          64.     Instead of building on gains made by the women in the office, Ms. Becton has reversed

12   progress for women and has engaged in a pattern and course of gender and age discrimination by

13   systematically demoting and failing to advance, promote and assign supervisory roles to qualified and

14   accomplished prosecutors who are women, particularly if those women have significant prosecutorial

15   experience and tenure. It is as if she is seeking to prove she will not make it better for the women who

16   have worked tirelessly for the County for decades.

17          65.     Under Ms. Becton, women in the DA’s office have been stripped of the opportunity for

18   career-advancing unit and supervisory assignments, case and specialty assignments, particularly in

19   assignments to committees, training and leadership roles.

20          66.     Ms. Becton has promoted and assigned supervisory roles to significantly less qualified

21   and less experienced men in contravention to Ms. Becton’s promise to remedy the bias and

22   discrimination against women in the office.

23          67.     Under Ms. Becton’s administration, hard-fought gains which had been made by female

24   prosecutors for representation in management have been obliterated.

25          68.     Since 2017, Defendants, under DA Becton’s leadership, have reversed gains made by

26   women in the office.

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 1          69.       Defendants have established an environment where women need to gain more experience

 2   than men to get high profile assignments, including needing to work for up to six years more than men

 3   to be assigned to the homicide unit.

 4          70.       In multiple instances, male prosecutors with less tenure and experience than female

 5   prosecutors have been selected for career-advancing assignments and given supervisory positions and

 6   dictatorships.

 7          71.       Stacey Grassini, a male, was promoted to a Level 5 executive management position

 8   without any prior supervisory assignments within the office. Plaintiffs are more qualified.

 9          72.       Chris Walpole, an attorney with very limited junior supervisory experience, was

10   promoted without process to Level 5 executive management to supervise the largest vertical prosecution

11   unit in the office, the Sexual Assault, Domestic Violence and Elder Abuse Unit. Chris Walpole was

12   again promoted to “Acting Assistant District Attorney” to supervise Homicide, Gangs, CVRU, Sexual

13   Assault, Domestic Violence, Special Operations and Elder Abuse (over 75% of the office.) Nancy

14   Georgiou, the most senior Level 5 and the only remaining female Level 5, had formerly supervised the

15   significant Sexual Assault, Domestic Violence and Elder Abuse Unit yet the supervisory responsibilities

16   for the unit were assigned to a male attorney with less supervisory and sexual assault experience and

17   despite her experience in these fields, Ms. Georgiou was moved to oversee the smallest prosecution unit.

18   Plaintiffs are also more qualified than the male promoted.

19          73.       Simon O’Connell, an attorney with less than six months of junior management

20   experience, was promoted to a Level 5 executive management position instead of a number of female

21   applicants for the position (including three of the Plaintiffs) with multiple years of executive

22   management and unit supervisory experience.

23          74.       Caleb Webster, with only five years of experience as an attorney was promoted to the

24   position of Misdemeanor Team Leader replacing one of the more qualified Plaintiffs.

25          75.       Male Level 3 attorneys were moved to supervise Level 4 female attorneys and

26   subsequently promoted.

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 1           76.      Symbolically, junior male attorneys and investigators were given larger window offices

 2   while more qualified female attorneys were forced to take smaller offices without windows.

 3           77.      Newly promoted Level 5 manager, Chris Walpole was selected to fill the role of Acting

 4   Assistant District Attorney instead of the more experienced, and most senior Level 5, who happens to be

 5   a woman.

 6           78.      Under Ms. Becton’s administration, less experienced male prosecutors are now

 7   supervising higher ranking, advanced level female prosecutors. Notably, no less experienced female

 8   prosecutors are supervising higher ranking, advanced level male prosecutors. Also, the only senior-

 9   supervising female prosecutor supervises the smallest DA branch office in Richmond supervising only

10   two advanced-level attorneys. Even where female prosecutors hold a supervisory position, often they are

11   supervisory in name only as the female prosecutor does not actually have anyone beneath her to

12   supervise. Male prosecutors with less tenure and experience than female prosecutors have also been

13   selected by Ms. Becton for career-advancing assignments and given supervisory positions and

14   directorships.

15           79.      Under Ms. Becton’s administration, female prosecutors with significant prosecutorial

16   experience have been excluded from committee membership and training positions which they

17   previously held. Ms. Becton’s exclusion of the senior female prosecutors from these positions of

18   significance within the office has sent the very clear message to prosecutors within the office, and to law

19   enforcement in general, that the senior female prosecutors are not valued by Ms. Becton.

20           80.      The promotion process in Ms. Becton’s administration for male prosecutors has been

21   discriminatorily different than the promotion process for female prosecutors. The change has been

22   dramatic. Junior male prosecutors are systemically promoted sooner than their more experienced female

23   counterparts, resulting in higher pay that compounds with every year of employment. Male prosecutors

24   now have direct supervision of at least 75% of the prosecuting attorneys.

25      //

26      //

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 1    i. Plaintiff Mary Elizabeth Knox

 2         i. DA Becton overrode the approval of two supervisors for Plaintiff Knox to take over a

 3            homicide case for a colleague on leave, and a less qualified male attorney was put on

 4            the case.

 5        ii. DA Becton transferred Plaintiff Knox from Ms. Knox’s position as supervisor of the

 6            Community Violence Reduction Unit (the unit Ms. Knox created) to Felony Filing, a

 7            position usually filled by attorneys with twenty years less experience than Ms. Knox,

 8            in a satellite office with limited contact to other attorneys.

 9       iii. Since the filing of Plaintiffs’ original complaint, after two and a half years in the

10            felony filer position, DA Becton transferred Ms. Knox to the Elder Abuse unit in a

11            non-supervisory role, another position typically held by attorneys with less than

12            fifteen years of experience.

13        iv. At the same time as Ms. Knox’s most recent transfer, DA Becton transferred Satish

14            Jallepalli, a male attorney with significantly less years in the office than Ms. Knox, to

15            the CVRU, a position and unit Ms. Knox has stated she would like, and is, qualified

16            for.

17        v. Tellingly, the attorney moved into Ms. Knox’s felony filer role is a fourteen-year

18            attorney, supporting Ms. Knox’s claim that the role she was performing for the last

19            two and a half years is traditionally done by an attorney with less than fifteen years’

20            experience.

21        vi. A male attorney (Jason Peck) who had no prior experience as a unit supervisor or

22            misdemeanor team supervisor replaced Plaintiff Knox as supervisor of the CVRU.

23       vii. DA Becton passed over Ms. Knox for a Level 5 Senior Deputy District Attorney

24            position in May 2019. Instead, DA Becton promoted Simon O’Connell, a male

25            attorney with less than six months of junior management experience, and Stacey

26            Grassini, a male attorney with no experience supervising attorneys, to Level 5, Senior

27            Management, roles.

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 1       viii. DA Becton assigns Ms. Knox rolls beneath her level of experience, expertise, and

 2             skill, which has the effect of killing the career that Ms. Knox has spent decades

 3             building. In direct contrast, DA Becton assigns younger, male attorneys, such as

 4             Simon O’Connell, Stacey Grassini, Chris Walpole, and Jason Peck, to name just a

 5             few, to roles beyond their individual levels of experience giving them an opportunity

 6             to rise to the challenge and stretch their professional growth and accomplishments.

 7             DA Becton does not give the same opportunity to the women in the office.

 8         ix. Defendants and Ms. Becton’s discriminatory actions towards Ms. Knox as detailed

 9             above have humiliated Ms. Knox and caused her to be depressed, disheartened,

10             embarrassed, and extremely upset as she watches the 35-year career she has built

11             dissipate due to Defendants and Ms. Becton’s actions.

12    ii. Plaintiff Rachel Piersig

13          i. The DA’s office consistently denied Plaintiff Piersig opportunities for growth, and

14             promotion, overlooking Ms. Piersig’s accomplishments and contributions and placed

15             Ms. Piersig in a role beneath her experience and skill set.

16         ii. Plaintiff Piersig was passed over for a Level 5 promotion in 2018 and again passed

17             over for a Level 5 Senior Deputy District Attorney position in May 2019.

18        iii. In her performance review, Ms. Piersig was accused of being “too mean” to police

19             officers - a charge that Ms. Piersig has never heard leveled at any male prosecutor.

20             This language is gendered, not leveled at males, and exemplifies the bias Ms. Piersig

21             has had to endure.

22         iv. In June 2018, both Ms. Piersig and Ms. Chandler went to Ms. Johnson to voice their

23             frustration and concerns regarding their treatment and management within the

24             Homicide Unit. Specifically, they both raised the times when they voiced issues or

25             concerns on their cases and their experience and concerns were ignored, demeaned

26             and discounted. Ms. Johnson indicated that “things would change for the better soon”

27             but nothing favorable occurred.

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 1         v. Instead, the female Homicide Unit members were “given” “mental health breaks”

 2            while the male attorney Chris Walpole continued to receive the better assignments,

 3            was promoted and given a pay raise associated with a Level 5.

 4        vi. In October 2018, Ms. Piersig was transferred from the Homicide Unit to her current

 5            position as a Felony Expeditor, a position typically reserved for prosecutors with less

 6            experience. Ms. Johnson told Ms. Piersig that the transfer “would be good for her

 7            mental health.” Mr. Walpole was promoted to a Level 5 and currently supervises the

 8            Family Violence Division, the Elder Abuse Unit, the Domestic Violence Unit, and the

 9            Human Trafficking Unit. He was later promoted again to “Acting Assistant District

10            Attorney.” The other complaining party, Ms. Chandler, was moved to the felony filer

11            position in Richmond as “a mental health break.” This “time out” response

12            exemplifies the discriminatory practice within the DA’s office; women who complain

13            about disparate treatment are moved to positions to give them “mental health breaks.”

14            This treatment has a disparate impact on female prosecutors, contributing to pauses in

15            their career and a slower rise through the ranks of the DA’s office. Mr. Butts still

16            supervises the Homicide Unit.

17       vii. Ms. Piersig has extensive supervisory experience. As the supervising attorney of the

18            Domestic Violence and Elder Abuse Units for over four years, she directly supervised

19            fourteen attorneys at various times, of various levels of experience, from brand-new

20            felony attorneys to far more senior prosecutors. Since October 2018, Ms. Piersig has

21            supervised the entire Preliminary Hearing unit, teaching less-experienced attorneys

22            the fundamentals of felony prosecution to prepare them for felony trials. She now

23            directly supervises 3 attorneys.

24       viii. While supervising the preliminary hearing team, Ms. Piersig’s authority was

25            repeatedly usurped by a junior male supervisor, Simon O’Connell. Without speaking

26            to Ms. Piersig, Mr. O’Connell would assign trials to Ms. Piersig’s team. Mr.

27            O’Connell had no supervisory authority over Ms. Piersig’s team. One week, Mr.

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 1            O’Connell assigned trials to the attorneys on Ms. Piersig’s team leaving her without

 2            any attorneys to handle the preliminary hearings for the week. Ms. Piersig had to

 3            repeatedly ask Mr. O’Connell to not assign work to her team without speaking to her.

 4            He persisted and told attorneys they were transferred off her team and told another

 5            attorney that she was now assigned to Ms. Piersig’s team. All these actions were

 6            outside of Mr. O’Connell’s authority.

 7        ix. During this time a junior female attorney was assigned a very serious felony case.

 8            Mr. O’Connell inserted himself and contacted Mr. Cabral and stated that the case

 9            should not be assigned to the young female attorney because, without any evidence,

10            Mr. O’Connell was concerned that the defendant would “become focused” on the

11            young attorney. Ms. Piersig was informed that that the case would be reassigned to a

12            male attorney. The male attorney selected was not as talented as the young female.

13            Ms. Piersig pointed out that this was unfair and was denying a female attorney an

14            opportunity based solely on her gender, and while, ultimately, the case remained with

15            that attorney, Ms. Piersig was seen to be complaining on behalf of other female

16            prosecutors and Mr. O’Connell was promoted to a Level 5 by Ms. Becton.

17        x. As a supervisor, Ms. Piersig regularly trained new attorneys. Ms. Piersig held formal

18            trainings on domestic violence for the new attorneys. She also held trainings for

19            attorneys on opening statements, and all aspects of trial, voir dire through closing

20            statements. She trained Contra Costa County Sheriff Dispatchers regarding elder

21            abuse issues and provided training to all county law enforcement on procedures for

22            handling domestic violence situations. Ms. Piersig has contributed immensely to the

23            Contra Costa District Attorney’s Office through these internal trainings and external

24            trainings that build bridges and are preventative measures used to reduce violence.

25            Since Ms. Becton’s election, Ms. Piersig has not been asked to participate in any

26            trainings.

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 1        xi. Mr. Walpole was suddenly promoted by Ms. Becton to a Level 5 position in or

 2            around the end of 2018. Mr. Walpole was promoted without an application process

 3            and hurdled ahead of many qualified female prosecutors with far more experience

 4            including Ms. Piersig. Historically, in order to be considered for a Level 5

 5            promotion, attorneys had prosecuted in nearly every unit in the office and had

 6            significant supervisory experience. Ms. Piersig has been with the DA’s Office four

 7            years longer than Mr. Walpole. She also has significantly more supervisory

 8            experience, including her four years supervising the Domestic Violence and Elder

 9            Abuse Units. In contrast, before his sudden promotion to Level 5, Mr. Walpole had

10            only a year of junior level supervisory experience, back in 2012. That position was

11            limited to supervising three attorneys in court while the attorneys file and negotiate

12            the misdemeanor cases themselves. Supervising misdemeanors is considered an entry

13            level supervisory position and does not invoke the level of responsibilities and duties

14            that heading the Felony Domestic Violence Unit does, as Ms. Piersig did successfully

15            for four years. Nevertheless, these qualifications and experience were overlooked and

16            ignored on account of Ms. Piersig’s gender. Mr. Walpole’s gender trumped Ms.

17            Piersig’s experience.

18       xii. In April 2019, Ms. Becton announced that promotions into vacant Senior Deputy

19            District Attorney positions would be made following applications and interviews. Ms.

20            Piersig submitted her application highlighting her extensive experience and

21            accomplishments in the office. This included her successful and effective leadership

22            of the Domestic Violence and Elder Abuse Units and the several initiatives she had

23            put in place to increase efficiencies and conviction rates in those units, detailed

24            above.

25       xiii. Ms. Piersig’s interview was scheduled at 1:00 p.m. on a Tuesday, Ms. Piersig’s

26            heaviest court day. When Ms. Piersig arrived at the interview, she was surprised to

27            find that Ms. Becton, the sole decision maker on advanced level promotions, was not

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 1            in attendance. The interview lasted barely 20 minutes and contained odd questions

 2            such as Ms. Piersig’s thoughts on the chain of command in the office. The interview

 3            questions were very generic and did not have anything to do with the Level 5 position

 4            which entails supervising multiple teams of attorneys. The interview, and whole

 5            process, on its face was a sham put in place to support decisions that had already been

 6            made regarding the promotions and to placate those that complained about Mr.

 7            Walpole’s sudden promotion.

 8       xiv. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

 9            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

10            District Attorney positions. Ms. Piersig, and many other well qualified female

11            attorneys, were passed over in favor of younger or less qualified males.

12       xv. Ms. Piersig has more than six years of additional experience compared to Simon

13            O’Connell who was promoted. At the time of his promotion, Mr. O’Connell had just

14            six months of experience as a supervisor, as the felony trial team leader. This

15            position supervises less experienced attorneys, is really an assistant supervisory role

16            without independence and is limited to assigning trials, making offers, and

17            supervising the subordinate attorney, which is significantly less supervisory

18            experience than Ms. Piersig holds. Ms. Piersig also has an additional six months of

19            experience as the felony expeditor, has worked in more units in the office and

20            prosecuted more homicides than Mr. O’Connell.

21       xvi. Ms. Piersig has prosecuted more trials and has significantly more supervisory

22            experience than Stacy Grassini. In fact, prior to his promotion to the Level 5 position,

23            Mr. Grassini had never held a supervisory role in the office. He had not tried a case

24            in ten years and, on information and belief, has never prosecuted a homicide.

25      xvii. When Ms. Becton took office in June 2018, two males and three females occupied the

26            advanced level Attorney 5 positions. Now, there is only one female at that level, and

27            she supervises only two attorneys in the smallest DA branch office in Richmond. The

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 1            DA’s office is in turmoil and is losing experienced prosecutors at an unprecedented

 2            rated. Since January 2019, fifteen prosecutors have resigned their position with the

 3            County.

 4      xviii. Shortly after the promotions of Mr. O’Connell and Mr. Grassini, in June 2019, Ms.

 5            Becton doubled down on her discrimination and announced that Mr. Walpole, a

 6            Senior DA with less than eight months of experience in his new position as a Level 5

 7            (to which he was promoted without any process bypassing many more qualified

 8            females), would be designated the Acting Assistant District Attorney.

 9       xix. Defendants and Ms. Becton’s discriminatory actions towards Ms. Piersig as detailed

10            above have humiliated Ms. Piersig and caused her to be miserable, unhappy,

11            embarrassed, and anxious as her career grows stagnate due to Defendants and Ms.

12            Becton’s actions.

13   iii. Plaintiff Allison Chandler

14         i. In Spring of 2019, Plaintiff Chandler was promised a supervisory role in Felony Filer

15            while still having to manage her homicide trial caseload, but ultimately was not given

16            the supervisory role.

17         ii. Since 2019, Plaintiff Chandler has been forced to do one and a half times the work by

18            taking on "non-negotiable" extra responsibilities in Felony Filer by Filing Domestic

19            Violence Misdemeanors. She was even stripped of a capital murder case assignment

20            to do Filing Domestic Violence Misdemeanors.

21        iii. Ms. Chandler has been told she is “too emotional” and “excitable” and “her

22            temperament” is problematic. These are all gendered terms only leveled at females

23            and used against them to prove that they are not equipped to supervise. Men are

24            passionate and zealous; women are emotional and excitable. One is considered an

25            asset: the other, a liability.

26        iv. Ms. Chandler has consistently sought out opportunities for growth and advancement

27            in her career. She has explicitly requested supervisory roles from her superiors.

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 1            Despite career success, her willingness to take on extra work and roles in addition to

 2            her assigned role, Ms. Chandler is consistently passed over for supervisory roles she

 3            is qualified for, with those roles going to less qualified, more junior males. The effect

 4            of this has been a stagnation in her career growth and inability to arc her career

 5            ascension at the same rate as her male counterparts and as a result Ms. Becton has

 6            failed to provide Ms. Chandler with equal employment opportunities based on her

 7            gender. Despite her qualifications and experience, Ms. Chandler has been put in a

 8            role beneath her experience and skill set. She has been overlooked for supervisory

 9            positions that she is immensely qualified for and those have gone to younger, less

10            qualified males.

11        v. In June 2018, prior to their individual transfers, both Ms. Piersig and Ms. Chandler

12            went to Ms. Johnson to voice their frustration and concerns regarding their treatment

13            and management within the Homicide Unit. Specifically, they both raised the times

14            when they voiced issues or concerns on their cases and their experience and concerns

15            were ignored, demeaned and discounted. Ms. Johnson indicated that “things would

16            change for the better soon” but nothing favorable occurred.

17        vi. Instead, in retaliation, the female Homicide Unit members were “given” a “mental

18            health break” while the male attorneys continued to receive the better assignments

19            and were promoted. Mr. Walpole was promoted to a “Level 5” and currently

20            supervises the Family Violence Division, the Elder Abuse Unit, the Domestic

21            Violence Unit, and the Human Trafficking Unit, and also has been promoted to

22            “acting Assistant District Attorney.” Ms. Chandler, was moved to her current felony

23            filer position in Richmond as “a mental health break.” She was removed from emails

24            and committees, and members of executive management started to ignore her. This

25            “time out” response exemplifies the discriminatory practice within the DA’s office,

26            and it effects women in the office by sending a message that the senior women will be

27            ignored. Junior women have ceased seeking guidance from senior women and are

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 1            being redirected to junior male attorneys endorsed by management. Women who

 2            complain about disparate treatment are moved to positions to give them “mental

 3            health breaks” and effectively pushed aside. Their reputations in the office are

 4            forever tainted. This treatment has a disparate impact on female prosecutors,

 5            contributing to pauses in their career and a slower rise through the ranks of the DA’s

 6            office. Ms. Becton is aware of this because senior women have told her. Despite

 7            this, she participates in the disparate treatment and does nothing to stop it.

 8       vii. In March 2019, Ms. Chandler was informed she would be rotated to Richmond to be

 9            the Felony Filer and share in the Felony Expeditor duties, a supervisory position. Ms.

10            Chandler was told she would be assisting Steve Bolen, the then head of the Richmond

11            office with the expeditor duties. Ms. Chandler had previously completed Felony Filer

12            rotation in Martinez, and the role was beneath her experience and skill set. However,

13            she was willing to take on the role since it came with the promise of a shared

14            supervisory role, Felony Expeditor. Ms. Chandler had requested a supervisory role.

15            She was also informed that in addition to her Felony Filer and shared Expeditor role,

16            Ms. Chandler was to continue prosecuting her over a dozen murder cases “until a

17            prosecutor could replace her in homicide.”

18       viii. At the end of March 2019, Ms. Chandler was cleaning out her office planning to

19            begin her new role in Richmond upon her return from a scheduled vacation when her

20            supervisor, Derek Butts, questioned why she was cleaning out her office. Ms.

21            Chandler informed him she was rotating to Richmond to be Felony Filer and share the

22            Expeditor role. Mr. Butts showed her an email from Ms. Johnson informing him that

23            Ms. Chandler was simply “filling in for a moment in Richmond as Felony Filer and

24            ‘still in homicide.’” There was no mention of the promised supervisory role. Ms.

25            Chandler left for her vacation with half her belongings in Richmond and the rest in

26            Martinez, unsure of her role or even what office to return to after her vacation.

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 1        ix. While on vacation, Chris Walpole, called Ms. Chandler and asked her to “help out”

 2            the office by being the Felony Filer in Richmond. She agreed to do it for one week

 3            because she was expected to continue carrying and managing a very heavy homicide

 4            caseload. Since Ms. Becton was elected, there has been a significant number of

 5            employee departures, so more was being required of the remaining attorneys. Ms.

 6            Chandler fulfilled her commitment and completed the week and returned to homicide

 7            as she was instructed.

 8        x. In April 2019, Ms. Becton announced that promotions into vacant Senior Deputy

 9            District Attorney positions would be made following applications and interviews.

10            Attorneys with one year of experience in a Level 4 position were eligible to apply.

11            Although, Ms. Chandler was qualified for the position, she wanted to gain

12            fundamental supervisory experience before taking on an executive management role

13            as she understood this was historically a requirement. She also understood there were

14            many more senior qualified and experienced contenders like Mary Knox and Rachel

15            Piersig who were applying for the role. Regardless, Ms. Chandler went through the

16            process of putting together a resume similar to the application with the intent of

17            highlighting her experience and contributions so Ms. Becton would understand her

18            qualifications and move her into a supervisory role. This is another example of Ms.

19            Chandler being proactive. She gave her completed application to Ms. Becton, asking

20            that it be put in her file and informing Ms. Becton that she wanted a supervisory role

21            with the goal of one day heading the Sexual Assault Unit. Becton asked Ms. Chandler

22            if being Felony Filer and Expeditor as previously planned in Richmond would be a

23            supervisory role that she would be interested in. Ms. Chandler said yes.

24        xi. Ms. Chandler also sent her resume to Ms. Johnson asking her to review it prior to

25            finalizing transfers. Ms. Chandler also let Ms. Johnson know that she wanted to be a

26            supervisor. Sometime later, Ms. Johnson approached Ms. Chandler to inform her that

27            she was being transferred to a non-supervisory role as Felony Filer in Richmond and

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 1            that she would not be Felony Expeditor. This was a step back in Ms. Chandler’s

 2            career trajectory as she had already held this role prior to being on the Homicide team

 3            and it was not a supervisory role which she had explicitly requested.

 4       xii. Ms. Johnson told Ms. Chandler that she wanted to speak to her “woman to woman,”

 5            that although Ms. Chandler had exceptional trial skills and “checked all the boxes”

 6            typically required to be moved into a supervisory role, Ms. Becton was looking for

 7            other intangible attributes, reputation in the office, as in, “what others think of you

 8            and how well you get along with others.” Basically, Ms. Becton was conducting a

 9            popularity contest and not basing decisions on experience and abilities. Ms. Becton

10            had provided many junior level male prosecutors opportunities to manage. Even with

11            their many mistakes and problems, Ms. Becton continued to allow them to stay in

12            their position. Ms. Chandler has not had any negative evaluations nor is anything in

13            her personnel file that would support Ms. Becton’s decision to deny her a supervisory

14            role.

15       xiii. In June 2019, a younger lesser qualified and less experienced male (twelve years her

16            junior with five years of experience) was promoted into the position of Misdemeanor

17            Team Leader in Richmond, a supervisory position in the office in which Ms.

18            Chandler currently works. Ms. Chandler had requested this role when she was told

19            she needed supervisory experience in order to move to the Sexual Assault Unit. Even

20            though the role was beneath her experience level, she was willing to do it to get the

21            experience. It was given to a less experienced male.

22       xiv. In the meantime, Stacey Grassini and Jason Peck were promoted to supervisory roles,

23            and Stacey Grassini was given a Level 5 role without any supervisory experience.

24            The reasons used for blocking Ms. Chandler’s career advancement did not apply for

25            less experienced males.

26       xv. DA Becton assigns younger, male attorneys, such as Simon O’Connell, Stacey

27            Grassini, Chris Walpole, and Jason Peck, to name just a few, to roles beyond their

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 1            individual levels of experience giving them an opportunity to rise to the challenge and

 2            stretch their professional growth and accomplishments. Meanwhile, Ms. Chandler has

 3            to “prove” herself over and over again, and yet Ms. Becton still denies Ms. Chandler

 4            the opportunities that less qualified males are given.

 5       xvi. Ms. Chandler has been told she is “too emotional” and “excitable” and “her

 6            temperament” is problematic. These are all gendered terms only leveled at females

 7            and used against them to prove that they are not equipped to supervise. Men are

 8            passionate and zealous; women are emotional and excitable. One is considered an

 9            asset: the other, a liability.

10      xvii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Chandler as detailed

11            above have humiliated Ms. Chandler and caused her to be miserable, unhappy, feel

12            hopeless, and anxious as her career fails to progress due to Defendants and Ms.

13            Becton’s discriminatory treatment.

14   iv. Plaintiff Mary Blumberg

15         i. Plaintiff Blumberg was stripped of the supervisory role of Central and Eastern

16            Operation(s) Misdemeanors Trial Team, which traditionally is a two-year period,

17            roughly one year prematurely. She was also forced to the Homicide Unit without

18            consultation.

19        ii. Plaintiff Blumberg experienced consistent denials of opportunities for growth,

20            promotion, and overlooked accomplishments and contributions.

21        iii. Despite all her accomplishments, Ms. Blumberg has been discriminated against by

22            Diana Becton based on gender. In September 2017, Ms. Blumberg was assigned to

23            supervise the Central and Eastern Operation(s) Misdemeanor Trial Team. This was a

24            good career move for her as it would build her supervisory experience as she would

25            be supervising twelve to fourteen new attorneys. Supervising misdemeanor trial

26            attorneys is usually a two-year assignment. However, in October 2018, without any

27            discussion, Ms. Blumberg was unceremoniously removed from the supervisor

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 1            position despite telling her then supervisor many times that she wanted to remain

 2            supervising misdemeanors for the traditional two-year period.

 3        iv. In October 2018, merely a year into her assignment, Ms. Blumberg was unexpectedly

 4            transferred from her supervisory position to the Homicide Unit. She was told the

 5            morning the transfer memorandum was sent that she was being moved. This move

 6            was unusual for two reasons: (1) it was done without input from Ms. Blumberg and

 7            (2) the two males who were assigned at the same time as her to the Homicide Unit

 8            had known about their move for weeks and one was also aware that Ms. Blumberg

 9            would be moved. Given the emotionally taxing and demanding mental and physical

10            load of the Homicide Unit, and the significant investment of time it requires,

11            attorneys are historically consulted before being moved to the Homicide Unit. The

12            office has a vested interest in ensuring that the attorneys rotated to the Homicide Unit

13            are ready, mentally and emotionally, and prepared for the impact the time

14            commitment will have on their family and personal life. However, Ms. Blumberg was

15            not allowed to consider this. She was never consulted. Unlike Ms. Blumberg, the

16            male prosecutors who were moved to the Homicide Unit were granted weeks of

17            advanced notice of the upcoming transfer and could mentally prepare for the new

18            assignment.

19        v. The stressful move to the Homicide Unit has had a significant impact on Ms.

20            Blumberg’s health and her family. Her children are young and go days without

21            seeing their mother. Recently, a trial demanded she work 90 plus hour weeks for

22            several weeks, causing her to downplay several health symptoms that ultimately

23            landed her in the hospital with emergency surgery. Ms. Blumberg spent a month

24            recovering from surgery but continued to be stressed given other homicide cases were

25            scheduled for trial in her absence. She asked for assistance to manage her caseload in

26            her absence, and Plaintiff Mary Knox offered to try the double homicide case during

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 1            Ms. Blumberg’s recovery. True to form, Ms. Becton ignored Ms. Knox and assigned

 2            the double homicide trial to a junior male prosecutor.

 3        vi. Upon return to work, Ms. Blumberg’s repeatedly requested accommodations, and was

 4            met with silence and laughter. After asking for a stand-up desk, the Office Manager

 5            told Ms. Blumberg to “just stack” books on her desk. Ms. Blumberg was only

 6            accommodated after a sympathetic colleague offered to disassemble her own standing

 7            desk and reassemble it in Ms. Blumberg’s office. Shortly thereafter, she filed a DFEH

 8            complaint, and in retaliation, the executive management began to harass her for a

 9            doctor’s note in order for her to return to work. Her attorneys were forced to

10            intervene. Other similarly situated prosecutors have not been required to provide a

11            doctor’s note and even her supervisor thought the request for a doctor’s note was

12            unusual.

13       vii. At the same time Ms. Becton assigned Ms. Blumberg to the Homicide Unit, Ms.

14            Blumberg was removed from the Recruitment and Retention Committee. She emailed

15            the Assistant Deputy District Attorney in charge of the recruitment and retention

16            committee, asking for an explanation, and has never received an explanation.

17       viii. At the end of 2018, a junior attorney, became the first male to request to work one of

18            the part-time positions. At the time that he made the request, there was only one

19            experienced prosecutor working part-time, a female attorney. This means that there

20            should have been three spots still available, one part-time and job-share position. His

21            request could easily have been accommodated without affecting the female’s

22            position. Instead, though Ms. Becton granted his request, as was appropriate, and at

23            the same time demanded that the female attorney return to full-time status, which was

24            not appropriate. Given the availability of multiple part-time positions, both attorneys

25            should have been allowed to remain in their part-time positions. This was odd

26            because no request for part-time has ever been denied, and Ms. Becton has spoken at

27            length about how she was going to make the office better for women.

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 1        ix. However, consistent with Ms. Becton’s policy and practice, a female was asked to

 2            sacrifice, presumably “for the good of the office,” ignoring her own personal and

 3            career goals. Ms. Becton had no interest in accommodating the female’s desire to

 4            balance the needs of her family with her desire to continue long-term employment.

 5            This is a consistent theme with Ms. Becton. Ms. Becton replaced a longer tenured

 6            female attorney with a junior male attorney. The female attorney was ordered to

 7            return to full-time employment by March 2019. As a result, a seasoned, talented

 8            prosecutor moved to another County. She accepted a part-time position with the

 9            Alameda County DA’s Office. Ms. Becton’s actions violated the office policy and

10            directly caused a qualified career prosecutor to leave county employment to meet

11            family needs. This is yet another example of Ms. Becton pushing out, silencing, and

12            punishing female prosecutors.

13        x. In June of 2019 for personal reasons, Ms. Blumberg considered asking for a part-

14            time position but was hesitant given what had occurred with last female part-time

15            attorney. She asked an Assistant District Attorney the procedure for requesting a part-

16            time position. He said he did not know and needed to research the issue. After

17            obtaining some information, he asked Ms. Blumberg if her request for part-time was

18            based upon a medical issue. This surprised Ms. Blumberg, as obtaining a part-time

19            position had never been based on a medical need. Moreover, this Assistant District

20            Attorney indicated that if it was not medical, she needed to list all of her reasons for

21            requesting the position as it is a discretionary decision made by the DA. According to

22            his information, Ms. Blumberg would need to elaborate on her reasons for her

23            request, including if it was medical. Ms. Blumberg pointed out that never in the

24            history of the office was an attorney required to make such a showing. Ms. Blumberg

25            further explained that she should be allowed to work part-time if she desired

26            regardless of whether it was due to a medical need or not. He basically shrugged his

27            shoulders and said, “good luck getting this approved.” Given the recent message Ms.

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 1            Becton had sent by effectively forcing an experienced female attorney to return to

 2            full-time employment or resign, and seeking private medical information, Ms.

 3            Blumberg never requested the part-time position.

 4        xi. The treatment of the last female part-time attorney and the perceived unwillingness of

 5            Ms. Becton to allow female prosecutors to utilize the part time positions has had a

 6            chilling effect on women asking for these positions. Female prosecutors fear they will

 7            be further marginalized and discriminated against if they request a part-time position.

 8            Ms. Becton’s policies and practices have a demonstrable disparate impact on females

 9            in the office.

10       xii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Blumberg as

11            detailed above have humiliated Ms. Blumberg and caused her to be miserable,

12            worried, nervous, and anxious as her like situated male colleagues leapfrog over her

13            in career advancement as a result of Defendants and Ms. Becton’s discriminatory

14            treatment.

15    v. Plaintiff Jill Henderson

16         i. Plaintiff Henderson experienced a reduction of her supervision role and her unit was

17            cut.

18         ii. However, Plaintiff Henderson was given additional responsibilities and also became

19            the head of the DV Unit without a promotion or compensation.

20        iii. Mr. Walpole, a younger and less qualified male, is now Ms. Henderson’s direct

21            supervisor and has never done a rotation in the Elder Abuse or Domestic Violence

22            Units he now manages. He undermines Ms. Henderson’s authority by inserting

23            himself into daily supervisory issues often without notifying Ms. Henderson. When

24            working through the conflict, Mr. Walpole told Ms. Henderson that he thought she

25            was “smart” in a condescending manner for a younger man. When Ms. Henderson

26            complained to Ms. Johnson, no action was taken.

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 1        iv. When Ms. Becton announced that promotions into vacant Senior Deputy District

 2            Attorney positions would be made following applications and interviews in April

 3            2019, Ms. Henderson submitted her application highlighting her extensive experience

 4            and accomplishments in the office. This included her successful and effective

 5            leadership of the Elder Abuse Unit. During the interview, Ms. Henderson specifically

 6            noted that she wanted to be a role model for women in the office and the women were

 7            under-represented in management. She also separately complained about the lack of

 8            representation of women in leadership to Ms. Becton, Ms. Johnson, and Mr. Cabral,

 9            and they all acknowledged the need.

10        v. Sometime after the interview, Ms. Becton called Ms. Henderson into her office and

11            informed her that someone else was getting the Senior Deputy position. When Ms.

12            Henderson inquired about the second LLevel 5 position in special operations, Ms.

13            Becton told Ms. Henderson that she had no hope of being promoted in the future

14            despite the fact that she, Ms. Becton, believed Ms. Henderson to be “great.” Ms.

15            Henderson asked what she could do to be eligible to improve and Ms. Becton said,

16            “nothing.”

17        vi. The interview and whole process on its face was a sham put in place to support

18            decisions that had already been made regarding the promotions. This sham process

19            had been put in place after employees had protested when Chris Walpole was

20            promoted without any process. Indeed, Ms. Becton, the ultimate decision maker,

21            failed to attend many of the female interviews of senior female candidates.

22       vii. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

23            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

24            District Attorney positions. Ms. Henderson, and many other well qualified female

25            attorneys, were passed over in favor of these younger and less qualified males. Mr.

26            O’Connell, for example, has eight years less experience than Ms. Henderson.

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 1       viii. In addition to her traditional prosecutorial experience, Ms. Henderson has

 2            demonstrated a dedicated passion to proactively helping communities reduce crime.

 3            She developed a community prosecution program that was so popular, the City of

 4            Concord paid her full salary and benefits for four years. Ms. Henderson brainstormed

 5            novel techniques to address poverty-based crimes with incarceration as a last resort.

 6            When Ms. Becton was appointed the DA, Ms. Henderson shared her excitement and

 7            willingness to institute such programs. Ms. Becton declined her offer. When Ms.

 8            Becton formed a variety of committees to improve various office functions, Ms.

 9            Henderson asked Ms. Becton where she could be the most useful. Ms. Becton

10            declined to use Ms. Henderson as a resource on any committee. Shortly after Ms.

11            Becton’s appointment Ms. Henderson shared her concerns about diversity in the

12            office and wanted to discuss new methods of recruiting. Ms. Becton did not consult

13            with Ms. Henderson over any of her ideas or rectify any of her concerns. Ms.

14            Henderson specifically stated that she had recommended several qualified candidates

15            with diverse backgrounds that she had interviewed and were rejected.

16        ix. Ms. Henderson’s role may be supervisory on paper, but she has been stripped of

17            actual authority, respect and the opportunity to lead the department. Instead, lesser

18            qualified and less experienced male attorneys are being given this power and are not

19            reprimanded for breaching long standing protocols showing respect to the employee’s

20            supervisor. For example, men are permitted to use subordinates without letting female

21            supervisors know.

22         x. In addition, after being involved in in-house trainings for years, Ms. Henderson has

23            been excluded from the ability to lead trainings and was told that the DA wanted

24            younger attorneys to do the training.

25        xi. The power in the office is being redistributed to the younger males in the office at an

26            alarmingly fast rate, while equally or more qualified female prosecutors are being

27            stripped of their roles, their presence, and their voice in the office. Ms. Henderson

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 1                     went to Ms. Becton with her complaints over a course of more than a year, believing

 2                     Ms. Becton would take action, but Ms. Henderson only experienced worse treatment

 3                     as a result in retaliation after making her complaints.

 4                 xii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Henderson as

 5                     detailed above have humiliated Ms. Henderson and caused her to be embarrassed,

 6                     mortified, and extremely anxious for which she has sought therapy sessions to cope.

 7      81. Further, Ms. Becton has hired and protected men with a history of demeaning women. The

 8   following are some examples:

 9            i.    Ms. Becton assigned a male to the Felony Expeditor position in the Richmond branch

10                  office. In that position, he was the senior supervisor of junior female DAs despite

11                  numerous complaints about his sexist behavior. In the past he sent videos to junior DAs

12                  under his supervision entitled “Jizz in my pants.” He sent an email calling a female

13                  Deputy Attorney General a “pussy” and told junior female DAs that he would assign

14                  them cases that would cause them to “cream in their panties.” He told a woman that she

15                  was “swinging with the biggest dick on the fourth floor” and asked a nursing mother to

16                  not lift anything because it may make her “leak breast milk.” He told a pregnant attorney

17                  that she should order a mocha Frappuccino at Starbucks because it would help with

18                  “lubrication” in delivery. Despite all of this and more, Ms. Becton assigned him to

19                  supervise women, and allowed him to continue as a supervisor as the Richmond

20                  Expeditor while deeming more senior women without such complaints unsuitable for

21                  managerial roles.

22           ii.    Ms. Becton hired Roy Smalley as an Investigator Assistant. Mr. Smalley was accused in

23                  a civil lawsuit of requiring one of his female employees at a group home in Solano

24                  County to have sex with him as a condition of her employment. Mr. Smalley’s hiring is

25                  alleged to have occurred outside of Contra Costa County’s HR regulations and without a

26                  completed background check. Following news reports of the hiring, Mr. Smalley

27                  abruptly quit his employment with the DA’s Office.

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 1           iii.   Ms. Becton hired Larry Wallace who resigned from his last position over allegations of

 2                  gender harassment. The claims settled for $400,000. The settlement became public, and

 3                  was widely reported, following an investigation by the Sacramento Bee. Ms. Becton

 4                  admitted that she was aware of the allegations and settlement when she hired Wallace.

 5          82.     The empowerment and endorsement of these men shows Ms. Becton is not interested in

 6   ensuring a workplace free of discrimination for women.

 7          83.     Defendants’ actions, as described above constitute gender discrimination, in violation of

 8   the Fair Employment and Housing act, California Government Code Section 12940.

 9          84.     Defendants’ consistently denied Plaintiffs’ opportunities for growth, promotion, and

10   overlooked their accomplishments and contributions, constituting disparate treatment in that it was

11   based on the fact that Plaintiffs are experienced women as alleged herein.

12          85.     As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to

13   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount

14   according to proof.

15                                       SECOND CAUSE OF ACTION

16                    Age Discrimination in Violation of FEHA, Cal. Gov’t Code §12940

17    (PLAINTIFFS Knox, Piersig, Chandler and Henderson Against all DEFENDANTS and DOES 1-20)

18          86.     Plaintiffs Knox, Piersig, Chandler and Henderson repeat and reincorporate herein all

19   preceding paragraphs of this Complaint as though set forth in full herein.

20          87.     Plaintiffs Knox, Piersig, Chandler and Henderson allege that they were discriminated

21   against due to their age, over forty (40) years old. Given that the discrimination is continuing and

22   ongoing, Plaintiffs Knox, Piersig, Chandler and Henderson were each over forty (40) at the time they

23   were subjected to discrimination based on their age.

24          88.     Defendants are therefore strictly liable for the unlawful and discriminatory conduct

25   pursuant to California Government Code §12900, et seq., and §§12940 and 12941, in particular.

26          89.     Plaintiffs Knox, Piersig, Chandler and Henderson allege that Defendants and other agents

27   and employees of Defendants, had and has a history of discriminating against females, over the age of

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 1   forty, which history was known to Defendants. Despite such knowledge, Defendants callously chose to

 2   ignore the rights of their employees to be free from discrimination in favor of its own interests.

 3          90.       Plaintiffs allege that much younger employees lacking the experience, expertise, and

 4   historical knowledge attributable to Plaintiffs Knox, Piersig, Chandler and Henderson filled roles and

 5   positions that should have gone to Plaintiffs.

 6          91.       Defendants’ consistently denied Plaintiffs opportunities for growth, promotion, and

 7   overlooked their accomplishments and contributions, constituting disparate treatment in that it was

 8   based on the fact that Plaintiffs are women over the age of forty as alleged hereinabove.

 9          92.       Under Ms. Becton’s administration, less experienced male prosecutors are now

10   supervising higher ranking, advanced level female prosecutors. Notably, no less experienced female

11   prosecutors are supervising higher ranking, advanced level male prosecutors. Also, the only senior-

12   supervising female prosecutor supervises the smallest DA branch office in Richmond supervising only

13   two advanced-level attorneys. Even where female prosecutors hold a supervisory position, often they are

14   supervisory in name only as the female prosecutor does not actually have anyone beneath her to

15   supervise. Male prosecutors with less tenure and experience than female prosecutors have also been

16   selected by Ms. Becton for career-advancing assignments and given supervisory positions and

17   directorships.

18          93.       Under Ms. Becton’s administration, female prosecutors with significant prosecutorial

19   experience have been excluded from committee membership and training positions which they

20   previously held. Ms. Becton’s exclusion of the senior female prosecutors from these positions of

21   significance within the office has sent the very clear message to prosecutors within the office, and to law

22   enforcement in general, that the senior female prosecutors are not valued by Ms. Becton.

23            vi. Plaintiff Mary Elizabeth Knox

24                    i. At the time she was subjected to Defendants' adverse actions, Plaintiff Knox was over

25                       the age of forty.)

26                    ii. Defendants continued to subject Plaintiff Knox to a demeaning assignment for over a

27                       year, despite the office tradition to limit an assignment to Felony Filing to one year

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 1             and notwithstanding Plaintiff Knox's requests to DA Becton to be reassigned to a

 2             position commensurate with her experience.

 3         iii. Since the filing of Plaintiffs’ original complaint, after two and a half years in the

 4             felony filer position, DA Becton transferred Ms. Knox to the Elder Abuse unit in a

 5             non-supervisory role, another position typically held by attorney’s with less than

 6             fifteen years of experience.

 7         iv. At the same time as Ms. Knox’s most recent transfer, DA Becton transferred Satish

 8             Jallepalli, a younger, male attorney with significantly less years in the office than Ms.

 9             Knox, to the CVRU, a position and unit Ms. Knox has stated she would like, and is,

10             qualified for.

11         v. DA Becton demoted Plaintiff Knox from her position in executive management as a

12             Senior Deputy District Attorney. In her place, DA Becton promoted three younger,

13             male attorneys to Senior Deputy District Attorney, Simon O’Connell, Stacey

14             Grassini, and Chris Walpole.

15         vi. In addition, DA Becton replaced Ms. Knox as head of CVRU with a younger male,

16             Jason Peck.

17        vii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Knox as detailed

18             above have humiliated Ms. Knox and caused her to be depressed, disheartened, and

19             extremely upset as she watches the 35-year career she has built dissipate.

20   vii. Plaintiff Rachel Piersig

21          i. At the time she was subjected to Defendants' adverse actions, Plaintiff Piersig was

22             over the age of forty.

23         ii. Junior male prosecutors are systematically promoted sooner than their more

24             experienced female counterparts; male prosecutors now have direct supervision of at

25             least 75% of the prosecuting attorneys.

26         iii. Despite, applying for, and being qualified for, the Senior Deputy District Attorney

27             position, DA Becton failed to promote Ms. Piersig. In her place, DA Becton

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 1             promoted three younger, male attorneys to Senior Deputy District Attorney, Simon

 2             O’Connell, Stacey Grassini, and Chris Walpole.

 3         iv. Defendants and Ms. Becton’s discriminatory actions towards Ms. Piersig as detailed

 4             above have humiliated Ms. Piersig and caused her to be miserable, unhappy,

 5             embarrassed, and anxious as her career grows stagnate due to Defendants and Ms.

 6             Becton’s actions.

 7   viii. Plaintiff Allison Chandler

 8          i. At the time she was subjected to Defendants' adverse actions, Plaintiff Chandler was

 9             over the age of forty.

10          ii. DA Becton has engaged in a pattern and course of age discrimination by

11             systematically demoting and failing to advance, promote and assign supervisory roles

12             to qualified and accomplished female prosecutors, particularly those with

13             prosecutorial experience and tenure.

14         iii. DA Becton assigns younger, male attorneys, such as Simon O’Connell, Stacey

15             Grassini, Chris Walpole, and Jason Peck, to name just a few, to roles beyond their

16             individual levels of experience giving them an opportunity to rise to the challenge and

17             stretch their professional growth and accomplishments. Meanwhile, Ms. Chandler has

18             to “prove” herself over and over again, and yet DA Becton still denies Ms. Chandler

19             the opportunities that less qualified males are given.

20         iv. Ms. Chandler has consistently sought out opportunities for growth and advancement

21             in her career. She has explicitly requested supervisory roles from her superiors.

22             Despite career success, her willingness to take on extra work and roles in addition to

23             her assigned role, Ms. Chandler is consistently passed over for supervisory roles she

24             is qualified for, with those roles going to less qualified, more junior males. The effect

25             of this has been a stagnation in her career growth and inability to arc her career

26             ascension at the same rate as her male counterparts and as a result Ms. Becton has

27             failed to provide Ms. Chandler with equal employment opportunities based on her

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 1            gender. Despite her qualifications and experience, Ms. Chandler has been put in a

 2            role beneath her experience and skill set. She has been overlooked for supervisory

 3            positions that she is immensely qualified for and those have gone to younger, less

 4            qualified males.

 5         v. In June 2019, a younger lesser qualified and less experienced male (12 years her

 6            junior with five years of experience) was promoted into the position of Misdemeanor

 7            Team Leader in Richmond, a supervisory position in the office in which Ms.

 8            Chandler currently works. Ms. Chandler had requested this role when she was told

 9            she needed supervisory experience in order to move to the Sexual Assault Unit. Even

10            though the role was beneath her experience level, she was willing to do it to get the

11            experience. It was given to a less experienced male.

12        vi. Defendants and Ms. Becton’s discriminatory actions towards Ms. Chandler as detailed

13            above have humiliated Ms. Chandler and caused her to be miserable, unhappy, feel

14            hopeless, and anxious as her career fails to progress due to Defendants and Ms.

15            Becton’s discriminatory treatment.

16   ix. Plaintiff Jill Henderson

17         i. At the time she was subjected to Defendants' adverse actions, Plaintiff Henderson was

18            over the age of forty.

19        ii. After being involved in in-house trainings for years, Ms. Henderson has been

20            excluded from the ability to lead trainings and was told that DA Becton wanted

21            younger attorneys to do the training. The DA's assistant stated that the DA wanted to

22            see more "fresh faces."

23        iii. Mr. Walpole, a younger and less qualified male, is now Ms. Henderson’s direct

24            supervisor and has never done a rotation in the Elder Abuse or Domestic Violence

25            Units he now manages. He undermines Ms. Henderson’s authority by inserting

26            himself into daily supervisory issues often without notifying Ms. Henderson. When

27            working through the conflict, Mr. Walpole told Ms. Henderson that he thought she

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 1            was “smart” in a condescending manner for a younger man. When Ms. Henderson

 2            complained to Ms. Johnson, no action was taken.

 3        iv. When Ms. Becton announced that promotions into vacant Senior Deputy District

 4            Attorney positions would be made following applications and interviews in April

 5            2019, Ms. Henderson submitted her application highlighting her extensive experience

 6            and accomplishments in the office. This included her successful and effective

 7            leadership of the Elder Abuse Unit. During the interview, Ms. Henderson specifically

 8            noted that she wanted to be a role model for women in the office and the women were

 9            under-represented in management. She also separately complained about the lack of

10            representation of women in leadership to Ms. Becton, Ms. Johnson, and Mr. Cabral,

11            and they all acknowledged the need.

12        v. Sometime after the interview, Ms. Becton called Ms. Henderson into her office and

13            informed her that someone else was getting the Senior Deputy position. When Ms.

14            Henderson inquired about the second Level 5 position in special operations, Ms.

15            Becton told Ms. Henderson that she had no hope of being promoted in the future

16            despite the fact that she, Ms. Becton, believed Ms. Henderson to be “great.” Ms.

17            Henderson asked what she could do to be eligible to improve and Ms. Becton said,

18            “nothing.”

19        vi. The interview and whole process on its face was a sham put in place to support

20            decisions that had already been made regarding the promotions. This sham process

21            had been put in place after employees had protested when Chris Walpole was

22            promoted without any process. Indeed, Ms. Becton, the ultimate decision maker,

23            failed to attend many of the female interviews of senior female candidates.

24       vii. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

25            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

26            District Attorney positions. Ms. Henderson, and many other well qualified female

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 1                      attorneys, were passed over in favor of these younger and less qualified males. Mr.

 2                      O’Connell, for example, has eight years less experience than Ms. Henderson.

 3                viii. Ms. Henderson’s role may be supervisory on paper, but she has been stripped of

 4                      actual authority, respect and the opportunity to lead the department. Instead, lesser

 5                      qualified and less experienced male attorneys are being given this power and are not

 6                      reprimanded for breaching long standing protocols showing respect to the employee’s

 7                      supervisor. For example, men are permitted to use subordinates without letting female

 8                      supervisors know.

 9                  ix. The power in the office is being redistributed to the younger males in the office at an

10                      alarmingly fast rate, while equally or more qualified female prosecutors are being

11                      stripped of their roles, their presence, and their voice in the office. Ms. Henderson

12                      went to Ms. Becton with her complaints over a course of more than a year, believing

13                      Ms. Becton would take action, but Ms. Henderson only experienced worse treatment

14                      as a result in retaliation after making her complaints.

15                  x. Defendants and Ms. Becton’s discriminatory actions towards Ms. Henderson as

16                      detailed above have humiliated Ms. Henderson and caused her to be embarrassed,

17                      mortified, and extremely anxious for which she has sought therapy sessions to cope.

18          94.     Defendants’ policy, practice, routine and pervasive discrimination against Plaintiffs and

19   women over the age of forty causes individuals who are similarly situated as Plaintiffs to be

20   demonstrably disadvantaged by depriving said individuals from continuing gainful employment with

21   Defendants, despite superior qualifications and job performance. Furthermore, Defendants’ policy and

22   practice is not justified by any business necessity and in fact is harmful to its stated purpose to protect

23   the citizens of Contra Costa County.

24          95.     As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to

25   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount

26   according to proof.

27                                          THIRD CAUSE OF ACTION

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 1   Failure to Take Preventive Action in Violation of FEHA, Cal. Gov’t Code Section 12900, 12940(k)

 2                                                      et seq.

 3                         (All PLAINTIFFS against all DEFENDANTS and DOES 1-20)

 4          96.       Plaintiffs reincorporate herein all preceding paragraphs of this complaint as though fully

 5   set out below.

 6          97.       Defendants have a culture of disparaging women with demeaning, sexualized comments.

 7          98.       Since 2017, Defendants have reversed gains made by women in the office.

 8          99.       Defendants have established an environment where women need to gain more experience

 9   than men to get high profile assignments, including needing to work for up to 6 years more than men to

10   be assigned to the homicide unit.

11          100.      In multiple instances, male prosecutors with less tenure and experience than female

12   prosecutors have been selected for career-advancing assignments and given supervisory positions and

13   dictatorships.

14          101.      Stacey Grassini, a male, was promoted to a Level 5 executive management position

15   without any prior supervisory assignments within the office. Plaintiffs are more qualified.

16          102.      Chris Walpole, an attorney with very limited junior supervisory experience, was

17   promoted without process to Level 5 executive management to supervise the largest vertical prosecution

18   unit in the office, the Sexual Assault, Domestic Violence and Elder Abuse Unit. Chris Walpole was

19   again promoted to “Acting Assistant District Attorney” to supervise Homicide, Gangs, CVRU, Sexual

20   Assault, Domestic Violence, Special Operations and Elder Abuse (over 75% of the office.) Nancy

21   Georgiou, the most senior Level 5 and the only remaining female Level 5, had formerly supervised the

22   significant Sexual Assault, Domestic Violence and Elder Abuse Unit yet the supervisory responsibilities

23   for the unit were assigned to a male attorney with less supervisory and sexual assault experience and

24   despite her experience in these fields, Ms. Georgiou was moved to oversee the smallest prosecution unit.

25   Plaintiffs are also more qualified than the male promoted.

26          103.      Simon O’Connell, an attorney with less than six months of junior management

27   experience, was promoted to a Level 5 executive management position instead of a number of female

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 1   applicants for the position (including three of the Plaintiffs) with multiple years of executive

 2   management and unit supervisory experience.

 3          104.      Caleb Webster, with only five years of experience as an attorney was promoted to the

 4   position of Misdemeanor Team Leader replacing one of the more qualified Plaintiffs.

 5          105.      Male Level 3 attorneys were moved to supervise Level 4 female attorneys and

 6   subsequently promoted.

 7          106.      Symbolically, junior male attorneys and investigators were given larger window offices

 8   while more qualified female attorneys were forced to take smaller offices without windows.

 9          107.      Newly promoted Level 5 manager, Chris Walpole was selected to fill the role of Acting

10   Assistant District Attorney instead of the more experienced, and most senior Level 5, who happens to be

11   a woman.

12          108.      Under Ms. Becton’s administration, less experienced male prosecutors are now

13   supervising higher ranking, advanced level female prosecutors. Notably, no less experienced female

14   prosecutors are supervising higher ranking, advanced level male prosecutors. Also, the only senior-

15   supervising female prosecutor supervises the smallest DA branch office in Richmond supervising only

16   two advanced-level attorneys. Even where female prosecutors hold a supervisory position, often they are

17   supervisory in name only as the female prosecutor does not actually have anyone beneath her to

18   supervise. Male prosecutors with less tenure and experience than female prosecutors have also been

19   selected by Ms. Becton for career-advancing assignments and given supervisory positions and

20   directorships.

21          109.      Under Ms. Becton’s administration, female prosecutors with significant prosecutorial

22   experience have been excluded from committee membership and training positions which they

23   previously held. Ms. Becton’s exclusion of the senior female prosecutors from these positions of

24   significance within the office has sent the very clear message to prosecutors within the office, and to law

25   enforcement in general, that the senior female prosecutors are not valued by Ms. Becton.

26          110.      The promotion process in Ms. Becton’s administration for male prosecutors has been

27   discriminatorily different than the promotion process for female prosecutors. The change has been

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 1   dramatic. Junior male prosecutors are systemically promoted sooner than their more experienced female

 2   counterparts, resulting in higher pay that compounds with every year of employment. Male prosecutors

 3   now have direct supervision of at least 75% of the prosecuting attorneys.

 4            x. Plaintiff Mary Elizabeth Knox

 5                  i. DA Becton overrode the approval of two supervisors for Plaintiff Knox to take over a

 6                     homicide case for a colleague on leave, and a less qualified male attorney was put on

 7                     the case.

 8                 ii. DA Becton transferred Plaintiff Knox from Ms. Knox’s position as supervisor of the

 9                     Community Violence Reduction Unit (the unit Ms. Knox created) to Felony Filing, a

10                     position usually filled by attorneys with twenty years less experience than Ms. Knox,

11                     in a satellite office with limited contact to other attorneys.

12                 iii. Since the filing of Plaintiffs’ original complaint, after two and a half years in the

13                     felony filer position, DA Becton transferred Ms. Knox to the Elder Abuse unit in a

14                     non-supervisory role, another position typically held by attorney’s with less than

15                     fifteen years of experience.

16                 iv. At the same time as Ms. Knox’s most recent transfer, DA Becton transferred Satish

17                     Jallepalli, a male attorney with significantly less years in the office than Ms. Knox, to

18                     the CVRU. A position and unit Ms. Knox has stated she would like, and is, qualified

19                     for.

20                  v. Tellingly, the attorney moved into Ms. Knox’s felony filer role is a fourteen-year

21                     attorney, supporting Ms. Knox’s claim that the role she was performing for the last

22                     two and a half years is traditionally done by an attorney with less than fifteen years’

23                     experience.

24                 vi. A male attorney (Jason Peck) who had no prior experience as a unit supervisor or

25                     misdemeanor team supervisor replaced Plaintiff Knox as supervisor of the CVRU.

26                vii. DA Becton passed over Ms. Knox for a Level 5 Senior Deputy District Attorney

27                     position in May 2019. Instead, DA Becton promoted Simon O’Connell, a male

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 1            attorney with less than six months of junior management experience, and Stacey

 2            Grassini, a male attorney with no experience supervising attorneys, to Level 5, Senior

 3            Management, roles.

 4       viii. DA Becton assigns Ms. Knox rolls beneath her Level of experience, expertise, and

 5            skill, which has the effect of killing the career that Ms. Knox has spent decades

 6            building. In direct contrast, DA Becton assigns younger, male attorneys, such as

 7            Simon O’Connell, Stacey Grassini, Chris Walpole, and Jason Peck, to name just a

 8            few, to roles beyond their individual levels of experience giving them an opportunity

 9            to rise to the challenge and stretch their professional growth and accomplishments.

10            DA Becton does not give the same opportunity to the women in the office.

11        ix. Defendants and Ms. Becton’s discriminatory actions towards Ms. Knox as detailed

12            above have humiliated Ms. Knox and caused her to be depressed, disheartened, and

13            extremely upset as she watches the 35-year career she has built dissipate.

14   xi. Plaintiff Rachel Piersig

15         i. The DA’s office consistently denied Plaintiff Piersig opportunities for growth, and

16            promotion, overlooking Ms. Piersig’s accomplishments and contributions and placed

17            Ms. Piersig in a role beneath her experience and skill set.

18        ii. Plaintiff Piersig was passed over for a LLevel 5 promotion in 2018 and again passed

19            over for a Level 5 Senior Deputy District Attorney position in May 2019.

20        iii. In her performance review, Ms. Piersig was accused of being “too mean” to police

21            officers - a charge that Ms. Piersig has never heard leveled at any male prosecutor.

22            This language is gendered, not leveled at males, and exemplifies the bias Ms. Piersig

23            has had to endure.

24        iv. In June 2018, both Ms. Piersig and Ms. Chandler went to Ms. Johnson to voice their

25            frustration and concerns regarding their treatment and management within the

26            Homicide Unit. Specifically, they both raised the times when they voiced issues or

27            concerns on their cases and their experience and concerns were ignored, demeaned

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 1            and discounted. Ms. Johnson indicated that “things would change for the better soon”

 2            but nothing favorable occurred.

 3         v. Instead, the female Homicide Unit members were “given” “mental health breaks”

 4            while the male attorney Chris Walpole continued to receive the better assignments,

 5            was promoted and given a pay raise associated with a Level 5.

 6        vi. In October 2018, Ms. Piersig was transferred from the Homicide Unit to her current

 7            position as a Felony Expeditor, a position typically reserved for prosecutors with less

 8            experience. Ms. Johnson told Ms. Piersig that the transfer “would be good for her

 9            mental health.” Mr. Walpole was promoted to a Level 5 and currently supervises the

10            Family Violence Division, the Elder Abuse Unit, the Domestic Violence Unit, and the

11            Human Trafficking Unit. He was later promoted again to “Acting Assistant District

12            Attorney.” The other complaining party, Ms. Chandler, was moved to the felony filer

13            position in Richmond as “a mental health break.” This “time out” response

14            exemplifies the discriminatory practice within the DA’s office; women who complain

15            about disparate treatment are moved to positions to give them “mental health breaks.”

16            This treatment has a disparate impact on female prosecutors, contributing to pauses in

17            their career and a slower rise through the ranks of the DA’s office. Mr. Butts still

18            supervises the Homicide Unit.

19       vii. Ms. Piersig has extensive supervisory experience. As the supervising attorney of the

20            Domestic Violence and Elder Abuse Units for over four years, she directly supervised

21            fourteen attorneys at various times, of various levels of experience, from brand-new

22            felony attorneys to far more senior prosecutors. Since October 2018, Ms. Piersig has

23            supervised the entire Preliminary Hearing unit, teaching less-experienced attorneys

24            the fundamentals of felony prosecution to prepare them for felony trials. She now

25            directly supervises 3 attorneys.

26       viii. While supervising the preliminary hearing team, Ms. Piersig’s authority was

27            repeatedly usurped by a junior male supervisor, Simon O’Connell. Without speaking

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 1            to Ms. Piersig, Mr. O’Connell would assign trials to Ms. Piersig’s team. Mr.

 2            O’Connell had no supervisory authority over Ms. Piersig’s team. One week, Mr.

 3            O’Connell assigned trials to the attorneys on Ms. Piersig’s team leaving her without

 4            any attorneys to handle the preliminary hearings for the week. Ms. Piersig had to

 5            repeatedly ask Mr. O’Connell to not assign work to her team without speaking to her.

 6            He persisted and told attorneys they were transferred off her team and told another

 7            attorney that she was now assigned to Ms. Piersig’s team. All these actions were

 8            outside of Mr. O’Connell’s authority.

 9        ix. During this time a junior female attorney was assigned a very serious felony case.

10            Mr. O’Connell inserted himself and contacted Mr. Cabral and stated that the case

11            should not be assigned to the young female attorney because, without any evidence,

12            Mr. O’Connell was concerned that the defendant would “become focused” on the

13            young attorney. Ms. Piersig was informed that that the case would be reassigned to a

14            male attorney. The male attorney selected was not as talented as the young female.

15            Ms. Piersig pointed out that this was unfair and was denying a female attorney an

16            opportunity based solely on her gender, and while, ultimately, the case remained with

17            that attorney, Ms. Piersig was seen to be complaining on behalf of other female

18            prosecutors and Mr. O’Connell was promoted to a Level 5 by Ms. Becton.

19        x. As a supervisor, Ms. Piersig regularly trained new attorneys. Ms. Piersig held formal

20            trainings on domestic violence for the new attorneys. She also held trainings for

21            attorneys on opening statements, and all aspects of trial, voir dire through closing

22            statements. She trained Contra Costa County Sheriff Dispatchers regarding elder

23            abuse issues and provided training to all county law enforcement on procedures for

24            handling domestic violence situations. Ms. Piersig has contributed immensely to the

25            Contra Costa District Attorney’s Office through these internal trainings and external

26            trainings that build bridges and are preventative measures used to reduce violence.

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 1            Since Ms. Becton’s election, Ms. Piersig has not been asked to participate in any

 2            trainings.

 3        xi. Mr. Walpole was suddenly promoted by Becton to a Level 5 position in or around the

 4            end of 2018. Mr. Walpole was promoted without an application process and hurdled

 5            ahead of many qualified female prosecutors with far more experience including Ms.

 6            Piersig. Historically, in order to be considered for a Level 5 promotion, attorneys had

 7            prosecuted in nearly every unit in the office and had significant supervisory

 8            experience. Ms. Piersig has been with the DA’s Office four years longer than Mr.

 9            Walpole. She also has significantly more supervisory experience, including her four

10            years supervising the Domestic Violence and Elder Abuse Units. In contrast, before

11            his sudden promotion to Level 5, Mr. Walpole had only a year of junior level

12            supervisory experience, back in 2012. That position was limited to supervising three

13            attorneys in court while the attorneys file and negotiate the misdemeanor cases

14            themselves. Supervising misdemeanors is considered an entry level supervisory

15            position and does not invoke the level of responsibilities and duties that heading the

16            Felony Domestic Violence Unit does, as Ms. Piersig did successfully for four years.

17            Nevertheless, these qualifications and experience were overlooked and ignored on

18            account of Ms. Piersig’s gender. Mr. Walpole’s gender trumped Ms. Piersig’s

19            experience.

20       xii. In April 2019, Ms. Becton announced that promotions into vacant Senior Deputy

21            District Attorney positions would be made following applications and interviews. Ms.

22            Piersig submitted her application highlighting her extensive experience and

23            accomplishments in the office. This included her successful and effective leadership

24            of the Domestic Violence and Elder Abuse Units and the several initiatives she had

25            put in place to increase efficiencies and conviction rates in those units, detailed

26            above.

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 1       xiii. Ms. Piersig’s interview was scheduled at 1:00 p.m. on a Tuesday, Ms. Piersig’s

 2            heaviest court day. When Ms. Piersig arrived at the interview, she was surprised to

 3            find that Ms. Becton, the sole decision maker on advanced level promotions, was not

 4            in attendance. The interview lasted barely 20 minutes and contained odd questions

 5            such as Ms. Piersig’s thoughts on the chain of command in the office. The interview

 6            questions were very generic and did not have anything to do with the Level 5 position

 7            which entails supervising multiple teams of attorneys. The interview, and whole

 8            process, on its face was a sham put in place to support decisions that had already been

 9            made regarding the promotions and to placate those that complained about Mr.

10            Walpole’s sudden promotion.

11       xiv. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

12            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

13            District Attorney positions. Ms. Piersig, and many other well qualified female

14            attorneys, were passed over in favor of younger or less qualified males.

15       xv. Ms. Piersig has more than six years of additional experience compared to Simon

16            O’Connell who was promoted. At the time of his promotion, Mr. O’Connell had just

17            six months of experience as a supervisor, as the felony trial team leader. This

18            position supervises less experienced attorneys, is really an assistant supervisory role

19            without independence and is limited to assigning trials, making offers, and

20            supervising the subordinate attorney, which is significantly less supervisory

21            experience than Ms. Piersig holds. Ms. Piersig also has an additional six months of

22            experience as the felony expeditor, has worked in more units in the office and

23            prosecuted more homicides than Mr. O’Connell.

24       xvi. Ms. Piersig has prosecuted more trials and has significantly more supervisory

25            experience than Stacy Grassini. In fact, prior to his promotion to the Level 5 position,

26            Mr. Grassini had never held a supervisory role in the office. He had not tried a case

27            in ten years and, on information and belief, has never prosecuted a homicide.

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 1       xvii. When Ms. Becton took office in June 2018, two males and three females occupied the

 2              advanced level Attorney 5 positions. Now, there is only one female at that level, and

 3              she supervises only two attorneys in the smallest DA branch office in Richmond. The

 4              DA’s office is in turmoil and is losing experienced prosecutors at an unprecedented

 5              rated. Since January 2019, fifteen prosecutors have resigned their position with the

 6              County.

 7      xviii. Shortly after the promotions of Mr. O’Connell and Mr. Grassini, in June 2019, Ms.

 8              Becton doubled down on her discrimination and announced that Mr. Walpole, a

 9              Senior DA with less than eight months of experience in his new position as a Level 5

10              (to which he was promoted without any process bypassing many more qualified

11              females), would be designated the Acting Assistant District Attorney.

12       xix.   Defendants and Ms. Becton’s discriminatory actions towards Ms. Piersig as detailed

13              above have humiliated Ms. Piersig and caused her to be miserable, unhappy,

14              embarrassed, and anxious as her career grows stagnate due to Defendants and Ms.

15              Becton’s actions.

16   xii. Plaintiff Allison Chandler

17          i. In Spring of 2019, Plaintiff Chandler was promised a supervisory role in Felony Filer

18              while still having to manage her homicide trial caseload, but ultimately was not given

19              the supervisory role.

20         ii. Since 2019, Plaintiff Chandler has been forced to do one and a half times the work by

21              taking on "non-negotiable" extra responsibilities in Felony Filer by Filing Domestic

22              Violence Misdemeanors. She was even stripped of a capital murder case assignment

23              to do Filing Domestic Violence Misdemeanors.

24        iii. Ms. Chandler has been told she is “too emotional” and “excitable” and “her

25              temperament” is problematic. These are all gendered terms only leveled at females

26              and used against them to prove that they are not equipped to supervise. Men are

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 1            passionate and zealous; women are emotional and excitable. One is considered an

 2            asset: the other, a liability.

 3        iv. Ms. Chandler has consistently sought out opportunities for growth and advancement

 4            in her career. She has explicitly requested supervisory roles from her superiors.

 5            Despite career success, her willingness to take on extra work and roles in addition to

 6            her assigned role, Ms. Chandler is consistently passed over for supervisory roles she

 7            is qualified for, with those roles going to less qualified, more junior males. The effect

 8            of this has been a stagnation in her career growth and inability to arc her career

 9            ascension at the same rate as her male counterparts and as a result Ms. Becton has

10            failed to provide Ms. Chandler with equal employment opportunities based on her

11            gender. Despite her qualifications and experience, Ms. Chandler has been put in a

12            role beneath her experience and skill set. She has been overlooked for supervisory

13            positions that she is immensely qualified for and those have gone to younger, less

14            qualified males.

15        v. In June 2018, prior to their individual transfers, both Ms. Piersig and Ms. Chandler

16            went to Ms. Johnson to voice their frustration and concerns regarding their treatment

17            and management within the Homicide Unit. Specifically, they both raised the times

18            when they voiced issues or concerns on their cases and their experience and concerns

19            were ignored, demeaned and discounted. Ms. Johnson indicated that “things would

20            change for the better soon” but nothing favorable occurred.

21        vi. Instead, in retaliation, the female Homicide Unit members were “given” a “mental

22            health break” while the male attorneys continued to receive the better assignments

23            and were promoted. Mr. Walpole was promoted to a “Level 5” and currently

24            supervises the Family Violence Division, the Elder Abuse Unit, the Domestic

25            Violence Unit, and the Human Trafficking Unit, and also has been promoted to

26            “acting Assistant District Attorney.” Ms. Chandler, was moved to her current felony

27            filer position in Richmond as “a mental health break.” She was removed from emails

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 1            and committees, and members of executive management started to ignore her. This

 2            “time out” response exemplifies the discriminatory practice within the DA’s office,

 3            and it effects women in the office by sending a message that the senior women will be

 4            ignored. Junior women have ceased seeking guidance from senior women and are

 5            being redirected to junior male attorneys endorsed by management. Women who

 6            complain about disparate treatment are moved to positions to give them “mental

 7            health breaks” and effectively pushed aside. Their reputations in the office are

 8            forever tainted. This treatment has a disparate impact on female prosecutors,

 9            contributing to pauses in their career and a slower rise through the ranks of the DA’s

10            office. Ms. Becton is aware of this because senior women have told her. Despite

11            this, she participates in the disparate treatment and does nothing to stop it.

12       vii. In March 2019, Ms. Chandler was informed she would be rotated to Richmond to be

13            the Felony Filer and share in the Felony Expeditor duties, a supervisory position. Ms.

14            Chandler was told she would be assisting Steve Bolen, the then head of the Richmond

15            office with the expeditor duties. Ms. Chandler had previously completed Felony Filer

16            rotation in Martinez, and the role was beneath her experience and skill set. However,

17            she was willing to take on the role since it came with the promise of a shared

18            supervisory role, Felony Expeditor. Ms. Chandler had requested a supervisory role.

19            She was also informed that in addition to her Felony Filer and shared Expeditor role,

20            Ms. Chandler was to continue prosecuting her over a dozen murder cases “until a

21            prosecutor could replace her in homicide.”

22       viii. At the end of March 2019, Ms. Chandler was cleaning out her office planning to

23            begin her new role in Richmond upon her return from a scheduled vacation when her

24            supervisor, Derek Butts, questioned why she was cleaning out her office. Ms.

25            Chandler informed him she was rotating to Richmond to be Felony Filer and share the

26            Expeditor role. Mr. Butts showed her an email from Ms. Johnson informing him that

27            Ms. Chandler was simply “filling in for a moment in Richmond as Felony Filer and

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 1            ‘still in homicide.’” There was no mention of the promised supervisory role. Ms.

 2            Chandler left for her vacation with half her belongings in Richmond and the rest in

 3            Martinez, unsure of her role or even what office to return to after her vacation.

 4        ix. While on vacation, Chris Walpole, called Ms. Chandler and asked her to “help out”

 5            the office by being the Felony Filer in Richmond. She agreed to do it for one week

 6            because she was expected to continue carrying and managing a very heavy homicide

 7            caseload. Since Becton was elected, there has been a significant number of employee

 8            departures, so more was being required of the remaining attorneys. Ms. Chandler

 9            fulfilled her commitment and completed the week and returned to homicide as she

10            was instructed.

11        x. In April 2019, Ms. Becton announced that promotions into vacant Senior Deputy

12            District Attorney positions would be made following applications and interviews.

13            Attorneys with one year of experience in a Level 4 position were eligible to apply.

14            Although, Ms. Chandler was qualified for the position, she wanted to gain

15            fundamental supervisory experience before taking on an executive management role

16            as she understood this was historically a requirement. She also understood there were

17            many more senior qualified and experienced contenders like Mary Knox and Rachel

18            Piersig who were applying for the role. Regardless, Ms. Chandler went through the

19            process of putting together a resume similar to the application with the intent of

20            highlighting her experience and contributions so Ms. Becton would understand her

21            qualifications and move her into a supervisory role. This is another example of Ms.

22            Chandler being proactive. She gave her completed application to Ms. Becton, asking

23            that it be put in her file and informing Ms. Becton that she wanted a supervisory role

24            with the goal of one day heading the Sexual Assault Unit. Becton asked Ms. Chandler

25            if being Felony Filer and Expeditor as previously planned in Richmond would be a

26            supervisory role that she would be interested in. Ms. Chandler said yes.

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 1        xi. Ms. Chandler also sent her resume to Ms. Johnson asking her to review it prior to

 2            finalizing transfers. Ms. Chandler also let Ms. Johnson know that she wanted to be a

 3            supervisor. Sometime later, Ms. Johnson approached Ms. Chandler to inform her that

 4            she was being transferred to a non-supervisory role as Felony Filer in Richmond and

 5            that she would not be Felony Expeditor. This was a step back in Ms. Chandler’s

 6            career trajectory as she had already held this role prior to being on the Homicide team

 7            and it was not a supervisory role which she had explicitly requested.

 8       xii. Ms. Johnson told Ms. Chandler that she wanted to speak to her “woman to woman,”

 9            that although Ms. Chandler had exceptional trial skills and “checked all the boxes”

10            typically required to be moved into a supervisory role, Ms. Becton was looking for

11            other intangible attributes, reputation in the office, as in, “what others think of you

12            and how well you get along with others.” Basically, Ms. Becton was conducting a

13            popularity contest and not basing decisions on experience and abilities. Ms. Becton

14            had provided many junior Level male prosecutors opportunities to manage. Even

15            with their many mistakes and problems, Ms. Becton continued to allow them to stay

16            in their position. Ms. Chandler has not had any negative evaluations nor is anything

17            in her personnel file that would support Ms. Becton’s decision to deny her a

18            supervisory role.

19       xiii. In June 2019, a younger lesser qualified and less experienced male (twelve years her

20            junior with five years of experience) was promoted into the position of Misdemeanor

21            Team Leader in Richmond, a supervisory position in the office in which Ms.

22            Chandler currently works. Ms. Chandler had requested this role when she was told

23            she needed supervisory experience in order to move to the Sexual Assault Unit. Even

24            though the role was beneath her experience level, she was willing to do it to get the

25            experience. It was given to a less experienced male.

26       xiv. In the meantime, Stacey Grassini and Jason Peck were promoted to supervisory roles,

27            and Stacey Grassini was given a Level 5 role without any supervisory experience.

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 1             The reasons used for blocking Ms. Chandler’s career advancement did not apply for

 2             less experienced males.

 3        xv. DA Becton assigns younger, male attorneys, such as Simon O’Connell, Stacey

 4             Grassini, Chris Walpole, and Jason Peck, to name just a few, to roles beyond their

 5             individual levels of experience giving them an opportunity to rise to the challenge and

 6             stretch their professional growth and accomplishments. Meanwhile, Ms. Chandler has

 7             to “prove” herself over and over again, and yet DA Becton still denies Ms. Chandler

 8             the opportunities that less qualified males are given.

 9        xvi. Ms. Chandler has been told she is “too emotional” and “excitable” and “her

10             temperament” is problematic. These are all gendered terms only leveled at females

11             and used against them to prove that they are not equipped to supervise. Men are

12             passionate and zealous; women are emotional and excitable. One is considered an

13             asset: the other, a liability.

14       xvii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Chandler as

15             detailed above have humiliated Ms. Chandler and caused her to be miserable,

16             unhappy, feel hopeless, and anxious as her career fails to progress due to Defendants

17             and Ms. Becton’s discriminatory treatment.

18   xiii. Plaintiff Mary Blumberg

19          i. Plaintiff Blumberg was stripped of the supervisory role of Central and Eastern

20             Operation(s) Misdemeanors Trial Team, which traditionally is a two-year period,

21             roughly one year prematurely. She was also forced to the Homicide Unit without

22             consultation.

23         ii. Plaintiff Blumberg experienced consistent denials of opportunities for growth,

24             promotion, and overlooked accomplishments and contributions.

25         iii. Despite all her accomplishments, Ms. Blumberg has been discriminated against by

26             Diana Becton based on gender. In September 2017, Ms. Blumberg was assigned to

27             supervise the Central and Eastern Operation(s) Misdemeanor Trial Team. This was a

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 1            good career move for her as it would build her supervisory experience as she would

 2            be supervising twelve to fourteen new attorneys. Supervising misdemeanor trial

 3            attorneys is usually a two-year assignment. However, in October 2018, without any

 4            discussion, Ms. Blumberg was unceremoniously removed from the supervisor

 5            position despite telling her then supervisor, many times that she wanted to remain

 6            supervising misdemeanors for the traditional two-year period.

 7        iv. In October 2018, merely a year into her assignment, Ms. Blumberg was unexpectedly

 8            transferred from her supervisory position to the Homicide Unit. She was told the

 9            morning the transfer memorandum was sent that she was being moved. This move

10            was unusual for two reasons: (1) it was done without input from Ms. Blumberg and

11            (2) the two males who were assigned at the same time as her to Homicide Unit had

12            known about their move for weeks and one was also aware that Ms. Blumberg would

13            be moved. Given the emotionally taxing and demanding mental and physical load of

14            the Homicide Unit, and the significant investment of time it requires, attorneys are

15            historically consulted before being moved to the Homicide Unit. The office has a

16            vested interest in ensuring that the attorneys rotated to the Homicide Unit are ready,

17            mentally and emotionally, and prepared for the impact the time commitment will

18            have on their family and personal life. However, Ms. Blumberg was not allowed to

19            consider this. She was never consulted. Unlike Ms. Blumberg, the male prosecutors

20            who were moved to the Homicide Unit were granted weeks of advanced notice of the

21            upcoming transfer and could mentally prepare for the new assignment.

22        v. The stressful move to the Homicide Unit has had a significant impact on Ms.

23            Blumberg’s health and her family. Her children are young and go days without

24            seeing their mother. Recently, a trial demanded she work 90 plus hour weeks for

25            several weeks, causing her to downplay several health symptoms that ultimately

26            landed her in the hospital with emergency surgery. Ms. Blumberg spent a month

27            recovering from surgery but continued to be stressed given other homicide cases were

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 1            scheduled for trial in her absence. She asked for assistance to manage her caseload in

 2            her absence, and Plaintiff Mary Knox offered to try the double homicide case during

 3            Ms. Blumberg’s recovery. True to form, Becton ignored Mary Knox and assigned the

 4            double homicide trial to a junior male prosecutor.

 5        vi. Upon return to work, Ms. Blumberg’s repeatedly requested accommodations, and was

 6            met with silence and laughter. After asking for a stand-up desk, the Office Manager

 7            told Ms. Blumberg to “just stack” books on her desk. Ms. Blumberg was only

 8            accommodated after a sympathetic colleague offered to disassemble her own standing

 9            desk and reassemble it in Ms. Blumberg’s office. Shortly thereafter, she filed a DFEH

10            complaint, and in retaliation, the executive management began to harass her for a

11            doctor’s note in order for her to return to work. Her attorneys were forced to

12            intervene. Other similarly situated prosecutors have not been required to provide a

13            doctor’s note and even her supervisor thought the request for a doctor’s note was

14            unusual.

15       vii. At the same time Ms. Becton assigned Ms. Blumberg to the Homicide Unit, Ms.

16            Blumberg was removed from the Recruitment and Retention Committee. She emailed

17            the Assistant Deputy District Attorney in charge of the recruitment and retention

18            committee, asking for an explanation, and has never received an explanation.

19       viii. At the end of 2018, a junior attorney, became the first male to request to work one of

20            the part-time positions. At the time that he made the request, there was only one

21            experienced prosecutor working part-time, a female attorney. This means that there

22            should have been three spots still available, one part-time and job-share position. His

23            request could easily have been accommodated without affecting the female’s

24            position. Instead, though Ms. Becton granted his request, as was appropriate, and at

25            the same time demanded that the female attorney return to full-time status, which was

26            not appropriate. Given the availability of multiple part-time positions, both attorneys

27            should have been allowed to remain in their part-time positions. This was odd

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 1            because no request for part-time has ever been denied, and Ms. Becton has spoken at

 2            length about how she was going to make the office better for women.

 3        ix. However, consistent with Ms. Becton’s policy and practice, a female was asked to

 4            sacrifice, presumably “for the good of the office,” ignoring her own personal and

 5            career goals. Ms. Becton had no interest in accommodating the female’s desire to

 6            balance the needs of her family with her desire to continue long-term employment.

 7            This is a consistent theme with Ms. Becton. Ms. Becton replaced a longer tenured

 8            female attorney with a junior male attorney. The female attorney was ordered to

 9            return to full-time employment by March 2019. As a result, a seasoned, talented

10            prosecutor moved to another County. She accepted a part-time position with the

11            Alameda County DA’s Office. Ms. Becton’s actions violated the office policy and

12            directly caused a qualified career prosecutor to leave county employment to meet

13            family needs. This is yet another example of Ms. Becton pushing out, silencing, and

14            punishing female prosecutors.

15        x. In June of 2019 for personal reasons, Ms. Blumberg considered asking for a part-

16            time position but was hesitant given what had occurred with last female part-time

17            attorney. She asked an Assistant District Attorney the procedure for requesting a part-

18            time position. He said he did not know and needed to research the issue. After

19            obtaining some information, he asked Ms. Blumberg if her request for part-time was

20            based upon a medical issue. This surprised Ms. Blumberg, as obtaining a part-time

21            position had never been based on a medical need. Moreover, this Assistant District

22            Attorney indicated that if it was not medical, she needed to list all of her reasons for

23            requesting the position as it is a discretionary decision made by the DA. According to

24            his information, Ms. Blumberg would need to elaborate on her reasons for her

25            request, including if it was medical. Ms. Blumberg pointed out that never in the

26            history of the office was an attorney required to make such a showing. Ms. Blumberg

27            further explained that she should be allowed to work part-time if she desired

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 1             regardless of whether it was due to a medical need or not. He basically shrugged his

 2             shoulders and said, “good luck getting this approved.” Given the recent message Ms.

 3             Becton had sent by effectively forcing an experienced female attorney to return to

 4             full-time employment or resign, and seeking private medical information, Ms.

 5             Blumberg never requested the part-time position.

 6         xi. The treatment of the last female part-time attorney and the perceived unwillingness of

 7             Ms. Becton to allow female prosecutors to utilize the part time positions has had a

 8             chilling effect on women asking for these positions. Female prosecutors fear they will

 9             be further marginalized and discriminated against if they request a part-time position.

10             Ms. Becton’s policies and practices have a demonstrable disparate impact on females

11             in the office.

12        xii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Blumberg as

13             detailed above have humiliated Ms. Blumberg and caused her to be miserable,

14             worried, nervous, and anxious as her like situated male colleagues leapfrog over her

15             in career advancement as a result of Defendants and Ms. Becton’s discriminatory

16             treatment.

17   xiv. Plaintiff Jill Henderson

18          i. Plaintiff Henderson experienced a reduction of her supervision role and her unit was

19             cut.

20         ii. However, Plaintiff Henderson was given additional responsibilities and also became

21             the head of the DV Unit without a promotion or compensation.

22         iii. Mr. Walpole, a younger and less qualified male, is now Ms. Henderson’s direct

23             supervisor and has never done a rotation in the Elder Abuse or Domestic Violence

24             Units he now manages. He undermines Ms. Henderson’s authority by inserting

25             himself into daily supervisory issues often without notifying Ms. Henderson. When

26             working through the conflict, Mr. Walpole told Ms. Henderson that he thought she

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 1            was “smart” in a condescending manner for a younger man. When Ms. Henderson

 2            complained to Ms. Johnson, no action was taken.

 3        iv. When Ms. Becton announced that promotions into vacant Senior Deputy District

 4            Attorney positions would be made following applications and interviews in April

 5            2019, Ms. Henderson submitted her application highlighting her extensive experience

 6            and accomplishments in the office. This included her successful and effective

 7            leadership of the Elder Abuse Unit. During the interview, Ms. Henderson specifically

 8            noted that she wanted to be a role model for women in the office and the women were

 9            under-represented in management. She also separately complained about the lack of

10            representation of women in leadership to Ms. Becton, Ms. Johnson, and Mr. Cabral,

11            and they all acknowledged the need.

12        v. Sometime after the interview, Ms. Becton called Ms. Henderson into her office and

13            informed her that someone else was getting the Senior Deputy position. When Ms.

14            Henderson inquired about the second Level 5 position in special operations, Ms.

15            Becton told Ms. Henderson that she had no hope of being promoted in the future

16            despite the fact that she, Becton, believed Ms. Henderson to be “great.” Ms.

17            Henderson asked what she could do to be eligible to improve and Ms. Becton said,

18            “nothing.”

19        vi. The interview and whole process on its face was a sham put in place to support

20            decisions that had already been made regarding the promotions. This sham process

21            had been put in place after employees had protested when Chris Walpole was

22            promoted without any process. Indeed, Ms. Becton, the ultimate decision maker,

23            failed to attend many of the female interviews of senior female candidates.

24       vii. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

25            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

26            District Attorney positions. Ms. Henderson, and many other well qualified female

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 1            attorneys, were passed over in favor of these younger and less qualified males. Mr.

 2            O’Connell, for example, has eight years less experience than Ms. Henderson.

 3       viii. In addition to her traditional prosecutorial experience, Ms. Henderson has

 4            demonstrated a dedicated passion to proactively helping communities reduce crime.

 5            She developed a community prosecution program that was so popular, the City of

 6            Concord paid her full salary and benefits for four years. Ms. Henderson brainstormed

 7            novel techniques to address poverty-based crimes with incarceration as a last resort.

 8            When Ms. Becton was appointed the DA, Ms. Henderson shared her excitement and

 9            willingness to institute such programs. Ms. Becton declined her offer. When Ms.

10            Becton formed a variety of committees to improve various office functions, Ms.

11            Henderson asked Ms. Becton where she could be the most useful. Ms. Becton

12            declined to use Ms. Henderson as a resource on any committee. Shortly after Ms.

13            Becton’s appointment Ms. Henderson shared her concerns about diversity in the

14            office and wanted to discuss new methods of recruiting. Ms. Becton did not consult

15            with Ms. Henderson over any of her ideas or rectify any of her concerns. Ms.

16            Henderson specifically stated that she had recommended several qualified candidates

17            with diverse backgrounds that she had interviewed and were rejected.

18        ix. Ms. Henderson’s role may be supervisory on paper, but she has been stripped of

19            actual authority, respect and the opportunity to lead the department. Instead, lesser

20            qualified and less experienced male attorneys are being given this power and are not

21            reprimanded for breaching long standing protocols showing respect to the employee’s

22            supervisor. For example, men are permitted to use subordinates without letting female

23            supervisors know.

24         x. In addition, after being involved in in-house trainings for years, Ms. Henderson has

25            been excluded from the ability to lead trainings and was told that the DA wanted

26            younger attorneys to do the training.

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 1                xi. The power in the office is being redistributed to the younger males in the office at an

 2                    alarmingly fast rate, while equally or more qualified female prosecutors are being

 3                    stripped of their roles, their presence, and their voice in the office. Ms. Henderson

 4                    went to Ms. Becton with her complaints over a course of more than a year, believing

 5                    Ms. Becton would take action, but Ms. Henderson only experienced worse treatment

 6                    as a result in retaliation after making her complaints.

 7                xii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Henderson as

 8                    detailed above have humiliated Ms. Henderson and caused her to be embarrassed,

 9                    mortified, and extremely anxious for which she has sought therapy sessions to cope.

10         111.    Further, Defendants and Ms. Becton has hired and protected men with a history of

11   demeaning women. The following are some examples:

12          iv.    Ms. Becton assigned a male to the Felony Expeditor position in the Richmond branch

13                 office. In that position, he was the senior supervisor of junior female DAs despite

14                 numerous complaints about his sexist behavior. In the past he sent videos to junior DAs

15                 under his supervision entitled “Jizz in my pants.” He sent an email calling a female

16                 Deputy Attorney General a “pussy” and told junior female DAs that he would assign

17                 them cases that would cause them to “cream in their panties.” He told a woman that she

18                 was “swinging with the biggest dick on the fourth floor” and asked a nursing mother to

19                 not lift anything because it may make her “leak breast milk.” He told a pregnant attorney

20                 that she should order a mocha Frappuccino at Starbucks because it would help with

21                 “lubrication” in delivery. Despite all of this and more, Ms. Becton assigned him to

22                 supervise women, and allowed him to continue as a supervisor as the Richmond

23                 Expeditor while deeming more senior women without such complaints unsuitable for

24                 managerial roles.

25           v.    Ms. Becton hired Roy Smalley as an Investigator Assistant. Mr. Smalley was accused in

26                 a civil lawsuit of requiring one of his female employees at a group home in Solano

27                 County to have sex with him as a condition of her employment. Mr. Smalley’s hiring is

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 1                    alleged to have occurred outside of Contra Costa County’s HR regulations and without a

 2                    completed background check. Following news reports of the hiring, Mr. Smalley

 3                    abruptly quit his employment with the DA’s Office.

 4           vi.      Ms. Becton hired Larry Wallace who resigned from his last position over allegations of

 5                    gender harassment. The claims settled for $400,000. The settlement became public, and

 6                    was widely reported, following an investigation by the Sacramento Bee. Ms. Becton

 7                    admitted that she was aware of the allegations and settlement when she hired Wallace.

 8          112.      The empowerment and endorsement of these men shows Ms. Becton is not interested in

 9   ensuring a workplace free of discrimination for women.

10          113.      The above-described actions of Defendants constitute failure to take all steps reasonably

11   necessary to prevent discrimination and retaliation from occurring, in violation of California

12   Government Code section 12940(k).

13          114.      As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to

14   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount

15   according to proof.

16                                        FOURTH CAUSE OF ACTION

17                         Retaliation in Violation Of FEHA, Cal. Gov’t Code §12940(h)
18                         (All PLAINTIFFS against all DEFENDANTS and DOES 1-20)
19
            115.      Plaintiffs reincorporate herein all preceding paragraphs of this complaint as though fully
20
     set out below.
21
            116.      At all relevant times, the California Fair Employment & Housing Act, sections 12940, et
22
     seq., was in full force and effect, and binding on Defendants.
23
            117.      FEHA makes it an unlawful employment practice for an employer to retaliate against an
24
     employee who has opposed a forbidden practice or filed a complaint against an employer or supervisor.
25
     CGC §12940(h).
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 1          118.   Defendants retaliated against Plaintiffs because they complained about improper conduct

 2   and unlawful acts by persons, as described above and filed charges alleging such unlawful conduct with

 3   the Department of Fair Employment & Housing.

 4          xv. Plaintiff Mary Elizabeth Knox

 5                    i. Since her demotion, and in contrast to Ms. Becton’s treatment of the male
 6                       prosecutors who supported Paul Graves in the election, Ms. Knox has been stripped
 7                       of all management and training responsibilities and has been physically isolated
 8                       from day-to-day contact with the vast majority of prosecutors in the office. As a
 9                       female, Ms. Knox is the only supporter of Mr. Graves’ campaign who has been so
10                       publicly retaliated against by Ms. Becton.
11                   ii. This retaliation is unlike anything Ms. Knox has ever experienced. She was a very
12                       visible supporter of former DA Mark Peterson’s opponent, Dan O’Malley, in a prior
13                       election. Post-election, Peterson retaliated and moved Ms. Knox from the
14                       Homicide Unit to the Richmond office to handle preliminary hearings. However,
15                       after a few months, Ms. Knox was moved back to the Homicide Unit, promoted
16                       to Homicide Unit supervisor, promoted into executive management as a Senior
17                       Deputy District Attorney and her ideas and opinions, such as creating the CVRU
18                       and developing the Freeway Security Network, were respected and valued by Mark
19                       Peterson.
20                  iii. Ms. Knox was one of many of Graves’ supporters in the DA’s office, yet she is the
21                       only supporter who Ms. Becton has targeted, demoted, and banished even though
22                       Ms. Knox has never disobeyed a policy or procedure put in place by Ms. Becton.
23                       Ms. Becton has lashed out at Ms. Knox because of her gender and age, stripping her
24                       of her many years of successful and important prosecutorial work.
25                  iv. The only other DA to experience such a public demotion and banishment was Ms.
26                       Becton’s actual political opponent, Paul Graves. To add insult to injury, in an
27                       interview with the Mercury News in late 2018, Ms. Becton stated publicly that the
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 1             demotion of Mr. Graves and Ms. Knox gave “some attorneys in our office new

 2             opportunities for growth and development.” This is in keeping with a later

 3             statement made by Ms. Becton’s assistant, Venus Johnson, that the DA wants to see

 4             more “fresh faces.” In contrast, young white males who supported Paul Graves have

 5             been forgiven by the DA and moved into the roles that older females are more

 6             qualified for.

 7          v. In April 2019, Ms. Knox participated in the promotion process to be returned to her

 8             former position as a Level 5. Despite five years of experience as a Level 5, Ms.

 9             Knox was not promoted. Stacey Grassini (male) and Simon O’Connell, who had

10             decades less prosecutorial experience and no assigned supervisory experience, were

11             promoted to the Level 5 positions.

12         vi. Despite an office tradition that limited an assignment to Felony Filing to one year,

13             Ms. Knox continues in that position notwithstanding requests to Ms. Becton to be

14             reassigned to a position commensurate with her experience. These complaints by

15             Plaintiffs were protected activity under California law.

16         vii. When Ms. Becton was appointed the District Attorney of Contra Costa County in

17             September 2017, upon the mid-term resignation of former DA, Mark Peterson, Ms.

18             Becton recognized Ms. Knox’s skills and experience in numerous ways. Shortly

19             after her appointment, Ms. Becton approached Ms. Knox and asked about her

20             interest in serving as Ms. Becton’s Chief Deputy, the number two position of

21             authority in the office. Ms. Knox told Ms. Becton that she would support her in

22             every way to ensure her success and the success of the mission of the District

23             Attorney’s Office. At this time, Ms. Becton had not yet announced her intent to run

24             for election in 2018, yet, in the interest of full disclosure, Ms. Knox told Ms. Becton

25             that she had already pledged her support to Senior Deputy District Attorney Paul

26             Graves in the upcoming election.

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 1        viii. A month later, in October 2017, Ms. Becton authorized Ms. Knox to continue in her

 2             role as an expert witness in federal court regarding 4th Amendment Search and

 3             Seizure issues, commenting that this recognition of Ms. Knox’s expertise brought

 4             distinction to the District Attorney’s Office.

 5         ix. In the Spring of 2018, prior to the election, Ms. Becton asked Ms. Knox to accept

 6             the assignment of a death penalty prosecution that involved the murder and sexual

 7             assault of a fourteen-year-old in 1980. The defendant in that case had prior and

 8             subsequent convictions for sadistic sexual assaults. Becton told Ms. Knox that no

 9             attorney in the office was more qualified to try the case than her. Ms. Becton

10             approved Ms. Knox’s request to attend the Capitol Litigation Symposium in May

11             2018.

12          x. At Ms. Knox’s request, Ms. Becton moved the Gang Unit into the Community

13             Violence Reduction Unit under Ms. Knox’s supervision.

14         xi. After the election, on October 5, 2018, Ms. Becton told Ms. Knox that Ms. Becton

15             was transferring her from her position as supervisor of the Community Violence

16             Reduction Unit (the unit Ms. Knox created) to Felony Filing, a position usually

17             filled by attorneys with twenty years less experience than Ms. Knox in a satellite

18             office with limited contact to other attorneys. This transfer was far beneath Ms.

19             Knox’s skill set and experience. Ms. Becton did not inform Ms. Knox that she was

20             being demoted from her position in executive management as a Senior Deputy

21             District Attorney, a position that is held by the employee and not specific to a job

22             assignment. Ms. Knox learned that she had been demoted when she received her

23             next paycheck and her pay decreased. Ms. Becton replaced Ms. Knox as supervisor

24             of the CVRU with Jason Peck, who had no prior experience as a unit supervisor or

25             as a misdemeanor team supervisor.

26         xii. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.

27             Knox as detailed above have humiliated Ms. Knox and caused her to be depressed,

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 1             disheartened, and extremely upset as she watches the 35-year career she has built

 2             dissipate.

 3     b. Plaintiff Rachel Piersig

 4            i. In June 2018, both Ms. Piersig and Ms. Chandler went to Ms. Johnson to voice

 5               their frustration and concerns regarding their treatment and management within

 6               the Homicide Unit. Specifically, they both raised the times when they voiced

 7               issues or concerns on their cases and their experience and concerns were ignored,

 8               demeaned and discounted. Ms. Johnson indicated that “things would change for

 9               the better soon” but nothing favorable occurred.

10           ii. Instead, the female Homicide Unit members were “given” “mental health breaks”

11               while the male attorney Chris Walpole continued to receive the better

12               assignments, was promoted and given a pay raise associated with a Level 5.

13           iii. In October 2018, Ms. Piersig was transferred from the Homicide Unit to her

14               current position as a Felony Expeditor, a position typically reserved for

15               prosecutors with less experience. Ms. Johnson told Ms. Piersig that the transfer

16               “would be good for her mental health.” Mr. Walpole was promoted to a Level 5

17               and currently supervises the Family Violence Division, the Elder Abuse Unit, the

18               Domestic Violence Unit, and the Human Trafficking Unit. He was later promoted

19               again to “Acting Assistant District Attorney.” The other complaining party, Ms.

20               Chandler, was moved to the felony filer position in Richmond as “a mental health

21               break.” This “time out” response exemplifies the discriminatory practice within

22               the DA’s office; women who complain about disparate treatment are moved to

23               positions to give them “mental health breaks.” This treatment has a disparate

24               impact on female prosecutors, contributing to pauses in their career and a slower

25               rise through the ranks of the DA’s office. Mr. Butts still supervises the Homicide

26               Unit.

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 1           iv. After filing the Complaint in this case, Ms. Piersig has received a retaliatory

 2               performance review from her supervisor. Ms. Piersig lodged a formal complaint

 3               internally in April 2020. When she inquired about the status of her complaint in

 4               June 2020, she was told there were no updates and it had “been referred to Jason

 5               Chan.” There has been no response since. In comparison, since that time, a male

 6               has filed an informal complaint and Chris Walpole has had repeated meetings to

 7               address the male attorney's concerns.

 8           v. Ms. Piersig has been assigned to over a dozen criminal units in the office, tried

 9               nearly 60 jury trials, and supervised two felony units. Her experience,

10               management skills and knowledge far surpass those of all three men (Walpole,

11               Grassini, and O’Connell) recently promoted. Her credentials, qualifications and

12               achievements surpass the men who were promoted ahead of her. The Defendants

13               discriminated against her because she is a woman over 40 years old and have

14               retaliated against her because of her complaints.

15           vi. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.

16               Piersig as detailed above have humiliated Ms. Piersig and caused her to be

17               miserable, unhappy, embarrassed, and anxious as her career grows stagnate due to

18               Defendants and Ms. Becton’s actions.

19     c. Plaintiff Allison Chandler

20            i. In June 2018, prior to their individual transfers, both Ms. Piersig and Ms.

21               Chandler went to Ms. Johnson to voice their frustration and concerns regarding

22               their treatment and management within the Homicide Unit. Specifically, they both

23               raised the times when they voiced issues or concerns on their cases and their

24               experience and concerns were ignored, demeaned and discounted. Ms. Johnson

25               indicated that “things would change for the better soon” but nothing favorable

26               occurred.

27           ii. Instead, in retaliation, the female Homicide Unit members were “given” a “mental

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 1              health break” while the male attorneys continued to receive the better assignments

 2              and were promoted. Mr. Walpole was promoted to a “Level 5” and currently
 3              supervises the Family Violence Division, the Elder Abuse Unit, the Domestic
 4
                Violence Unit, and the Human Trafficking Unit, and also has been promoted to
 5
                “acting Assistant District Attorney.” Ms. Chandler, was moved to her current
 6
                felony filer position in Richmond as “a mental health break.” She was removed
 7
 8              from emails and committees, and members of executive management started to

 9              ignore her. This “time out” response exemplifies the discriminatory practice

10              within the DA’s office, and it effects women in the office by sending a message
11              that the senior women will be ignored. Junior women have ceased seeking
12
                guidance from senior women and are being redirected to junior male attorneys
13
                endorsed by management. Women who complain about disparate treatment are
14
                moved to positions to give them “mental health breaks” and effectively pushed
15
16              aside. Their reputations in the office are forever tainted. This treatment has a

17              disparate impact on female prosecutors, contributing to pauses in their career and

18              a slower rise through the ranks of the DA’s office. Ms. Becton is aware of this
19              because senior women have told her. Despite this, she participates in the
20
                disparate treatment and does nothing to stop it.
21
            iii. When Ms. Chandler was rotated to Richmond Felony Filer, police agency
22
                detectives began to ask Ms. Chandler, “What did you do?” The move suggested
23
24              to outsiders that she had been demoted. This was very upsetting and has impacted

25              her reputation with detectives in the law enforcement community. The failure to

26              promote Ms. Chandler will have a lasting effect on her ability to rebuild her
27              reputation within the law enforcement community, and it will further set her
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 1               behind junior male prosecutors in the office.

 2           iv. After the transfer memorandum was distributed in 2019, Ms. Chandler was
 3               informed she would be given additional responsibilities but still not any
 4
                 supervisory duties. Ms. Chandler was told that not only would she be doing the
 5
                 non-supervisory position of Felony Filer, but she was also expected to take on
 6
                 Filing Domestic Violence Misdemeanors, historically a separate role from Felony
 7
 8               Filer, and the non-supervisory part of the misdemeanor team leader job in

 9               Richmond. She was told these additional duties were “not negotiable.” For the

10               past seven years, a male has held the position of Felony Filer in Richmond and
11               was never asked to absorb filing Domestic Violence Misdemeanors as well. Ms.
12
                 Chandler was forced to do one and half times the work, for the same pay, neither
13
                 of which is a supervisory position.
14
             v. Ms. Chandler pushed back on the expectation that she take on the filing of
15
16               Domestic Violence Misdemeanors. She reminded her supervisors that she would

17               be taking a handful of homicide cases with her to Richmond, one of which was a

18               capital murder case, a very prestigious and once in a lifetime opportunity for
19               prosecutors. Ms. Chandler was committed to seeing these cases to their end.
20
                 Having these cases, in addition to her Felony Filer position would make also
21
                 filing Domestic Violence Misdemeanors nearly impossible. Instead of filling the
22
                 Domestic Violence Misdemeanor role, Ms. Chandler was stripped of her capital
23
24               murder case. Not only was Ms. Chandler expected to take on another job in

25               addition to her own, but to add insult to injury, in order to give her the time to do

26               it, she was further maltreated by having a prestigious and important case taken
27               from her docket. Similar to the other Plaintiffs, Ms. Chandler has been
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 1               discriminated against based upon her gender and age and retaliated against for

 2               protesting her treatment.
 3           vi. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.
 4
                 Chandler as detailed above have humiliated Ms. Chandler and caused her to be
 5
                 miserable, unhappy, feel hopeless, and anxious as her career fails to progress due
 6
                 to Defendants and Ms. Becton’s discriminatory treatment.
 7
 8     d. Plaintiff Mary Blumberg

 9            i. At the same time Ms. Becton assigned Ms. Blumberg to the Homicide Unit, Ms.

10               Blumberg was removed from the Recruitment and Retention Committee. She
11               emailed the Assistant Deputy District Attorney in charge of the recruitment and
12
                 retention committee, asking for an explanation, and has never received an
13
                 explanation.
14
             ii. Ms. Johnson has said that Ms. Becton prefers younger, newer attorneys to do the
15
16               training and recruitment as they can relate more to law students. However, this

17               “younger attorney” attitude only applies to the females with experience; male

18               prosecutors have been left in their training and recruitment roles while all of the
19               experienced female prosecutors have been pushed out. For example, a male,
20
                 Assistant Deputy District Attorney, with 18 years more experience than Ms.
21
                 Blumberg, still heads the recruitment and retention committee. He and a male
22
                 Senior Deputy District Attorney, one-year Ms. Blumberg’s senior, along with Ms.
23
24               Johnson and a junior female attorney, (who has only six years in the office)

25               conducted the new hire interviews. The recently appointed male, Director of

26               Recruitment, one year behind Ms. Blumberg, is also in charge of recruitment and
27               retention. This is another example of experienced female prosecutors losing
28
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 1               visibility and influence in the office but not the male prosecutors.

 2          iii. Ms. Blumberg’s move from her role as the Misdemeanor Supervisor to the
 3               Homicide Unit appears to have been done to curtail her access and visibility to
 4
                 new hires and trainings as it coincided with her removal from the recruitment and
 5
                 retention committee.
 6
             iv. Ms. Blumberg’s move from her role as the Misdemeanor Supervisor to the
 7
 8               Homicide Unit appears to have been done to curtail her access and visibility to

 9               new hires and trainings as it coincided with her removal from the recruitment and

10               retention committee.
11           v. This sort of punitive shifting of women’s roles has also been seen in relation to
12
                 part-time roles. Traditionally, the DA’s office offered two part-time positions and
13
                 one job share position to people to work less than full time. This allowed for up to
14
                 four people to work a non-traditional schedule (the job-share position is shared
15
16               between two people). The purpose of this policy was to retain qualified career

17               prosecutors who might otherwise leave county employment due to unmet family

18               needs. Part-time and job-share positions are available to help prosecutors balance
19               the needs of family and their desire to continue long term employment. The
20
                 reality is that these part-time roles have traditionally been requested by female
21
                 DA’s in the office, often due to their obligations as primary care providers to their
22
                 families. Almost every female who has children in the office has opted to work
23
24               one of these part-time positions at some point.

25           vi. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.

26               Blumberg as detailed above have humiliated Ms. Blumberg and caused her to be
27               miserable, worried, nervous, and anxious as her like situated male colleagues
28
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 1               leapfrog over her in career advancement as a result of Defendants and Ms.

 2               Becton’s discriminatory treatment.
 3     e. Plaintiff Jill Henderson
 4
              i. Ms. Henderson has repeatedly complained about being treated differently based
 5
                 upon her age and gender and she has complained about the lack of female leaders.
 6
                 In retaliation, she has not been promoted, she has been treated with disrespect and
 7
                 she has been given more work without any pay increase.
 8
 9           ii. Ms. Henderson complained to both Ms. Becton and Ms. Johnson that more senior

10               female representation was needed. Mr. Walpole was suddenly promoted by Ms.

11               Becton to a Level 5 position in or around the end of 2018. In January 2019, after
12               five successful years as the Elder Abuse Unit Supervisor, Ms. Henderson
13
                 approached Ms. Becton and Ms. Johnson and explained her desire to take on a
14
                 more senior (not a lateral role). After that request, Ms. Becton transferred Ms.
15
                 Henderson’s only subordinate away from the Unit. While Ms. Henderson was on
16
17               vacation, they transferred Ryan Wagner out and left Ms. Henderson with over 30

18               unassigned elder abuse cases to deal with. Ms. Henderson was not consulted

19               about the move or even advised that it was being contemplated. When Ms.
20               Henderson was asked to provide a case list, she asked Ms. Johnson if downsizing
21
                 the Elder Unit was being contemplated and was specifically assured that it was
22
                 not. The number of attorneys in the Elder Unit was then cut in half during her
23
                 vacation with no prior notice. Ms. Henderson had been told “just wait, they have
24
25               a plan to promote you.” Instead, she has been isolated in the office with no voice

26               given her experience, success and expertise. Ms. Henderson came up with a plan

27               to help run an office and help with the chronic backlog of cases, but her plans
28
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 1               were ignored.

 2          iii. Ms. Henderson has repeatedly complained about being treated differently based
 3               upon her age and gender and she has complained about the lack of female leaders.
 4
                 In retaliation, she has not been promoted, she has been treated with disrespect and
 5
                 she has been given more work without any pay increase.
 6
             iv. In June 2019, Ms. Henderson was told by Ms. Becton that in addition to her Elder
 7
 8               Abuse role, she was now head of the Domestic Violence Unit. This gave her

 9               seven (7) subordinates and was a lateral move, not a more senior role. It is

10               extremely unusual for such a major role to be assigned without consultation. No
11               male has been giving such a major role without being consulted first. Ms.
12
                 Henderson confirmed with Venus Johnson that Ms. Henderson had been clear in
13
                 prior communications that she wanted a promotion and not greater responsibility
14
                 without compensation or a promotion.
15
16           v. Ms. Becton then announced that Mr. Walpole, a Senior DA with less than eight

17               months of experience in his new position as a Level 5 (to which he was promoted

18               without any process), would be designated the Acting Assistant District Attorney.
19               This meant that this junior, less experienced male attorney was now Ms.
20
                 Henderson’s direct supervisor. Mr. Walpole has never worked in either the
21
                 Domestic Violence Unit or the Elder Abuse Unit.
22
             vi. It became increasingly clear that Ms. Henderson’s supervisory role was meant to
23
24               placate the growing cries of gender discrimination echoing through the DA’s

25               office. Ms. Henderson has been reduced to merely a placeholder, a figurehead. It

26               was a significant increase in responsibility with no increase in pay.
27          vii. Mr. Walpole, with far inferior experience, made offers on Domestic Violence
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 1                          cases without consulting Ms. Henderson or even asking her for all the facts of the

 2                          case. He has micromanaged units run by women and not the men. He usurped
 3                          Ms. Henderson’s authority by bypassing her and going directly to her
 4
                            subordinates, often giving contradictory advice. He has tried to silence Ms.
 5
                            Henderson, admonishing her for disagreeing with him. Ms. Henderson raised her
 6
                            concern with Ms. Becton that Mr. Walpole was not permitting her to disagree
 7
 8                          with him. Ms. Becton told Ms. Henderson that she had authority to have different

 9                          opinions than Mr. Walpole but she took no action in response to Ms. Henderson’s

10                          comments and Mr. Walpole made negative comments in Ms. Henderson’s
11                          performance review as a result.
12
                      viii. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.
13
                            Henderson as detailed above have humiliated Ms. Henderson and caused her to be
14
                            embarrassed, mortified, and extremely anxious for which she has sought therapy
15
16                          sessions to cope.

17          119.    Defendants subjected Plaintiffs to unjust employment actions, continue to deny Plaintiffs

18   opportunities for growth, promotion, and overlook their accomplishments and contributions, in

19   retaliation for their protected complaints.

20          120.    As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to

21   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount

22   according to proof.

23          121.    Plaintiffs have retained counsel to prosecute their FEHA claims. Therefore, they are

24   entitled to attorneys' fees pursuant to Cal. Gov. Code §12965(b).

25                                         FIFTH CAUSE OF ACTION

26     Gender Discrimination in Violation of Title VII of the Civil Rights Act of 1964, as amended, 42
27                                                 U.S.C. § 2000e-et seq.
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 1                          (All PLAINTIFFS Against all DEFENDANTS and DOES 1-20)

 2          122.       Plaintiffs reincorporate herein all preceding paragraphs of this complaint as though fully
 3   set out below.
 4          123.       Defendants discriminated against Plaintiffs by demoting them and/or denying them
 5   opportunities for growth, promotion, and overlooking their accomplishments and contributions,
 6   constituting disparate treatment in that it was based on the fact that Plaintiffs are experienced women as
 7   alleged herein.
 8          124.       Defendants have a culture of disparaging women with demeaning, sexualized comments.
 9          125.       Since 2017, Defendants have reversed gains made by women in the office.
10          126.       Defendants have established an environment where women need to gain more experience
11   than men to get high profile assignments, including needing to work for up to 6 years more than men to
12   be assigned to the homicide unit.
13          127.       In multiple instances, male prosecutors with less tenure and experience than female
14   prosecutors have been selected for career-advancing assignments and given supervisory positions and
15   dictatorships.
16          128.       Stacey Grassini, a male, was promoted to a Level 5 executive management position
17   without any prior supervisory assignments within the office. Plaintiffs are more qualified.
18          129.       Chris Walpole, an attorney with very limited junior supervisory experience, was
19   promoted without process to Level 5 executive management to supervise the largest vertical prosecution
20   unit in the office, the Sexual Assault, Domestic Violence and Elder Abuse Unit. Chris Walpole was
21   again promoted to “Acting Assistant District Attorney” to supervise Homicide, Gangs, CVRU, Sexual
22   Assault, Domestic Violence, Special Operations and Elder Abuse (over 75% of the office.) Nancy
23   Georgiou, the most senior Level 5 and the only remaining female Level 5, had formerly supervised the
24   significant Sexual Assault, Domestic Violence and Elder Abuse Unit yet the supervisory responsibilities
25   for the unit were assigned to a male attorney with less supervisory and sexual assault experience and
26   despite her experience in these fields, Ms. Georgiou was moved to oversee the smallest prosecution unit.
27   Plaintiffs are also more qualified than the male promoted.
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 1          130.      Simon O’Connell, an attorney with less than six months of junior management

 2   experience, was promoted to a Level 5 executive management position instead of a number of female

 3   applicants for the position (including three of the Plaintiffs) with multiple years of executive

 4   management and unit supervisory experience.

 5          131.      Caleb Webster, with only five years of experience as an attorney was promoted to the

 6   position of Misdemeanor Team Leader replacing one of the more qualified Plaintiffs.

 7          132.      Male Level 3 attorneys were moved to supervise Level 4 female attorneys and

 8   subsequently promoted.

 9          133.      Symbolically, junior male attorneys and investigators were given larger window offices

10   while more qualified female attorneys were forced to take smaller offices without windows.

11          134.      Newly promoted Level 5 manager, Chris Walpole was selected to fill the role of Acting

12   Assistant District Attorney instead of the more experienced, and most senior Level 5, who happens to be

13   a woman.

14          135.      Under Ms. Becton’s administration, less experienced male prosecutors are now

15   supervising higher ranking, advanced level female prosecutors. Notably, no less experienced female

16   prosecutors are supervising higher ranking, advanced level male prosecutors. Also, the only senior-

17   supervising female prosecutor supervises the smallest DA branch office in Richmond supervising only

18   two advanced-level attorneys. Even where female prosecutors hold a supervisory position, often they are

19   supervisory in name only as the female prosecutor does not actually have anyone beneath her to

20   supervise. Male prosecutors with less tenure and experience than female prosecutors have also been

21   selected by Ms. Becton for career-advancing assignments and given supervisory positions and

22   directorships.

23          136.      Under Ms. Becton’s administration, female prosecutors with significant prosecutorial

24   experience have been excluded from committee membership and training positions which they

25   previously held. Ms. Becton’s exclusion of the senior female prosecutors from these positions of

26   significance within the office has sent the very clear message to prosecutors within the office, and to law

27   enforcement in general, that the senior female prosecutors are not valued by Ms. Becton.

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 1          137.    The promotion process in Ms. Becton’s administration for male prosecutors has been

 2   discriminatorily different than the promotion process for female prosecutors. The change has been

 3   dramatic. Junior male prosecutors are systemically promoted sooner than their more experienced female

 4   counterparts, resulting in higher pay that compounds with every year of employment. Male prosecutors

 5   now have direct supervision of at least 75% of the prosecuting attorneys.

 6          xvi. Plaintiff Mary Elizabeth Knox

 7                  i. DA Becton overrode the approval of two supervisors for Plaintiff Knox to take over a

 8                     homicide case for a colleague on leave, and a less qualified male attorney was put on

 9                     the case.

10                 ii. DA Becton transferred Plaintiff Knox from Ms. Knox’s position as supervisor of the

11                     Community Violence Reduction Unit (the unit Ms. Knox created) to Felony Filing, a

12                     position usually filled by attorneys with twenty years less experience than Ms. Knox,

13                     in a satellite office with limited contact to other attorneys.

14                 iii. Since the filing of Plaintiffs’ original complaint, after two and a half years in the

15                     felony filer position, DA Becton transferred Ms. Knox to the Elder Abuse unit in a

16                     non-supervisory role, another position typically held by attorney’s with less than

17                     fifteen years of experience.

18                 iv. At the same time as Ms. Knox’s most recent transfer, DA Becton transferred Satish

19                     Jallepalli, a male attorney with significantly less years in the office than Ms. Knox, to

20                     the CVRU. A position and unit Ms. Knox stated she would like, and is, qualified for.

21                  v. Tellingly, the attorney moved into Ms. Knox’s felony filer role is a fourteen-year

22                     attorney, supporting Ms. Knox’s claim that the role she was performing for the last

23                     two and a half years is traditionally done by an attorney with less than fifteen years’

24                     experience.

25                 vi. A male attorney (Jason Peck) who had no prior experience as a unit supervisor or

26                     misdemeanor team supervisor replaced Plaintiff Knox as supervisor of the CVRU.

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 1         vii. DA Becton passed over Ms. Knox for a Level 5 Senior Deputy District Attorney

 2              position in May 2019. Instead, DA Becton promoted Simon O’Connell, a male

 3              attorney with less than six months of junior management experience, and Stacey

 4              Grassini, a male attorney with no experience supervising attorneys, to Level 5, Senior

 5              Management, roles .

 6        viii. DA Becton assigns Ms. Knox rolls beneath her level of experience, expertise, and

 7              skill, which has the effect of killing the career that Ms. Knox has spent decades

 8              building. In direct contrast, DA Becton assigns younger, male attorneys, such as

 9              Simon O’Connell, Stacey Grassini, Chris Walpole, and Jason Peck, to name just a

10              few, to roles beyond their individual levels of experience giving them an opportunity

11              to rise to the challenge and stretch their professional growth and accomplishments.

12              DA Becton does not give the same opportunity to the women in the office.

13          ix. Defendants and Ms. Becton’s discriminatory actions towards Ms. Knox as detailed

14              above have humiliated Ms. Knox and caused her to be depressed, disheartened, and

15              extremely upset as she watches the 35-year career she has built dissipate.

16   xvii. Plaintiff Rachel Piersig

17           i. The DA’s office consistently denied Plaintiff Piersig opportunities for growth, and

18              promotion, overlooking Ms. Piersig’s accomplishments and contributions and placed

19              Ms. Piersig in a role beneath her experience and skill set.

20          ii. Plaintiff Piersig was passed over for a Level 5 promotion in 2018 and again passed

21              over for a Level 5 Senior Deputy District Attorney position in May 2019.

22          iii. In her performance review, Ms. Piersig was accused of being “too mean” to police

23              officers - a charge that Ms. Piersig has never heard leveled at any male prosecutor.

24              This language is gendered, not leveled at males, and exemplifies the bias Ms. Piersig

25              has had to endure.

26          iv. LevelLevelIn June 2018, both Ms. Piersig and Ms. Chandler went to Ms. Johnson to

27              voice their frustration and concerns regarding their treatment and management within

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 1            the Homicide Unit. Specifically, they both raised the times when they voiced issues

 2            or concerns on their cases and their experience and concerns were ignored, demeaned

 3            and discounted. Ms. Johnson indicated that “things would change for the better soon”

 4            but nothing favorable occurred.

 5        v. Instead, the female Homicide Unit members were “given” “mental health breaks”

 6            while the male attorney Chris Walpole continued to receive the better assignments,

 7            was promoted and given a pay raise associated with a Level 5.

 8        vi. In October 2018, Ms. Piersig was transferred from the Homicide Unit to her current

 9            position as a Felony Expeditor, a position typically reserved for prosecutors with less

10            experience. Ms. Johnson told Ms. Piersig that the transfer “would be good for her

11            mental health.” Mr. Walpole was promoted to a Level 5 and currently supervises the

12            Family Violence Division, the Elder Abuse Unit, the Domestic Violence Unit, and the

13            Human Trafficking Unit. He was later promoted again to “Acting Assistant District

14            Attorney.” The other complaining party, Ms. Chandler, was moved to the felony filer

15            position in Richmond as “a mental health break.” This “time out” response

16            exemplifies the discriminatory practice within the DA’s office; women who complain

17            about disparate treatment are moved to positions to give them “mental health breaks.”

18            This treatment has a disparate impact on female prosecutors, contributing to pauses in

19            their career and a slower rise through the ranks of the DA’s office. Mr. Butts still

20            supervises the Homicide Unit.

21       vii. Ms. Piersig has extensive supervisory experience. As the supervising attorney of the

22            Domestic Violence and Elder Abuse Units for over four years, she directly supervised

23            fourteen attorneys at various times, of various levels of experience, from brand-new

24            felony attorneys to far more senior prosecutors. Since October 2018, Ms. Piersig has

25            supervised the entire Preliminary Hearing unit, teaching less-experienced attorneys

26            the fundamentals of felony prosecution to prepare them for felony trials. She now

27            directly supervises three attorneys.

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 1       viii. While supervising the preliminary hearing team, Ms. Piersig’s authority was

 2            repeatedly usurped by a junior male supervisor, Simon O’Connell. Without speaking

 3            to Ms. Piersig, Mr. O’Connell would assign trials to Ms. Piersig’s team. Mr.

 4            O’Connell had no supervisory authority over Ms. Piersig’s team. One week, Mr.

 5            O’Connell assigned trials to the attorneys on Ms. Piersig’s team leaving her without

 6            any attorneys to handle the preliminary hearings for the week. Ms. Piersig had to

 7            repeatedly ask Mr. O’Connell to not assign work to her team without speaking to her.

 8            He persisted and told attorneys they were transferred off her team and told another

 9            attorney that she was now assigned to Ms. Piersig’s team. All these actions were

10            outside of Mr. O’Connell’s authority.

11        ix. During this time a junior female attorney was assigned a very serious felony case.

12            Mr. O’Connell inserted himself and contacted Mr. Cabral and stated that the case

13            should not be assigned to the young female attorney because, without any evidence,

14            Mr. O’Connell was concerned that the defendant would “become focused” on the

15            young attorney. Ms. Piersig was informed that that the case would be reassigned to a

16            male attorney. The male attorney selected was not as talented as the young female.

17            Ms. Piersig pointed out that this was unfair and was denying a female attorney an

18            opportunity based solely on her gender, and while, ultimately, the case remained with

19            that attorney, Ms. Piersig was seen to be complaining on behalf of other female

20            prosecutors and Mr. O’Connell was promoted to a Level 5 by Ms. Becton.

21         x. As a supervisor, Ms. Piersig regularly trained new attorneys. Ms. Piersig held formal

22            trainings on domestic violence for the new attorneys. She also held trainings for

23            attorneys on opening statements, and all aspects of trial, voir dire through closing

24            statements. She trained Contra Costa County Sheriff Dispatchers regarding elder

25            abuse issues and provided training to all county law enforcement on procedures for

26            handling domestic violence situations. Ms. Piersig has contributed immensely to the

27            Contra Costa District Attorney’s Office through these internal trainings and external

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 1            trainings that build bridges and are preventative measures used to reduce violence.

 2            Since Ms. Becton’s election, Ms. Piersig has not been asked to participate in any

 3            trainings.

 4        xi. Mr. Walpole was suddenly promoted by Becton to a Level 5 position in or around the

 5            end of 2018. Mr. Walpole was promoted without an application process and hurdled

 6            ahead of many qualified female prosecutors with far more experience including Ms.

 7            Piersig. Historically, in order to be considered for a Level 5 promotion, attorneys had

 8            prosecuted in nearly every unit in the office and had significant supervisory

 9            experience. Ms. Piersig has been with the DA’s Office four years longer than Mr.

10            Walpole. She also has significantly more supervisory experience, including her four

11            years supervising the Domestic Violence and Elder Abuse Units. In contrast, before

12            his sudden promotion to Level 5, Mr. Walpole had only a year of junior level

13            supervisory experience, back in 2012. That position was limited to supervising three

14            attorneys in court while the attorneys file and negotiate the misdemeanor cases

15            themselves. Supervising misdemeanors is considered an entry level supervisory

16            position and does not invoke the level of responsibilities and duties that heading the

17            Felony Domestic Violence Unit does, as Ms. Piersig did successfully for four years.

18            Nevertheless, these qualifications and experience were overlooked and ignored on

19            account of Ms. Piersig’s gender. Mr. Walpole’s gender trumped Ms. Piersig’s

20            experience.

21       xii. In April 2019, Becton announced that promotions into vacant Senior Deputy District

22            Attorney positions would be made following applications and interviews. Ms. Piersig

23            submitted her application highlighting her extensive experience and accomplishments

24            in the office. This included her successful and effective leadership of the Domestic

25            Violence and Elder Abuse Units and the several initiatives she had put in place to

26            increase efficiencies and conviction rates in those units, detailed above.

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 1       xiii. Ms. Piersig’s interview was scheduled at 1:00 p.m. on a Tuesday, Ms. Piersig’s

 2            heaviest court day. When Ms. Piersig arrived at the interview, she was surprised to

 3            find that Ms. Becton, the sole decision maker on advanced level promotions, was not

 4            in attendance. The interview lasted barely 20 minutes and contained odd questions

 5            such as Ms. Piersig’s thoughts on the chain of command in the office. The interview

 6            questions were very generic and did not have anything to do with the Level 5 position

 7            which entails supervising multiple teams of attorneys. The interview, and whole

 8            process, on its face was a sham put in place to support decisions that had already been

 9            made regarding the promotions and to placate those that complained about Mr.

10            Walpole’s sudden promotion.

11       xiv. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

12            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

13            District Attorney positions. Ms. Piersig, and many other well qualified female

14            attorneys, were passed over in favor of younger or less qualified males.

15       xv. Ms. Piersig has more than six years of additional experience compared to Simon

16            O’Connell who was promoted. At the time of his promotion, Mr. O’Connell had just

17            six months of experience as a supervisor, as the felony trial team leader. This

18            position supervises less experienced attorneys, is really an assistant supervisory role

19            without independence and is limited to assigning trials, making offers, and

20            supervising the subordinate attorney, which is significantly less supervisory

21            experience than Ms. Piersig holds. Ms. Piersig also has an additional six months of

22            experience as the felony expeditor, has worked in more units in the office and

23            prosecuted more homicides than Mr. O’Connell.

24       xvi. Ms. Piersig has prosecuted more trials and has significantly more supervisory

25            experience than Stacy Grassini. In fact, prior to his promotion to the Level 5 position,

26            Mr. Grassini had never held a supervisory role in the office. He had not tried a case

27            in ten years and, on information and belief, has never prosecuted a homicide.

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 1        xvii. When Ms. Becton took office in June 2018, two males and three females occupied the

 2               advanced level Attorney 5 positions. Now, there is only one female at that level, and

 3               she supervises only two attorneys in the smallest DA branch office in Richmond. The

 4               DA’s office is in turmoil and is losing experienced prosecutors at an unprecedented

 5               rated. Since January 2019, fifteen prosecutors have resigned their position with the

 6               County.

 7        xviii. Shortly after the promotions of Mr. O’Connell and Mr. Grassini, in June 2019, Ms.

 8               Becton doubled down on her discrimination and announced that Mr. Walpole, a

 9               Senior DA with less than eight months of experience in his new position as a Level 5

10               (to which he was promoted without any process bypassing many more qualified

11               females), would be designated the Acting Assistant District Attorney.

12         xix. Defendants and Ms. Becton’s discriminatory actions towards Ms. Piersig as detailed

13               above have humiliated Ms. Piersig and caused her to be miserable, unhappy,

14               embarrassed, and anxious as her career grows stagnate due to Defendants and Ms.

15               Becton’s actions.

16   xviii. Plaintiff Allison Chandler

17            i. In Spring of 2019, Plaintiff Chandler was promised a supervisory role in Felony Filer

18               while still having to manage her homicide trial caseload, but ultimately was not given

19               the supervisory role.

20           ii. Since 2019, Plaintiff Chandler has been forced to do one and a half times the work by

21               taking on "non-negotiable" extra responsibilities in Felony Filer by Filing Domestic

22               Violence Misdemeanors. She was even stripped of a capital murder case assignment

23               to do Filing Domestic Violence Misdemeanors.

24          iii. Ms. Chandler has been told she is “too emotional” and “excitable” and “her

25               temperament” is problematic. These are all gendered terms only leveled at females

26               and used against them to prove that they are not equipped to supervise. Men are

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 1            passionate and zealous; women are emotional and excitable. One is considered an

 2            asset: the other, a liability.

 3        iv. Ms. Chandler has consistently sought out opportunities for growth and advancement

 4            in her career. She has explicitly requested supervisory roles from her superiors.

 5            Despite career success, her willingness to take on extra work and roles in addition to

 6            her assigned role, Ms. Chandler is consistently passed over for supervisory roles she

 7            is qualified for, with those roles going to less qualified, more junior males. The effect

 8            of this has been a stagnation in her career growth and inability to arc her career

 9            ascension at the same rate as her male counterparts and as a result Ms. Becton has

10            failed to provide Ms. Chandler with equal employment opportunities based on her

11            gender. Despite her qualifications and experience, Ms. Chandler has been put in a

12            role beneath her experience and skill set. She has been overlooked for supervisory

13            positions that she is immensely qualified for and those have gone to younger, less

14            qualified males.

15        v. In June 2018, prior to their individual transfers, both Ms. Piersig and Ms. Chandler

16            went to Ms. Johnson to voice their frustration and concerns regarding their treatment

17            and management within the Homicide Unit. Specifically, they both raised the times

18            when they voiced issues or concerns on their cases and their experience and concerns

19            were ignored, demeaned and discounted. Ms. Johnson indicated that “things would

20            change for the better soon” but nothing favorable occurred.

21        vi. Instead, in retaliation, the female Homicide Unit members were “given” a “mental

22            health break” while the male attorneys continued to receive the better assignments

23            and were promoted. Mr. Walpole was promoted to a “Level 5” and currently

24            supervises the Family Violence Division, the Elder Abuse Unit, the Domestic

25            Violence Unit, and the Human Trafficking Unit, and also has been promoted to

26            “acting Assistant District Attorney.” Ms. Chandler, was moved to her current felony

27            filer position in Richmond as “a mental health break.” She was removed from emails

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 1            and committees, and members of executive management started to ignore her. This

 2            “time out” response exemplifies the discriminatory practice within the DA’s office,

 3            and it effects women in the office by sending a message that the senior women will be

 4            ignored. Junior women have ceased seeking guidance from senior women and are

 5            being redirected to junior male attorneys endorsed by management. Women who

 6            complain about disparate treatment are moved to positions to give them “mental

 7            health breaks” and effectively pushed aside. Their reputations in the office are

 8            forever tainted. This treatment has a disparate impact on female prosecutors,

 9            contributing to pauses in their career and a slower rise through the ranks of the DA’s

10            office. Ms. Becton is aware of this because senior women have told her. Despite

11            this, she participates in the disparate treatment and does nothing to stop it.

12       vii. In March 2019, Ms. Chandler was informed she would be rotated to Richmond to be

13            the Felony Filer and share in the Felony Expeditor duties, a supervisory position. Ms.

14            Chandler was told she would be assisting Steve Bolen, the then head of the Richmond

15            office with the expeditor duties. Ms. Chandler had previously completed Felony Filer

16            rotation in Martinez, and the role was beneath her experience and skill set. However,

17            she was willing to take on the role since it came with the promise of a shared

18            supervisory role, Felony Expeditor. Ms. Chandler had requested a supervisory role.

19            She was also informed that in addition to her Felony Filer and shared Expeditor role,

20            Ms. Chandler was to continue prosecuting her over a dozen murder cases “until a

21            prosecutor could replace her in homicide.”

22       viii. At the end of March 2019, Ms. Chandler was cleaning out her office planning to

23            begin her new role in Richmond upon her return from a scheduled vacation when her

24            supervisor, Derek Butts, questioned why she was cleaning out her office. Ms.

25            Chandler informed him she was rotating to Richmond to be Felony Filer and share the

26            Expeditor role. Mr. Butts showed her an email from Ms. Johnson informing him that

27            Ms. Chandler was simply “filling in for a moment in Richmond as Felony Filer and

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 1            ‘still in homicide.’” There was no mention of the promised supervisory role. Ms.

 2            Chandler left for her vacation with half her belongings in Richmond and the rest in

 3            Martinez, unsure of her role or even what office to return to after her vacation.

 4        ix. While on vacation, Chris Walpole, called Ms. Chandler and asked her to “help out”

 5            the office by being the Felony Filer in Richmond. She agreed to do it for one week

 6            because she was expected to continue carrying and managing a very heavy homicide

 7            caseload. Since Becton was elected, there has been a significant number of employee

 8            departures, so more was being required of the remaining attorneys. Ms. Chandler

 9            fulfilled her commitment and completed the week and returned to homicide as she

10            was instructed.

11        x. In April 2019, Ms. Becton announced that promotions into vacant Senior Deputy

12            District Attorney positions would be made following applications and interviews.

13            Attorneys with one year of experience in a Level 4 position were eligible to apply.

14            Although, Ms. Chandler was qualified for the position, she wanted to gain

15            fundamental supervisory experience before taking on an executive management role

16            as she understood this was historically a requirement. She also understood there were

17            many more senior qualified and experienced contenders like Mary Knox and Rachel

18            Piersig who were applying for the role. Regardless, Ms. Chandler went through the

19            process of putting together a resume similar to the application with the intent of

20            highlighting her experience and contributions so Ms. Becton would understand her

21            qualifications and move her into a supervisory role. This is another example of Ms.

22            Chandler being proactive. She gave her completed application to Ms. Becton, asking

23            that it be put in her file and informing Ms. Becton that she wanted a supervisory role

24            with the goal of one day heading the Sexual Assault Unit. Becton asked Ms. Chandler

25            if being Felony Filer and Expeditor as previously planned in Richmond would be a

26            supervisory role that she would be interested in. Ms. Chandler said yes.

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 1        xi. Ms. Chandler also sent her resume to Ms. Johnson asking her to review it prior to

 2            finalizing transfers. Ms. Chandler also let Ms. Johnson know that she wanted to be a

 3            supervisor. Sometime later, Ms. Johnson approached Ms. Chandler to inform her that

 4            she was being transferred to a non-supervisory role as Felony Filer in Richmond and

 5            that she would not be Felony Expeditor. This was a step back in Ms. Chandler’s

 6            career trajectory as she had already held this role prior to being on the Homicide team

 7            and it was not a supervisory role which she had explicitly requested.

 8       xii. Ms. Johnson told Ms. Chandler that she wanted to speak to her “woman to woman,”

 9            that although Ms. Chandler had exceptional trial skills and “checked all the boxes”

10            typically required to be moved into a supervisory role, Ms. Becton was looking for

11            other intangible attributes, reputation in the office, as in, “what others think of you

12            and how well you get along with others.” Basically, Ms. Becton was conducting a

13            popularity contest and not basing decisions on experience and abilities. Ms. Becton

14            had provided many junior level male prosecutors opportunities to manage. Even with

15            their many mistakes and problems, Ms. Becton continued to allow them to stay in

16            their position. Ms. Chandler has not had any negative evaluations nor is anything in

17            her personnel file that would support Ms. Becton’s decision to deny her a supervisory

18            role.

19       xiii. In June 2019, a younger lesser qualified and less experienced male (twelve years her

20            junior with five years of experience) was promoted into the position of Misdemeanor

21            Team Leader in Richmond, a supervisory position in the office in which Ms.

22            Chandler currently works. Ms. Chandler had requested this role when she was told

23            she needed supervisory experience in order to move to the Sexual Assault Unit. Even

24            though the role was beneath her experience level, she was willing to do it to get the

25            experience. It was given to a less experienced male.

26       xiv. In the meantime, Stacey Grassini and Jason Peck were promoted to supervisory roles,

27            and Stacey Grassini was given a Level5 role without any supervisory experience. The

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 1             reasons used for blocking Ms. Chandler’s career advancement did not apply for less

 2             experienced males.

 3        xv. DA Becton assigns younger, male attorneys, such as Simon O’Connell, Stacey

 4             Grassini, Chris Walpole, and Jason Peck, to name just a few, to roles beyond their

 5             individual levels of experience giving them an opportunity to rise to the challenge and

 6             stretch their professional growth and accomplishments. Meanwhile, Ms. Chandler has

 7             to “prove” herself over and over again, and yet DA Becton still denies Ms. Chandler

 8             the opportunities that less qualified males are given.

 9       xvi. Defendants and Ms. Becton’s discriminatory actions towards Ms. Chandler as

10             detailed above have humiliated Ms. Chandler and caused her to be miserable,

11             unhappy, feel hopeless, and anxious as her career fails to progress due to Defendants

12             and Ms. Becton’s discriminatory treatment.

13   xix. Plaintiff Mary Blumberg

14          i. Plaintiff Blumberg was stripped of the supervisory role of Central and Eastern

15             Operation(s) Misdemeanors Trial Team, which traditionally is a two-year period,

16             roughly one year prematurely. She was also forced to the Homicide Unit without

17             consultation.

18         ii. Plaintiff Blumberg experienced consistent denials of opportunities for growth,

19             promotion, and overlooked accomplishments and contributions.

20        iii. Despite all her accomplishments, Ms. Blumberg has been discriminated against by

21             Diana Becton based on gender. In September 2017, Ms. Blumberg was assigned to

22             supervise the Central and Eastern Operation(s) Misdemeanor Trial Team. This was a

23             good career move for her as it would build her supervisory experience as she would

24             be supervising twelve to fourteen new attorneys. Supervising misdemeanor trial

25             attorneys is usually a two-year assignment. However, in October 2018, without any

26             discussion, Ms. Blumberg was unceremoniously removed from the supervisor

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 1            position despite telling her then supervisor, many times that she wanted to remain

 2            supervising misdemeanors for the traditional two-year period.

 3        iv. In October 2018, merely a year into her assignment, Ms. Blumberg was unexpectedly

 4            transferred from her supervisory position to the Homicide Unit. She was told the

 5            morning the transfer memorandum was sent that she was being moved. This move

 6            was unusual for two reasons: (1) it was done without input from Ms. Blumberg and

 7            (2) the two males who were assigned at the same time as her to Homicide Unit had

 8            known about their move for weeks and one was also aware that Ms. Blumberg would

 9            be moved. Given the emotionally taxing and demanding mental and physical load of

10            the Homicide Unit, and the significant investment of time it requires, attorneys are

11            historically consulted before being moved to the Homicide Unit. The office has a

12            vested interest in ensuring that the attorneys rotated to the Homicide Unit are ready,

13            mentally and emotionally, and prepared for the impact the time commitment will

14            have on their family and personal life. However, Ms. Blumberg was not allowed to

15            consider this. She was never consulted. Unlike Ms. Blumberg, the male prosecutors

16            who were moved to the Homicide Unit were granted weeks of advanced notice of the

17            upcoming transfer and could mentally prepare for the new assignment.

18        v. The stressful move to the Homicide Unit has had a significant impact on Ms.

19            Blumberg’s health and her family. Her children are young and go days without

20            seeing their mother. Recently, a trial demanded she work 90 plus hour weeks for

21            several weeks, causing her to downplay several health symptoms that ultimately

22            landed her in the hospital with emergency surgery. Ms. Blumberg spent a month

23            recovering from surgery but continued to be stressed given other homicide cases were

24            scheduled for trial in her absence. She asked for assistance to manage her caseload in

25            her absence, and Plaintiff Mary Knox offered to try the double homicide case during

26            Ms. Blumberg’s recovery. True to form, Becton ignored Mary Knox and assigned the

27            double homicide trial to a junior male prosecutor.

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 1        vi. Upon return to work, Ms. Blumberg’s repeatedly requested accommodations, and was

 2            met with silence and laughter. After asking for a stand-up desk, the Office Manager

 3            told Ms. Blumberg to “just stack” books on her desk. Ms. Blumberg was only

 4            accommodated after a sympathetic colleague offered to disassemble her own standing

 5            desk and reassemble it in Ms. Blumberg’s office. Shortly thereafter, she filed a DFEH

 6            complaint, and in retaliation, the executive management began to harass her for a

 7            doctor’s note in order for her to return to work. Her attorneys were forced to

 8            intervene. Other similarly situated prosecutors have not been required to provide a

 9            doctor’s note and even her supervisor thought the request for a doctor’s note was

10            unusual.

11       vii. At the same time Ms. Becton assigned Ms. Blumberg to the Homicide Unit, Ms.

12            Blumberg was removed from the Recruitment and Retention Committee. She emailed

13            the Assistant Deputy District Attorney in charge of the recruitment and retention

14            committee, asking for an explanation, and has never received an explanation.

15       viii. At the end of 2018, a junior attorney, became the first male to request to work one of

16            the part-time positions. At the time that he made the request, there was only one

17            experienced prosecutor working part-time, a female attorney. This means that there

18            should have been three spots still available, one part-time and job-share position. His

19            request could easily have been accommodated without affecting the female’s

20            position. Instead, though Ms. Becton granted his request, as was appropriate, and at

21            the same time demanded that the female attorney return to full-time status, which was

22            not appropriate. Given the availability of multiple part-time positions, both attorneys

23            should have been allowed to remain in their part-time positions. This was odd

24            because no request for part-time has ever been denied, and Ms. Becton has spoken at

25            length about how she was going to make the office better for women.

26        ix. However, consistent with Ms. Becton’s policy and practice, a female was asked to

27            sacrifice, presumably “for the good of the office,” ignoring her own personal and

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 1           career goals. Ms. Becton had no interest in accommodating the female’s desire to

 2           balance the needs of her family with her desire to continue long-term employment.

 3           This is a consistent theme with Ms. Becton. Ms. Becton replaced a longer tenured

 4           female attorney with a junior male attorney. The female attorney was ordered to

 5           return to full-time employment by March 2019. As a result, a seasoned, talented

 6           prosecutor moved to another County. She accepted a part-time position with the

 7           Alameda County DA’s Office. Ms. Becton’s actions violated the office policy and

 8           directly caused a qualified career prosecutor to leave county employment to meet

 9           family needs. This is yet another example of Ms. Becton pushing out, silencing, and

10           punishing female prosecutors.

11        x. In June of 2019 for personal reasons, Ms. Blumberg considered asking for a part-

12           time position but was hesitant given what had occurred with last female part-time

13           attorney. She asked an Assistant District Attorney the procedure for requesting a part-

14           time position. He said he did not know and needed to research the issue. After

15           obtaining some information, he asked Ms. Blumberg if her request for part-time was

16           based upon a medical issue. This surprised Ms. Blumberg, as obtaining a part-time

17           position had never been based on a medical need. Moreover, this Assistant District

18           Attorney indicated that if it was not medical, she needed to list all of her reasons for

19           requesting the position as it is a discretionary decision made by the DA. According to

20           his information, Ms. Blumberg would need to elaborate on her reasons for her

21           request, including if it was medical. Ms. Blumberg pointed out that never in the

22           history of the office was an attorney required to make such a showing. Ms. Blumberg

23           further explained that she should be allowed to work part-time if she desired

24           regardless of whether it was due to a medical need or not. He basically shrugged his

25           shoulders and said, “good luck getting this approved.” Given the recent message Ms.

26           Becton had sent by effectively forcing an experienced female attorney to return to

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 1            full-time employment or resign, and seeking private medical information, Ms.

 2            Blumberg never requested the part-time position.

 3        xi. The treatment of the last female part-time attorney and the perceived unwillingness of

 4            Ms. Becton to allow female prosecutors to utilize the part time positions has had a

 5            chilling effect on women asking for these positions. Female prosecutors fear they will

 6            be further marginalized and discriminated against if they request a part-time position.

 7            Ms. Becton’s policies and practices have a demonstrable disparate impact on females

 8            in the office.

 9        xii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Blumberg as

10            detailed above have humiliated Ms. Blumberg and caused her to be miserable,

11            worried, nervous, and anxious as her like situated male colleagues leapfrog over her

12            in career advancement as a result of Defendants and Ms. Becton’s discriminatory

13            treatment.

14   xx. Plaintiff Jill Henderson

15         i. Plaintiff Henderson experienced a reduction of her supervision role and her unit was

16            cut.

17         ii. However, Plaintiff Henderson was given additional responsibilities and also became

18            the head of the DV Unit without a promotion or compensation.

19        iii. Mr. Walpole, a younger and less qualified male, is now Ms. Henderson’s direct

20            supervisor and has never done a rotation in the Elder Abuse or Domestic Violence

21            Units he now manages. He undermines Ms. Henderson’s authority by inserting

22            himself into daily supervisory issues often without notifying Ms. Henderson. When

23            working through the conflict, Mr. Walpole told Ms. Henderson that he thought she

24            was “smart” in a condescending manner for a younger man. When Ms. Henderson

25            complained to Ms. Johnson, no action was taken.

26        iv. When Ms. Becton announced that promotions into vacant Senior Deputy District

27            Attorney positions would be made following applications and interviews in April

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 1            2019, Ms. Henderson submitted her application highlighting her extensive experience

 2            and accomplishments in the office. This included her successful and effective

 3            leadership of the Elder Abuse Unit. During the interview, Ms. Henderson specifically

 4            noted that she wanted to be a role model for women in the office and the women were

 5            under-represented in management. She also separately complained about the lack of

 6            representation of women in leadership to Ms. Becton, Ms. Johnson, and Mr. Cabral,

 7            and they all acknowledged the need.

 8         v. Sometime after the interview, Ms. Becton called Ms. Henderson into her office and

 9            informed her that someone else was getting the Senior Deputy position. When Ms.

10            Henderson inquired about the second Level 5 position in special operations, Ms.

11            Becton told Ms. Henderson that she had no hope of being promoted in the future

12            despite the fact that she, Becton, believed Ms. Henderson to be “great.” Ms.

13            Henderson asked what she could do to be eligible to improve and Ms. Becton said,

14            “nothing.”

15        vi. The interview and whole process on its face was a sham put in place to support

16            decisions that had already been made regarding the promotions. This sham process

17            had been put in place after employees had protested when Chris Walpole was

18            promoted without any process. Indeed, Ms. Becton, the ultimate decision maker,

19            failed to attend many of the female interviews of senior female candidates.

20       vii. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

21            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

22            District Attorney positions. Ms. Henderson, and many other well qualified female

23            attorneys, were passed over in favor of these younger and less qualified males. Mr.

24            O’Connell, for example, has eight years less experience than Ms. Henderson.

25       viii. In addition to her traditional prosecutorial experience, Ms. Henderson has

26            demonstrated a dedicated passion to proactively helping communities reduce crime.

27            She developed a community prosecution program that was so popular, the City of

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 1            Concord paid her full salary and benefits for four years. Ms. Henderson brainstormed

 2            novel techniques to address poverty-based crimes with incarceration as a last resort.

 3            When Ms. Becton was appointed the DA, Ms. Henderson shared her excitement and

 4            willingness to institute such programs. Ms. Becton declined her offer. When Ms.

 5            Becton formed a variety of committees to improve various office functions, Ms.

 6            Henderson asked Ms. Becton where she could be the most useful. Ms. Becton

 7            declined to use Ms. Henderson as a resource on any committee. Shortly after Ms.

 8            Becton’s appointment Ms. Henderson shared her concerns about diversity in the

 9            office and wanted to discuss new methods of recruiting. Ms. Becton did not consult

10            with Ms. Henderson over any of her ideas or rectify any of her concerns. Ms.

11            Henderson specifically stated that she had recommended several qualified candidates

12            with diverse backgrounds that she had interviewed and were rejected.

13        ix. Ms. Henderson’s role may be supervisory on paper, but she has been stripped of

14            actual authority, respect and the opportunity to lead the department. Instead, lesser

15            qualified and less experienced male attorneys are being given this power and are not

16            reprimanded for breaching long standing protocols showing respect to the employee’s

17            supervisor. For example, men are permitted to use subordinates without letting female

18            supervisors know.

19        x. In addition, after being involved in in-house trainings for years, Ms. Henderson has

20            been excluded from the ability to lead trainings and was told that the DA wanted

21            younger attorneys to do the training.

22        xi. The power in the office is being redistributed to the younger males in the office at an

23            alarmingly fast rate, while equally or more qualified female prosecutors are being

24            stripped of their roles, their presence, and their voice in the office. Ms. Henderson

25            went to Ms. Becton with her complaints over a course of more than a year, believing

26            Ms. Becton would take action, but Ms. Henderson only experienced worse treatment

27            as a result in retaliation after making her complaints.

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 1                 xii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Henderson as

 2                     detailed above have humiliated Ms. Henderson and caused her to be embarrassed,

 3                     mortified, and extremely anxious for which she has sought therapy sessions to cope.

 4         138.     Further, Defendants and Ms. Becton has hired and protected men with a history of

 5   demeaning women. The following are some examples:

 6          vii.    Ms. Becton assigned a male to the Felony Expeditor position in the Richmond branch

 7                  office. In that position, he was the senior supervisor of junior female DAs despite

 8                  numerous complaints about his sexist behavior. In the past he sent videos to junior DAs

 9                  under his supervision entitled “Jizz in my pants.” He sent an email calling a female

10                  Deputy Attorney General a “pussy” and told junior female DAs that he would assign

11                  them cases that would cause them to “cream in their panties.” He told a woman that she

12                  was “swinging with the biggest dick on the fourth floor” and asked a nursing mother to

13                  not lift anything because it may make her “leak breast milk.” He told a pregnant attorney

14                  that she should order a mocha Frappuccino at Starbucks because it would help with

15                  “lubrication” in delivery. Despite all of this and more, Ms. Becton assigned him to

16                  supervise women, and allowed him to continue as a supervisor as the Richmond

17                  Expeditor while deeming more senior women without such complaints unsuitable for

18                  managerial roles.

19         viii.    Ms. Becton hired Roy Smalley as an Investigator Assistant. Mr. Smalley was accused in

20                  a civil lawsuit of requiring one of his female employees at a group home in Solano

21                  County to have sex with him as a condition of her employment. Mr. Smalley’s hiring is

22                  alleged to have occurred outside of Contra Costa County’s HR regulations and without a

23                  completed background check. Following news reports of the hiring, Mr. Smalley

24                  abruptly quit his employment with the DA’s Office.

25          ix.     Ms. Becton hired Larry Wallace who resigned from his last position over allegations of

26                  gender harassment. The claims settled for $400,000. The settlement became public, and

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 1                  was widely reported, following an investigation by the Sacramento Bee. Ms. Becton

 2                  admitted that she was aware of the allegations and settlement when she hired Wallace.

 3          139.    The empowerment and endorsement of these men shows Ms. Becton is not interested in

 4   ensuring a workplace free of discrimination for women.

 5          140.    Defendants’ actions, as described above constitute gender discrimination, in violation of

 6   the Fair Employment and Housing act, California Government Code Section 12940.

 7          141.    Defendants’ consistently denied Plaintiffs opportunities for growth, promotion, and

 8   overlooked their accomplishments and contributions, constituting disparate treatment in that it was

 9   based on the fact that Plaintiffs are experienced women as alleged herein.

10          142.    As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to

11   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount

12   according to proof.

13          143.    Plaintiffs’ gender was the determining factor and/or motivating factor in Defendants’

14   adverse employment action.

15          144.    As a direct, legal and proximate result of the discrimination, Plaintiffs have sustained

16   economic and emotional injuries, resulting in damages in an amount to be proven at trial.

17          145.    Defendants’ unlawful actions were intentional, willful, malicious, and/or done with

18   reckless disregard to Plaintiffs’ right to be free from discrimination based on gender.

19          146.    Plaintiffs are entitled to their reasonable attorneys’ fees and costs of suit.

20                                         SIXTH CAUSE OF ACTION

21   Age Discrimination in Violation of Employment Act of 1967, as amended, 29 U.S.C. § § 621 to 634.
22                            (PLAINTIFFS Knox, Piersig, Chandler and Henderson

23                                 Against all DEFENDANTS and DOES 1-20)
24          147.     Plaintiffs Knox, Piersig, Chandler and Henderson repeat and reincorporate herein all
25   preceding paragraphs of this Complaint as though set forth in full herein.
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 1          148.      Defendants discriminated against Plaintiffs by demoting them and/or denying them

 2   opportunities for growth, promotion, and overlooking their accomplishments and contributions,

 3   constituting disparate treatment in that it was based on Plaintiffs’ age.

 4          149.      Plaintiffs allege that much younger employees lacking the experience, expertise, and

 5   historical knowledge attributable to Plaintiffs Knox, Piersig, Chandler and Henderson filled roles and

 6   positions that should have gone to Plaintiffs.

 7          150.      Defendants’ consistently denied Plaintiffs opportunities for growth, promotion, and

 8   overlooked their accomplishments and contributions, constituting disparate treatment in that it was

 9   based on the fact that Plaintiffs are women over the age of forty as alleged hereinabove.

10          151.      Under Ms. Becton’s administration, less experienced male prosecutors are now

11   supervising higher ranking, advanced level female prosecutors. Notably, no less experienced female

12   prosecutors are supervising higher ranking, advanced level male prosecutors. Also, the only senior-

13   supervising female prosecutor supervises the smallest DA branch office in Richmond supervising only

14   two advanced-level attorneys. Even where female prosecutors hold a supervisory position, often they are

15   supervisory in name only as the female prosecutor does not actually have anyone beneath her to

16   supervise. Male prosecutors with less tenure and experience than female prosecutors have also been

17   selected by Ms. Becton for career-advancing assignments and given supervisory positions and

18   directorships.

19          152.      Under Ms. Becton’s administration, female prosecutors with significant prosecutorial

20   experience have been excluded from committee membership and training positions which they

21   previously held. Ms. Becton’s exclusion of the senior female prosecutors from these positions of

22   significance within the office has sent the very clear message to prosecutors within the office, and to law

23   enforcement in general, that the senior female prosecutors are not valued by Ms. Becton.

24          xxi. Plaintiff Mary Elizabeth Knox

25                    i. At the time she was subjected to Defendants' adverse actions, Plaintiff Knox was over

26                       the age of forty.)

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 1          ii. Defendants continued to subject Plaintiff Knox to a demeaning assignment for over a

 2              year, despite the office tradition to limit an assignment to Felony Filing to one year

 3              and notwithstanding Plaintiff Knox's requests to DA Becton to be reassigned to a

 4              position commensurate with her experience.

 5          iii. Since the filing of Plaintiffs’ original complaint, after two and a half years in the

 6              felony filer position, DA Becton transferred Ms. Knox to the Elder Abuse unit in a

 7              non-supervisory role, another position typically held by attorney’s with less than

 8              fifteen years of experience.

 9          iv. At the same time as Ms. Knox’s most recent transfer, DA Becton transferred Satish

10              Jallepalli, a younger, male attorney with significantly less years in the office than Ms.

11              Knox, to the CVRU. A position and unit Ms. Knox has stated she would like, and is,

12              qualified for.

13          v. DA Becton demoted Plaintiff Knox from her position in executive management as a

14              Senior Deputy District Attorney. In her place, DA Becton promoted three younger,

15              male attorneys to Senior Deputy District Attorney, Simon O’Connell, Stacey

16              Grassini, and Chris Walpole.

17          vi. In addition, DA Becton replaced Ms. Knox as head of CVRU with a younger male,

18              Jason Peck.

19         vii. Defendants and Ms. Becton’s discriminatory actions towards Ms. Knox as detailed

20              above have humiliated Ms. Knox and caused her to be depressed, disheartened, and

21              extremely upset as she watches the 35-year career she has built dissipate.

22   xxii. Plaintiff Rachel Piersig

23           i. At the time she was subjected to Defendants' adverse actions, Plaintiff Piersig was

24              over the age of forty.

25          ii. Junior male prosecutors are systematically promoted sooner than their more

26              experienced female counterparts; male prosecutors now have direct supervision of at

27              least 75% of the prosecuting attorneys.

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 1          iii. Despite, applying for, and being qualified for, the Senior Deputy District Attorney

 2               position, DA Becton failed to promote Ms. Piersig. In her place, DA Becton

 3               promoted three younger, male attorneys to Senior Deputy District Attorney, Simon

 4               O’Connell, Stacey Grassini, and Chris Walpole.

 5          iv. Defendants and Ms. Becton’s discriminatory actions towards Ms. Piersig as detailed

 6               above have humiliated Ms. Piersig and caused her to be miserable, unhappy,

 7               embarrassed, and anxious as her career grows stagnate due to Defendants and Ms.

 8               Becton’s actions.

 9   xxiii. Plaintiff Allison Chandler

10            i. At the time she was subjected to Defendants' adverse actions, Plaintiff Chandler was

11               over the age of forty.

12           ii. DA Becton has engaged in a pattern and course of age discrimination by

13               systematically demoting and failing to advance, promote and assign supervisory roles

14               to qualified and accomplished female prosecutors, particularly those with

15               prosecutorial experience and tenure.

16          iii. DA Becton assigns younger, male attorneys, such as Simon O’Connell, Stacey

17               Grassini, Chris Walpole, and Jason Peck, to name just a few, to roles beyond their

18               individual levels of experience giving them an opportunity to rise to the challenge and

19               stretch their professional growth and accomplishments. Meanwhile, Ms. Chandler has

20               to “prove” herself over and over again, and yet DA Becton still denies Ms. Chandler

21               the opportunities that less qualified males are given.

22          iv. Ms. Chandler has consistently sought out opportunities for growth and advancement

23               in her career. She has explicitly requested supervisory roles from her superiors.

24               Despite career success, her willingness to take on extra work and roles in addition to

25               her assigned role, Ms. Chandler is consistently passed over for supervisory roles she

26               is qualified for, with those roles going to less qualified, more junior males. The effect

27               of this has been a stagnation in her career growth and inability to arc her career

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 1              ascension at the same rate as her male counterparts and as a result Ms. Becton has

 2              failed to provide Ms. Chandler with equal employment opportunities based on her

 3              gender. Despite her qualifications and experience, Ms. Chandler has been put in a

 4              role beneath her experience and skill set. She has been overlooked for supervisory

 5              positions that she is immensely qualified for and those have gone to younger, less

 6              qualified males.

 7           v. In June 2019, a younger lesser qualified and less experienced male (twelve years her

 8              junior with five years of experience) was promoted into the position of Misdemeanor

 9              Team Leader in Richmond, a supervisory position in the office in which Ms.

10              Chandler currently works. Ms. Chandler had requested this role when she was told

11              she needed supervisory experience in order to move to the Sexual Assault Unit. Even

12              though the role was beneath her experience level, she was willing to do it to get the

13              experience. It was given to a less experienced male.

14          vi. Defendants and Ms. Becton’s discriminatory actions towards Ms. Chandler as

15              detailed above have humiliated Ms. Chandler and caused her to be miserable,

16              unhappy, feel hopeless, and anxious as her career fails to progress due to Defendants

17              and Ms. Becton’s discriminatory treatment.

18   xxiv. Plaintiff Jill Henderson

19           i. At the time she was subjected to Defendants' adverse actions, Plaintiff Henderson was

20              over the age of forty.

21           ii. After being involved in in-house trainings for years, Ms. Henderson has been

22              excluded from the ability to lead trainings and was told that DA Becton wanted

23              younger attorneys to do the training. The DA's assistant stated that the DA wanted to

24              see more "fresh faces."

25          iii. Mr. Walpole, a younger and less qualified male, is now Ms. Henderson’s direct

26              supervisor and has never done a rotation in the Elder Abuse or Domestic Violence

27              Units he now manages. He undermines Ms. Henderson’s authority by inserting

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 1            himself into daily supervisory issues often without notifying Ms. Henderson. When

 2            working through the conflict, Mr. Walpole told Ms. Henderson that he thought she

 3            was “smart” in a condescending manner for a younger man. When Ms. Henderson

 4            complained to Ms. Johnson, no action was taken.

 5        iv. When Ms. Becton announced that promotions into vacant Senior Deputy District

 6            Attorney positions would be made following applications and interviews in April

 7            2019, Ms. Henderson submitted her application highlighting her extensive experience

 8            and accomplishments in the office. This included her successful and effective

 9            leadership of the Elder Abuse Unit. During the interview, Ms. Henderson specifically

10            noted that she wanted to be a role model for women in the office and the women were

11            under-represented in management. She also separately complained about the lack of

12            representation of women in leadership to Ms. Becton, Ms. Johnson, and Mr. Cabral,

13            and they all acknowledged the need.

14         v. Sometime after the interview, Ms. Becton called Ms. Henderson into her office and

15            informed her that someone else was getting the Senior Deputy position. When Ms.

16            Henderson inquired about the second Level 5 position in special operations, Ms.

17            Becton told Ms. Henderson that she had no hope of being promoted in the future

18            despite the fact that she, Becton, believed Ms. Henderson to be “great.” Ms.

19            Henderson asked what she could do to be eligible to improve and Ms. Becton said,

20            “nothing.”

21        vi. The interview and whole process on its face was a sham put in place to support

22            decisions that had already been made regarding the promotions. This sham process

23            had been put in place after employees had protested when Chris Walpole was

24            promoted without any process. Indeed, Ms. Becton, the ultimate decision maker,

25            failed to attend many of the female interviews of senior female candidates.

26        vii. In an email from Ms. Becton on May 15, 2019, it was announced that Stacey

27            Grassini, a male, and Simon O’Connell, a male, were promoted to the Senior Deputy

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 1                      District Attorney positions. Ms. Henderson, and many other well qualified female

 2                      attorneys, were passed over in favor of these younger and less qualified males. Mr.

 3                      O’Connell, for example, has eight years less experience than Ms. Henderson.

 4                 viii. Ms. Henderson’s role may be supervisory on paper, but she has been stripped of

 5                      actual authority, respect and the opportunity to lead the department. Instead, lesser

 6                      qualified and less experienced male attorneys are being given this power and are not

 7                      reprimanded for breaching long standing protocols showing respect to the employee’s

 8                      supervisor. For example, men are permitted to use subordinates without letting female

 9                      supervisors know.

10                  ix. The power in the office is being redistributed to the younger males in the office at an

11                      alarmingly fast rate, while equally or more qualified female prosecutors are being

12                      stripped of their roles, their presence, and their voice in the office. Ms. Henderson

13                      went to Ms. Becton with her complaints over a course of more than a year, believing

14                      Ms. Becton would take action, but Ms. Henderson only experienced worse treatment

15                      as a result in retaliation after making her complaints.

16                   x. Defendants and Ms. Becton’s discriminatory actions towards Ms. Henderson as

17                      detailed above have humiliated Ms. Henderson and caused her to be embarrassed,

18                      mortified, and extremely anxious for which she has sought therapy sessions to cope.

19          153.     Defendants’ policy, practice, routine and pervasive discrimination against Plaintiffs and

20   women over the age of forty causes individuals who are similarly situated as Plaintiffs to be

21   demonstrably disadvantaged by depriving said individuals from continuing gainful employment with

22   Defendants, despite superior qualifications and job performance. Furthermore, Defendants’ policy and

23   practice is not justified by any business necessity and in fact is harmful to its stated purpose to protect

24   the citizens of Contra Costa County.

25          154.     As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to

26   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount

27   according to proof.

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 1          155.      Plaintiffs’ age was the determining factor and/or motivating factor in Defendants’

 2   adverse employment action.

 3          156.      As a direct, legal and proximate result of the discrimination, Plaintiffs have sustained

 4   economic and emotional injuries, resulting in damages in an amount to be proven at trial.

 5          157.      Defendants’ unlawful actions were intentional, willful, malicious, and/or done with

 6   reckless disregard to Plaintiffs’ right to be free from discrimination based on gender. Plaintiffs are

 7   entitled to their reasonable attorneys’ fees and costs of suit.

 8                                        SEVENTH CAUSE OF ACTION

 9   Retaliation in Violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-
10                                                       et seq.
11
                           (All PLAINTIFFS against all DEFENDANTS and DOES 1-20)
12
            158.      Plaintiffs reincorporate herein all preceding paragraphs of this complaint as though fully
13
     set out below.
14
            159.      Section 704(a) of Title VII of the Civil Rights Act of 1964, as amended, prohibits
15
     employers from discriminating against an employee “because [she] has opposed any practice made an
16
     unlawful employment practice by this subchapter.” 42 U.S.C. § 2000e-3(a).
17
            160.      Defendants retaliated against Plaintiffs because they complained about improper conduct
18
     and unlawful acts by persons, as described above and filed charges alleging such unlawful conduct with
19
     the Department of Fair Employment & Housing.
20
            161.      These complaints by Plaintiffs were protected activity under the law.
21
            xxv. Plaintiff Mary Elizabeth Knox
22
                        i. Since her demotion, and in contrast to Ms. Becton’s treatment of the male
23
                           prosecutors who supported Paul Graves in the election, Ms. Knox has been stripped
24
                           of all management and training responsibilities and has been physically isolated
25
                           from day-to-day contact with the vast majority of prosecutors in the office. As a
26
                           female, Ms. Knox is the only supporter of Mr. Graves’ campaign who has been so
27
                           publicly retaliated against by Ms. Becton.
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 1          ii. This retaliation is unlike anything Ms. Knox has ever experienced. She was a very

 2              visible supporter of former DA Mark Peterson’s opponent, Dan O’Malley, in a prior

 3              election. Post-election, Peterson retaliated and moved Ms. Knox from the

 4              Homicide Unit to the Richmond office to handle preliminary hearings. However,

 5              after a few months, Ms. Knox was moved back to the Homicide Unit, promoted

 6              to Homicide Unit supervisor, promoted into executive management as a Senior

 7              Deputy District Attorney and her ideas and opinions, such as creating the CVRU

 8              and developing the Freeway Security Network, were respected and valued by Mark

 9              Peterson.

10         iii. Ms. Knox was one of many of Graves’ supporters in the DA’s office, yet she is the

11              only supporter who Ms. Becton has targeted, demoted, and banished even though

12              Ms. Knox has never disobeyed a policy or procedure put in place by Ms. Becton.

13              Ms. Becton has lashed out at Ms. Knox because of her gender and age, stripping her

14              of her many years of successful and important prosecutorial work.

15          iv. The only other DA to experience such a public demotion and banishment was Ms.

16              Becton’s actual political opponent, Paul Graves. To add insult to injury, in an

17              interview with the Mercury News in late 2018, Ms. Becton stated publicly that the

18              demotion of Mr. Graves and Ms. Knox gave “some attorneys in our office new

19              opportunities for growth and development.” This is in keeping with a later

20              statement made by Ms. Becton’s assistant, Venus Johnson, that the DA wants to see

21              more “fresh faces.” In contrast, young white males who supported Paul Graves have

22              been forgiven by the DA and moved into the roles that older females are more

23              qualified for.

24          v. In April 2019, Ms. Knox participated in the promotion process to be returned to her

25              former position as a Level 5. Despite 5 years of experience as a Level 5, Ms. Knox

26              was not promoted. Stacey Grassini (male) and Simon O’Connell, who had decades

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 1              less prosecutorial experience and no assigned supervisory experience, were

 2              promoted to the Level 5 positions.

 3          vi. Despite an office tradition that limited an assignment to Felony Filing to one year,

 4              Ms. Knox continues in that position notwithstanding requests to Ms. Becton to be

 5              reassigned to a position commensurate with her experience. These complaints by

 6              Plaintiffs were protected activity under California law.

 7         vii. When Ms. Becton was appointed the District Attorney of Contra Costa County in

 8              September 2017, upon the mid-term resignation of former DA, Mark Peterson, Ms.

 9              Becton recognized Ms. Knox’s skills and experience in numerous ways. Shortly

10              after her appointment, Ms. Becton approached Ms. Knox and asked about her

11              interest in serving as Ms. Becton’s Chief Deputy, the number two position of

12              authority in the office. Ms. Knox told Ms. Becton that she would support her in

13              every way to ensure her success and the success of the mission of the District

14              Attorney’s Office. At this time, Ms. Becton had not yet announced her intent to run

15              for election in 2018, yet, in the interest of full disclosure, Ms. Knox told Ms. Becton

16              that she had already pledged her support to Senior Deputy District Attorney Paul

17              Graves in the upcoming election.

18         viii. A month later, in October 2017, Ms. Becton authorized Ms. Knox to continue in her

19              role as an expert witness in federal court regarding 4th Amendment Search and

20              Seizure issues, commenting that this recognition of Ms. Knox’s expertise brought

21              distinction to the District Attorney’s Office.

22          ix. In the Spring of 2018, prior to the election, Ms. Becton asked Ms. Knox to accept

23              the assignment of a death penalty prosecution that involved the murder and sexual

24              assault of a fourteen-year-old in 1980. The defendant in that case had prior and

25              subsequent convictions for sadistic sexual assaults. Becton told Ms. Knox that no

26              attorney in the office was more qualified to try the case than her. Ms. Becton

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 1              approved Ms. Knox’s request to attend the Capitol Litigation Symposium in May

 2              2018.

 3           x. At Ms. Knox’s request, Ms. Becton moved the Gang Unit into the Community

 4              Violence Reduction Unit under Ms. Knox’s supervision.

 5          xi. After the election, on October 5, 2018, Ms. Becton told Ms. Knox that Ms. Becton

 6              was transferring her from her position as supervisor of the Community Violence

 7              Reduction Unit (the unit Ms. Knox created) to Felony Filing, a position usually

 8              filled by attorneys with twenty years less experience than Ms. Knox in a satellite

 9              office with limited contact to other attorneys. This transfer was far beneath Ms.

10              Knox’s skill set and experience. Ms. Becton did not inform Ms. Knox that she was

11              being demoted from her position in executive management as a Senior Deputy

12              District Attorney, a position that is held by the employee and not specific to a job

13              assignment. Ms. Knox learned that she had been demoted when she received her

14              next paycheck and her pay decreased. Ms. Becton replaced Ms. Knox as supervisor

15              of the CVRU with Jason Peck, who had no prior experience as a unit supervisor or

16              as a misdemeanor team supervisor.

17          xii. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.

18              Knox as detailed above have humiliated Ms. Knox and caused her to be depressed,

19              disheartened, and extremely upset as she watches the 35-year career she has built

20              dissipate.

21      f. Plaintiff Rachel Piersig

22             i. In June 2018, both Ms. Piersig and Ms. Chandler went to Ms. Johnson to voice

23                their frustration and concerns regarding their treatment and management within

24                the Homicide Unit. Specifically, they both raised the times when they voiced

25                issues or concerns on their cases and their experience and concerns were ignored,

26                demeaned and discounted. Ms. Johnson indicated that “things would change for

27                the better soon” but nothing favorable occurred.

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 1           ii. Instead, the female Homicide Unit members were “given” “mental health breaks”

 2               while the male attorney Chris Walpole continued to receive the better

 3               assignments, was promoted and given a pay raise associated with a Level 5.

 4           iii. In October 2018, Ms. Piersig was transferred from the Homicide Unit to her

 5               current position as a Felony Expeditor, a position typically reserved for

 6               prosecutors with less experience. Ms. Johnson told Ms. Piersig that the transfer

 7               “would be good for her mental health.” Mr. Walpole was promoted to a Level 5

 8               and currently supervises the Family Violence Division, the Elder Abuse Unit, the

 9               Domestic Violence Unit, and the Human Trafficking Unit. He was later promoted

10               again to “Acting Assistant District Attorney.” The other complaining party, Ms.

11               Chandler, was moved to the felony filer position in Richmond as “a mental health

12               break.” This “time out” response exemplifies the discriminatory practice within

13               the DA’s office; women who complain about disparate treatment are moved to

14               positions to give them “mental health breaks.” This treatment has a disparate

15               impact on female prosecutors, contributing to pauses in their career and a slower

16               rise through the ranks of the DA’s office. Mr. Butts still supervises the Homicide

17               Unit.

18           iv. After filing the Complaint in this case, Ms. Piersig has received a retaliatory

19               performance review from her supervisor. Ms. Piersig lodged a formal complaint

20               internally in April 2020. When she inquired about the status of her complaint in

21               June 2020, she was told there were no updates and it had “been referred to Jason

22               Chan.” There has been no response since. In comparison, since that time, a male

23               has filed an informal complaint and Chris Walpole has had repeated meetings to

24               address the male attorney's concerns.

25            v. Ms. Piersig has been assigned to over a dozen criminal units in the office, tried

26               nearly 60 jury trials, and supervised two felony units. Her experience,

27               management skills and knowledge far surpass those of all three men (Walpole,

28
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 1                Grassini, and O’Connell) recently promoted. Her credentials, qualifications and

 2                achievements surpass the men who were promoted ahead of her. The Defendants

 3                discriminated against her because she is a woman over 40 years old and have

 4                retaliated against her because of her complaints.

 5            vi. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.

 6                Piersig as detailed above have humiliated Ms. Piersig and caused her to be

 7                miserable, unhappy, embarrassed, and anxious as her career grows stagnate due to

 8                Defendants and Ms. Becton’s actions.

 9      g. Plaintiff Allison Chandler

10             i. In June 2018, prior to their individual transfers, both Ms. Piersig and Ms.

11                Chandler went to Ms. Johnson to voice their frustration and concerns regarding

12                their treatment and management within the Homicide Unit. Specifically, they both

13                raised the times when they voiced issues or concerns on their cases and their

14                experience and concerns were ignored, demeaned and discounted. Ms. Johnson

15                indicated that “things would change for the better soon” but nothing favorable

16                occurred.

17            ii. Instead, in retaliation, the female Homicide Unit members were “given” a “mental

18                health break” while the male attorneys continued to receive the better assignments
19                and were promoted. Mr. Walpole was promoted to a “Level 5” and currently
20
                  supervises the Family Violence Division, the Elder Abuse Unit, the Domestic
21
                  Violence Unit, and the Human Trafficking Unit, and also has been promoted to
22
                  “acting Assistant District Attorney.” Ms. Chandler, was moved to her current
23
24                felony filer position in Richmond as “a mental health break.” She was removed

25                from emails and committees, and members of executive management started to

26                ignore her. This “time out” response exemplifies the discriminatory practice
27                within the DA’s office, and it effects women in the office by sending a message
28
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 1               that the senior women will be ignored. Junior women have ceased seeking

 2               guidance from senior women and are being redirected to junior male attorneys
 3               endorsed by management. Women who complain about disparate treatment are
 4
                 moved to positions to give them “mental health breaks” and effectively pushed
 5
                 aside. Their reputations in the office are forever tainted. This treatment has a
 6
                 disparate impact on female prosecutors, contributing to pauses in their career and
 7
 8               a slower rise through the ranks of the DA’s office. Ms. Becton is aware of this

 9               because senior women have told her. Despite this, she participates in the

10               disparate treatment and does nothing to stop it.
11           iii. When Ms. Chandler was rotated to Richmond Felony Filer, police agency
12
                 detectives began to ask Ms. Chandler, “What did you do?” The move suggested
13
                 to outsiders that she had been demoted. This was very upsetting and has impacted
14
                 her reputation with detectives in the law enforcement community. The failure to
15
16               promote Ms. Chandler will have a lasting effect on her ability to rebuild her

17               reputation within the law enforcement community, and it will further set her

18               behind junior male prosecutors in the office.
19           iv. After the transfer memorandum was distributed in 2019, Ms. Chandler was
20
                 informed she would be given additional responsibilities but still not any
21
                 supervisory duties. Ms. Chandler was told that not only would she be doing the
22
                 non-supervisory position of Felony Filer, but she was also expected to take on
23
24               Filing Domestic Violence Misdemeanors, historically a separate role from Felony

25               Filer, and the non-supervisory part of the misdemeanor team leader job in

26               Richmond. She was told these additional duties were “not negotiable.” For the
27               past seven years, a male has held the position of Felony Filer in Richmond and
28
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 1               was never asked to absorb filing Domestic Violence Misdemeanors as well. Ms.

 2               Chandler was forced to do one and half times the work, for the same pay, neither
 3               of which is a supervisory position.
 4
              v. Ms. Chandler pushed back on the expectation that she take on the filing of
 5
                 Domestic Violence Misdemeanors. She reminded her supervisors that she would
 6
                 be taking a handful of homicide cases with her to Richmond, one of which was a
 7
 8               capital murder case, a very prestigious and once in a lifetime opportunity for

 9               prosecutors. Ms. Chandler was committed to seeing these cases to their end.

10               Having these cases, in addition to her Felony Filer position would make also
11               filing Domestic Violence Misdemeanors nearly impossible. Instead of filling the
12
                 Domestic Violence Misdemeanor role, Ms. Chandler was stripped of her capital
13
                 murder case. Not only was Ms. Chandler expected to take on another job in
14
                 addition to her own, but to add insult to injury, in order to give her the time to do
15
16               it, she was further maltreated by having a prestigious and important case taken

17               from her docket. Similar to the other Plaintiffs, Ms. Chandler has been

18               discriminated against based upon her gender and age and retaliated against for
19               protesting her treatment.
20
             vi. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.
21
                 Chandler as detailed above have humiliated Ms. Chandler and caused her to be
22
                 miserable, unhappy, feel hopeless, and anxious as her career fails to progress due
23
24               to Defendants and Ms. Becton’s discriminatory treatment.

25      h. Plaintiff Mary Blumberg

26            i. At the same time Ms. Becton assigned Ms. Blumberg to the Homicide Unit, Ms.
27               Blumberg was removed from the Recruitment and Retention Committee. She
28
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 1               emailed the Assistant Deputy District Attorney in charge of the recruitment and

 2               retention committee, asking for an explanation, and has never received an
 3               explanation.
 4
             ii. Ms. Johnson has said that Ms. Becton prefers younger, newer attorneys to do the
 5
                 training and recruitment as they can relate more to law students. However, this
 6
                 “younger attorney” attitude only applies to the females with experience; male
 7
 8               prosecutors have been left in their training and recruitment roles while all of the

 9               experienced female prosecutors have been pushed out. For example, a male,

10               Assistant Deputy District Attorney, with 18 years more experience than Ms.
11               Blumberg, still heads the recruitment and retention committee. He and a male
12
                 Senior Deputy District Attorney, one-year Ms. Blumberg’s senior, along with Ms.
13
                 Johnson and a junior female attorney, (who has only six years in the office)
14
                 conducted the new hire interviews. The recently appointed male, Director of
15
16               Recruitment, one year behind Ms. Blumberg, is also in charge of recruitment and

17               retention. This is another example of experienced female prosecutors losing

18               visibility and influence in the office but not the male prosecutors.
19           iii. Ms. Blumberg’s move from her role as the Misdemeanor Supervisor to the
20
                 Homicide Unit appears to have been done to curtail her access and visibility to
21
                 new hires and trainings as it coincided with her removal from the recruitment and
22
                 retention committee.
23
24           iv. Ms. Blumberg’s move from her role as the Misdemeanor Supervisor to the

25               Homicide Unit appears to have been done to curtail her access and visibility to

26               new hires and trainings as it coincided with her removal from the recruitment and
27               retention committee.
28
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 1             v. This sort of punitive shifting of women’s roles has also been seen in relation to

 2                part-time roles. Traditionally, the DA’s office offered two part-time positions and
 3                one job share position to people to work less than full time. This allowed for up to
 4
                  four people to work a non-traditional schedule (the job-share position is shared
 5
                  between two people). The purpose of this policy was to retain qualified career
 6
                  prosecutors who might otherwise leave county employment due to unmet family
 7
 8                needs. Part-time and job-share positions are available to help prosecutors balance

 9                the needs of family and their desire to continue long term employment. The

10                reality is that these part-time roles have traditionally been requested by female
11                DA’s in the office, often due to their obligations as primary care providers to their
12
                  families. Almost every female who has children in the office has opted to work
13
                  one of these part-time positions at some point.
14
              vi. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.
15
16                Blumberg as detailed above have humiliated Ms. Blumberg and caused her to be

17                miserable, worried, nervous, and anxious as her like situated male colleagues

18                leapfrog over her in career advancement as a result of Defendants and Ms.
19                Becton’s discriminatory treatment.
20
        i. Plaintiff Jill Henderson
21
               i. Ms. Henderson has repeatedly complained about being treated differently based
22
                  upon her age and gender and she has complained about the lack of female leaders.
23
                  In retaliation, she has not been promoted, she has been treated with disrespect and
24
                  she has been given more work without any pay increase.
25
26            ii. It became increasingly clear that Ms. Henderson’s supervisory role was meant to

27                placate the growing cries of gender discrimination echoing through the DA’s
28
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 1               office. Ms. Henderson has been reduced to merely a placeholder, a figurehead. It

 2               was a significant increase in responsibility with no increase in pay.
 3           iii. Ms. Henderson complained to both Ms. Becton and Ms. Johnson that more senior
 4
                 female representation was needed. Mr. Walpole was suddenly promoted by Ms.
 5
                 Becton to a Level 5 position in or around the end of 2018. In January 2019, after
 6
                 five successful years as the Elder Abuse Unit Supervisor, Ms. Henderson
 7
 8               approached Ms. Becton and Ms. Johnson and explained her desire to take on a

 9               more senior (not a lateral role). After that request, Ms. Becton transferred Ms.

10               Henderson’s only subordinate away from the Unit. While Ms. Henderson was on
11               vacation, they transferred Ryan Wagner out and left Ms. Henderson with over 30
12
                 unassigned elder abuse cases to deal with. Ms. Henderson was not consulted
13
                 about the move or even advised that it was being contemplated. When Ms.
14
                 Henderson was asked to provide a case list, she asked Ms. Johnson if downsizing
15
16               the Elder Unit was being contemplated and was specifically assured that it was

17               not. The number of attorneys in the Elder Unit was then cut in half during her

18               vacation with no prior notice. Ms. Henderson had been told “just wait, they have
19               a plan to promote you.” Instead, she has been isolated in the office with no voice
20
                 given her experience, success and expertise. Ms. Henderson came up with a plan
21
                 to help run an office and help with the chronic backlog of cases, but her plans
22
                 were ignored.
23
24           iv. Ms. Henderson has repeatedly complained about being treated differently based

25               upon her age and gender and she has complained about the lack of female leaders.

26               In retaliation, she has not been promoted, she has been treated with disrespect and
27               she has been given more work without any pay increase.
28
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 1            v. In June 2019, Ms. Henderson was told by Ms. Becton that in addition to her Elder

 2                Abuse role, she was now head of the Domestic Violence Unit. This gave her
 3                seven (7) subordinates and was a lateral move, not a more senior role. It is
 4
                  extremely unusual for such a major role to be assigned without consultation. No
 5
                  male has been giving such a major role without being consulted first. Ms.
 6
                  Henderson confirmed with Venus Johnson that Ms. Henderson had been clear in
 7
 8                prior communications that she wanted a promotion and not greater responsibility

 9                without compensation or a promotion.

10           vi. Ms. Becton then announced that Mr. Walpole, a Senior DA with less than 8
11                months of experience in his new position as a Level 5 (to which he was promoted
12
                  without any process), would be designated the Acting Assistant District Attorney.
13
                  This meant that this junior, less experienced male attorney was now Ms.
14
                  Henderson’s direct supervisor. Mr. Walpole has never worked in either the
15
16                Domestic Violence Unit or the Elder Abuse Unit.

17           vii. It became increasingly clear that Ms. Henderson’s supervisory role was meant to

18                placate the growing cries of gender discrimination echoing through the DA’s
19                office. Ms. Henderson has been reduced to merely a placeholder, a figurehead. It
20
                  was a significant increase in responsibility with no increase in pay.
21
            viii. Mr. Walpole, with far inferior experience, made offers on Domestic Violence
22
                  cases without consulting Ms. Henderson or even asking her for all the facts of the
23
24                case. He has micromanaged units run by women and not the men. He usurped

25                Ms. Henderson’s authority by bypassing her and going directly to her

26                subordinates, often giving contradictory advice. He has tried to silence Ms.
27                Henderson, admonishing her for disagreeing with him. Ms. Henderson raised her
28
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 1                          concern with Ms. Becton that Mr. Walpole was not permitting her to disagree

 2                          with him. Ms. Becton told Ms. Henderson that she had authority to have different
 3                          opinions than Mr. Walpole but she took no action in response to Ms. Henderson’s
 4
                            comments and Mr. Walpole made negative comments in Ms. Henderson’s
 5
                            performance review as a result.
 6
                       ix. Defendants and Ms. Becton’s discriminatory and retaliatory actions towards Ms.
 7
 8                          Henderson as detailed above have humiliated Ms. Henderson and caused her to be

 9                          embarrassed, mortified, and extremely anxious for which she has sought therapy

10                          sessions to cope.
11          162.    Defendants subjected Plaintiffs to unjust employment actions, continue to deny Plaintiffs
12   opportunities for growth, promotion, and overlook their accomplishments and contributions, in
13   retaliation for their protected complaints.
14          163.    As a proximate result of Defendants’ actions, Plaintiffs have suffered and continue to
15   suffer severe embarrassment, humiliation, and mental anguish, all to their damage in an amount
16   according to proof.
17          164.    Plaintiffs are entitled to their reasonable attorneys’ fees and costs of suit.
18
                                                PRAYER FOR RELIEF
19
            WHEREFORE, PLAINTIFFS pray for judgment against the DEFENDANTS, and each of them,
20
     as follows:
21
            1.      A preliminary and permanent injunction ordering Defendants to immediately cease their
22
                    discriminatory and illegal practices with regard to gender and age discrimination and
23
                    retaliation and to take all reasonably necessary steps to ensure that such practices do not
24
                    take place in the future;
25
            2.      Rescission of each demotion and promotion effective October 2018 to date and the
26
                    appointment of an outside panel of experienced prosecutors to be selected by Plaintiffs to
27
28
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 1
                  conduct a hiring process and recommendation of the appointment of candidates to every
 2
                  Executive Management position;
 3
           3.     For any role that comes with a pay increase, for the pay increase to be retroactive to
 4
                  January 1, 2019, and as to Ms. Knox, to November 2018.
 5
           4.     Reinstatement of each Plaintiff to committees and training positions commensurate with
 6
                  their particular experience and expertise.
 7
           5.     Compensatory damages including emotional distress damages and lost wages, benefits
 8
                  and interest in a sum according to proof;
 9
           6.     Interest on judgment, including prejudgment interest, at the legal rate;
10
           7.     Attorney’s fees and costs;
11         8.     For the costs of this action; and
12         9.     For any further legal and equitable relief the Court deems proper.
13
14    Dated: March 22, 2021                NICHOLS LAW, P.C.

15
                                          By: ______/s/____________________
16                                               Sarah R. Nichols
17
     Dated: March 22, 2021                RATNER MOLINEAUX, LLP
18
                                          By: ______/s/____________________
19                                               David S. Ratner
20                                               Shelley A. Molineaux
                                                 Attorneys for Plaintiffs
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 1
                                               JURY DEMAND
 2
           Plaintiffs hereby demand a jury trial.
 3
 4
 5    Dated: March 22, 2021               NICHOLS LAW, P.C.

 6
                                          By:________/s/_______________________
 7                                              Sarah R. Nichols
 8
 9   Dated: March 22, 2021                RATNER MOLINEAUX, LLP
10
                                          By: ______/s/____________________
11                                               David S. Ratner
                                                 Shelley A. Molineaux
12                                               Attorneys for Plaintiffs
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